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                                Exhibit F

        Appendix of Exhibits to Amended Complaint

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                               EXHIBIT 66

            Alone in a Bathroom – Washington Post




                                                                   App. 001026
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                                                         Alone in a
                                                         bathroom:
                                                        The fear and
                                                        uncertainty of a
                                                        post-Roe
                                                        medication abortion
                                                        By Caroline Kitchener
                                                        April 11, 2024 at 6:00 a.m.




                                                        Share

                                                                Comment      Save


                                                        SCROLL TO CONTINUE




                                                                                                                               App. 001027
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         1/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                                             Angel tucked two white pills into
                                             each side of her mouth, bracing
                                             herself as they began to dissolve.




https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         2/28
                                                                                                                               App. 001028
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                                                                                                                               App. 001029
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         3/28
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https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener
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                                                                                                   Angel at her home in Oklahoma. (Desiree Rios for The Washington Post)




                             Angel had wanted to talk to a doctor before she took the pills to end her
                             pregnancy, worried about how they might interact with medication she took for
                             her heart condition.

                             But in her home state of Oklahoma, where almost all abortions are banned, that
                             wasn’t an option.

                             The pain kicked in after about an hour, around midnight on a Sunday in
                             January, eventually becoming sharp enough that the 23-year-old said she
                             struggled to stand. While Angel would be fine by the next morning, she worried
                             that something might be very wrong as she lay on the cold bathroom tile, her
                             body racked by some of the worst pain she could remember.


                                                                                                                                    App. 001031
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                                                   5/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      When Angel’s fiancé came in to check on her, she was having diarrhea while
                             vomiting into their popcorn bowl.

                             “F---,” she remembered yelling, over and over. “I feel like I need to push.”

                             Overwhelming evidence shows that abortion pills are safe and effective, and that
                             many patients who take them go through the process without much difficulty,
                             experiencing little more than the sharp cramping and bleeding of an unusually
                             heavy period. That is true even when the pills, approved by the U.S. Food and
                             Drug Administration with a prescription for use through 10 weeks of pregnancy,
                             are taken somewhat independently — administered by a doctor over text, email,
                             or a call and mailed to the patient at home.

                             But the experience can feel very different in states where abortion is illegal. As
                             more women in states with abortion bans choose to end their pregnancies on
                             their own, without directly interacting with a medical professional, they are
                             thrust into a largely ad hoc, unregulated system of online and grass-roots
                             abortion pill distributors — an experience that, while deemed generally safe by
                             medical experts, can be confusing, scary and, at times, deeply traumatic.



                              “I feel like I need to push.”

                             “Self-managed” abortions increased dramatically after Roe v. Wade was
                             overturned — with women in antiabortion states obtaining pills through several
                             distinct channels. At least 6,000 women every month in states with bans are
                             now receiving pills from Aid Access, a Europe-based online clinic that prescribes
                             the medication without requiring a patient to interact with a doctor in real time,
                             according to founder Rebecca Gomperts. Thousands of others are turning to at
                             least 25 nonmedical websites that sell the pills, or one of several volunteer-led
                             networks that distribute them for free.

                             With abortion clinics shuttered across the South and Midwest, many women
                             said they have nowhere to go to confirm that their abortion pill supplier is “legit”
                             or that their symptoms after taking the medication are normal. They worry that
                             a call to a doctor or a trip to the emergency room could land them in jail. And
                             while abortion rights advocates have tried to build new infrastructure to support
                             women in these situations — with volunteer doctors answering phone calls or
                             former abortion providers staffing the occasional bricks-and-mortar office in an
                             antiabortion state — organizers say that such resources are no replacement for
                             the array of choices women had before Roe fell.

                             The demand for self-managed abortions in states with bans, already enormous,
                             is sure to increase dramatically in the coming weeks, as strict new abortion laws


                                                                                                                               App. 001032
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         6/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      take effect in Florida and Arizona — the result of two recent court rulings.

                             “This is not the way health care should be,” said Linda Prine, a New York-based
                             doctor who prescribes pills through Aid Access and co-founded a hotline for
                             people taking them. “All the options have been taken away from people by these
                             bans and this is all that’s left,” she added, referring to the networks providing
                             pills for women self-managing their abortions.

                             “It really is all we can do.”


                             Supply of abortion pills for self-managed abortions
                             The supply of abortion pills outside of the formal health-care setting increased sharply in the
                             six months after Dobbs v. Jackson Women’s Health Organization, a landmark ruling that
                             eliminated the constitutional right to abortion. A major factor in the increase was the rise of
                             community-based, volunteer-led networks that organized to help women in states with
                             abortion bans.

                                        PRE-DOBBS             POST-DOBBS
                                                                                                      8,495

                              8,000                                                                             Online vendors
                                                                                              7,633
                                                                                      7,083


                                                                                                                Telemedicine
                              6,000




                                                              4,325
                                                                              4,105
                                                                      3,946
                              4,000




                                                                                                                Community
                                                                                                                networks
                              2,000
                                        1,459 1,355




                                        March April            July   Aug.    Sept.   Oct.    Nov.    Dec.
                                        2022                  2022
                             Source: JAMA (2024)




                             Adding to the difficulty is a polarized political debate with dueling narratives
                             about what it’s actually like to take abortion pills. Antiabortion activists say the
                             pills are highly dangerous, or even deadly, for pregnant women — false
                             assertions based largely on studies that have now been retracted by the journal
                             that published them. Meanwhile, many abortion rights advocates describe the
                             experience as straightforward and easy to handle on your own, a



                                                                                                                               App. 001033
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         7/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      characterization that some women say glosses over what can be a more
                             complicated reality of ending a pregnancy alone in your bathroom.

                             The Washington Post spoke with more than three dozen doctors, advocates,
                             leading researchers, and women who took the pills in states where abortion has
                             been banned since Dobbs v. Jackson Women’s Health Organization, the
                             Supreme Court case that overturned Roe in June 2022. Over the phone and in
                             person, many women described experiencing deep anxiety and uncertainty
                             about doing something they assumed was illegal. These feelings often intensified
                             after they took the medication, with some not expecting the level of pain or
                             amount of bleeding they would experience, or how much of the fetus they would
                             see. A few used the pills later in pregnancy than the FDA recommends.

                             “I wish I would have known that it wasn’t just blood clots. … I was really
                             confused and shocked,” said Briana, a 34-year-old in Alabama who took pills she
                             ordered online when she was at least five weeks beyond the FDA’s 10-week limit.
                             Like other women interviewed for this article, Briana spoke on the condition
                             that her last name not be used so she could discuss sensitive medical
                             information in a state that outlaws abortion — describing her experience in
                             graphic detail because she said she wanted other women to know what to expect.

                             The complex legal landscape can be hard to understand. Abortion bans do not
                             allow people seeking abortions to be prosecuted, targeting only doctors and
                             others involved in facilitating the abortion. But people have been charged under
                             other laws for self-managing their abortions, especially later in pregnancy.

                             A legal challenge to the abortion drug mifepristone brought by conservative
                             advocates — which drew skeptical questions from the Supreme Court during
                             oral arguments last month — seeks to further restrict the post-Roe landscape by
                             requiring in-person medical visits for all legally administered medication
                             abortions. Such a change could prevent U.S.-based medical providers from
                             mailing pills into antiabortion states under “shield laws,” recently enacted in a
                             handful of blue states, that protect doctors from prosecution under red state
                             bans.




                                                                                                                               App. 001034
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         8/28
9/17/24, 4:04 PM                                     In states with bans, women often take abortion pills alone, afraid - Washington Post
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      Angel pours out her heart medication at her home. (Desiree Rios for
      The Washington Post)
                                                                               Angel was worried about how abortion pills might interact with
                                                                               medication she takes for her heart condition.




                              In Oklahoma, Angel ordered her pills from Aid Access, according to emails
                              reviewed by The Post, and took them five to six weeks into her pregnancy. She’d
                              told doctors at the online clinic about her heart medication when she filled out
                              its online form, she said, but no one ever reached out about it — a silence easily
                              explained, Prine said, because Angel’s medication is not one that would raise
                              concerns.

                              Angel had no way of knowing that.

                              Sitting on the toilet, she could hear her heart pounding in her ears. She placed
                              two fingers on the side of her neck to take her pulse and started a timer, she
                              recalled — counting about 190 beats per minute.

                              With her heart condition, she said, she was supposed to seek medical attention if
                              her heart rate got that high.

                              Angel had no idea who to call. She vaguely remembered a hotline number in the
                              Aid Access instructions, but figured the line would be closed that time of night.
                                                                                                                                   App. 001035
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                             9/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      The hospital didn’t feel like an option, either: She worried about the questions
                             she might get from suspicious doctors if she showed up at the emergency room.

                             She closed her eyes and tried to steady her breath, determined to keep her heart
                             rate down. Then she spoke to herself as she imagined a doctor might.

                             “You will be okay,” said Angel, who would wake up the next morning no longer
                             pregnant, the worst moments of her abortion behind her.

                             “This pain can’t last forever.”




                                  “Your body will be just fine.”

                                                                                  “Your uterus knows what to do.”


                                               A doctor answers panicked calls
                        “It’s normal to be scared.”                                                       “Just wait it out.”

                                                     “Call back any time.”



                             Linda Prine was answering a few emails, coffee mug in hand, when her
                             cellphone rang.

                             “Hi, this is the hotline doctor,” the 72-year-old said from her New York City
                             home one Sunday morning in January. “Can I help you?”

                             The voice Prine heard was quiet and scared — belonging to a 15-year-old with an
                             area code in a state with an abortion ban who had taken pills and passed a fetus
                             larger than she’d expected.

                             Unable to flush the fetus down the toilet, the girl asked about throwing it away.

                             She was young enough to be Prine’s granddaughter.

                             Prine cradled the phone in both hands and leaned in, trying to channel every
                             ounce of reassurance and understanding she could muster through the phone
                             line.



                                                                                                                               App. 001036
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         10/28
9/17/24, 4:04 PM                                     In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      “There’s nothing in there that’s traceable back to you,” she said. “As long as you
                             don’t tell anybody.”

                             The girl asked if the abortion made her a bad person.

                             “No it doesn’t,” Prine said. “Not a bit.”

                             “You are doing what’s right for you and your future family,” she added, her voice
                             firm.

                             “This way you can be a good mom when you’re ready to be a good mom.”




                             Linda Prine answers calls and texts for the Miscarriage and Abortion Hotline. (Natalie Keyssar for The
                             Washington Post)


                             A semiretired family medicine physician, Prine co-founded the Miscarriage and
                             Abortion Hotline in 2019 as a resource for people self-managing miscarriages or
                             abortions at home. She got the idea from Gomperts, of Aid Access, who had
                             already been mailing pills to Americans who struggled to access abortion. The
                             American patients had a lot of questions and concerns about ordering pills
                             outside a formal health-care setting, Gomperts told Prine — and her inbox was
                             constantly flooded with emails.



                                                                                                                                      App. 001037
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                                11/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      They needed a U.S.-based doctor to call.
                                                                                                     Page 16 of 219 PageID 10549



                              “You are doing what’s right for you and your
                              future family.”

                             Calls to the hotline surged after Texas enacted an early law banning most
                             abortions in the fall of 2021, Prine said, and again after new abortion bans took
                             effect across the South and Midwest when Roe fell. Now the line is staffed by
                             over 50 U.S.-based medical providers who volunteer their time, a mix of doctors,
                             midwives, nurse practitioners and physician assistants with experience in
                             abortion care. The doctors who run the hotline recruit volunteers through word-
                             of-mouth recommendations, then administer a few hours of virtual training
                             before they start.

                             In interviews, Prine stressed that hotline doctors are not practicing medicine
                             under their licenses or establishing a doctor-patient relationship — a posture
                             Prine said legally protects the physicians. By design, the hotline volunteers don’t
                             ask for the names, locations or full medical histories of the people who call. On
                             the hotline’s website, a disclaimer notes that they are not offering “legal or
                             medical advice,” and that the information they provide “does not substitute for
                             the … advice of a doctor.”

                             The hotline typically receives roughly 30 calls and 50 texts from people every
                             day. Many say they are in states that ban abortion.

                             “They’ll say, ‘I’m in a state where this is illegal, so I can’t go get medical care. I
                             want to check in and make sure everything is going okay,’” Prine said.

                             She and her colleagues hear the same questions again and again: Am I bleeding
                             too much? Am I not bleeding enough? Is it normal to have this much pain?
                             People call to see if they can drink alcohol or smoke marijuana after taking the
                             pills. One woman asked whether it was safe to walk up the stairs.

                             [What to know after taking abortion pills]

                             Anxiety and uncertainty are common even among patients who receive the
                             medication at an abortion clinic in a state where abortion is legal, said Prine —
                             because they’re at home by the time they start feeling the full effects.

                             “People from anywhere can be freaking out because everyone is taking these
                             pills at home alone,” Prine said.

                             Still, some feel better taking the pills after having a direct conversation with a
                             medical professional. Since Dobbs, many women in antiabortion states who
                                                                                                                               App. 001038
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         12/28
9/17/24, 4:04 PM                                      In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      have the resources to travel have continued to leave the state to obtain pills at a
                              clinic instead of ordering online, preferring the experience of being face to face
                              with a doctor, even if it means a long drive or a flight.




      The Miscarriage and Abortion Hotline is staffed by over 50 U.S.-
      based medical providers, a mix of doctors, midwives, nurse
      practitioners and physician assistants with experience in abortion
      care. (Natalie Keyssar for The Washington Post)                           A cross stitch at the home of Linda Prine.




                              For those who choose to self-manage their abortions, Prine said, she is there to
                              offer reassurance that their experiences are nothing out of the ordinary, and that
                              they almost certainly don’t need to go to the emergency room. A medication
                              abortion is just like a miscarriage, she’ll tell them, with hundreds of women
                              going through the same process every day.

                              Of the approximately 5.9 million patients in the United States who took
                              mifepristone — the first drug in a two-step medication abortion regimen —
                              between its 2000 approval and December 2022, just 32 died, according to the
                              FDA. Those cases, the agency says, “cannot with certainty be causally attributed
                              to mifepristone.” Major adverse events — in which a blood transfusion, major
                              surgery or overnight hospital stay is required — occur in fewer than 0.5 percent
                              of cases, a figure that remains the same whether a patient has met with a doctor
                              in person.

                              A significantly larger share of patients who take abortion pills seek emergency
                              care, ranging from 1.3 to 8 percent in leading studies.


                              Adverse effects are extremely rare among those who
                              take abortion pills
                              A tiny fraction of patients who take abortion pills have a serious adverse event such as a blood
                              transfusion, major surgery or overnight hospital stay.
                                    = 10 estimated patients who took abortion pills
                                                            6,034 patients took abortion pills
                                                                                                                             100%

                                                                                                                                    App. 001039
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                              13/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                                                                   81 patients went
                                                                                                                       1.34%
                                                            to the emergency room



                                                                            20 patients experienced
                                                                                                                       0.34%
                                                                            a serious adverse event
                                                                          (18 of whom had gone to the
                                                                       emergency room or hospital first)

                             Note: Estimated patient numbers are based on percentages included in a 2024 study and
                             are rounded to whole people.

                             Source: Ushma Upadhyay/Nature Medicine


                             Antiabortion activists portray those emergency room visits as an indication of a
                             safety issue, but leading medical experts say they instead highlight the confusion
                             and fear that many women experience after taking the pills. Patients often go for
                             a gut check, doctors and medical researchers said, wanting to confirm that
                             they’re not bleeding too much, or that the pills worked and they are no longer
                             pregnant. Studies show that 35 to 50 percent of people who go to an ER after
                             taking abortion pills receive no treatment.

                             “With medication abortion, there’s no one saying, ‘You’re doing great. This is
                             normal,’” said Ushma Upadhyay, a professor at the University of California at
                             San Francisco and a leading researcher on the safety of abortion pills, drawing a
                             distinction between the pill and a surgical procedure. “Often people are going
                             through it alone, so they want to know everything is okay.”

                             On the hotline, Prine said she’s felt the need to send someone to the emergency
                             room only once in nearly five years.

                             “Your uterus knows what to do,” Prine told a woman who called that January
                             morning with reports of unexpectedly heavy bleeding. “It’s going to take care of
                             itself.”

                             Others in the medical community are quicker to suggest that someone be seen in


                                                                                                                               App. 001040
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         14/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
           Case 2:22-cv-00223-Z
                      person.
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                             On the infrequent occasions when a patient calls with concerns about their
                             medication abortion, Clayton Alfonso, an OB/GYN at Duke University, said he’ll
                             try to evaluate how much she is bleeding and how her body is tolerating the
                             blood loss. But he said it can sometimes be difficult to make those assessments
                             over the phone.

                             “When you take a patient call, it’s always hard because their definition of heavy
                             bleeding could be different from my definition of heavy bleeding,” said Alfonso,
                             adding that he usually tries to bring patients into his clinic if he has space on the
                             schedule. “I would much rather see someone than leave someone in limbo at
                             home not knowing what to do.”

                             In states with abortion bans, the emergency room is often the only option for
                             women who want in-person care during their medication abortions. Even if they
                             say they had a miscarriage — a condition that presents with symptoms
                             indistinguishable from a medication abortion — many women in these
                             situations have bad experiences at the hospital, Prine said, encountering
                             physicians who provide inaccurate information or ask suspicious questions
                             about why they’re bleeding.



                              “Your uterus knows what to do.”

                             Prine said she recognizes that the landscape for self-managed abortions is
                             tenuous. The antiabortion movement is ready to seize on any experience with
                             pills that is difficult or complicated, she said, especially the relatively rare cases
                             in which women take pills later in pregnancy.

                             At the Conservative Political Action Conference last year, prominent
                             antiabortion activist Abby Johnson said women are delivering “fully formed
                             babies” in their bathrooms — a false description of what women see during a
                             medication abortion, even in the second trimester.

                             “They’re passing these babies into the toilet,” said Johnson, founder of the
                             antiabortion group And Then There Were None. “Then these women have to
                             make a decision: What do I do with this fully formed baby?... Do I flush my child
                             down the toilet?”

                             These kinds of incendiary attacks make it hard for abortion rights advocates to
                             discuss the details of a medication abortion later in pregnancy, said Prine and
                             Gomperts — because the specifics could be weaponized by the antiabortion
                             movement.


                                                                                                                               App. 001041
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         15/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      As a result, Prine said, women who take pills later in pregnancy are sometimes
                             surprised by what they see.




                              “How much bleeding is normal?”

                                                                                                       “Do I push it out?”


                                      A woman struggles to pass her pregnancy
                        “Should I go to the hospital?”                                                   “I’m totally alone.”



                             At her home in Alabama, Briana waited to take the pills until she’d put all of her
                             children to sleep.

                             The cramps in her lower back came first, followed by full-body chills and,
                             eventually, contractions more painful than those she remembered from
                             childbirth.

                             After lying in bed for two hours, Briana felt something “pop” under the
                             comforter, followed by a gush of warm liquid seeping down her legs. She ran to
                             the bathroom, she recalled in interviews and a journal entry, where she felt a
                             mass larger than her palm drop into the toilet.

                             “This can’t be happening,” she thought to herself.

                             Then she looked down to see a bloody umbilical cord dangling between her legs.




                             When the pills first arrived in the mail a few days earlier, in April 2023, Briana
                             had expected her experience would be more difficult than most. The doctors who
                             administered the medication through Aid Access cautioned Briana that they “do
                                                                                                                               App. 001042
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         16/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
           Case 2:22-cv-00223-Z       Document 195-6 Filed 10/11/24 Page 21 of 219 PageID 10554
                      not like to recommend medical abortions” as far into pregnancy as she would be
                             when the pills reached her, according to emails reviewed by The Post.

                             Briana felt she had no choice. By the time she found out she was pregnant, she
                             was already 11 or 12 weeks along. The abortion clinic she’d called in a different
                             state, more than a six-hour drive from her home in Alabama, where abortion is
                             banned, was booked for surgical procedures for over a month, busy treating
                             patients from other antiabortion states across the South. She spent nearly two
                             weeks researching her other options, then the pills she ordered took two weeks
                             to arrive.

                             The 34-year-old was struggling to support the kids she already had.

                             “I didn’t want to take any more away from them ... time, attention, money,” said
                             Briana, who estimates that she was 15 or 16 weeks along when she took the pills.



                              “This can’t be happening.”

                             Experts and advocates say it is relatively rare for women to self-manage their
                             abortions well beyond the FDA’s 10-week limit, particularly since passage of the
                             shield laws, allowing U.S.-based doctors to mail pills directly into antiabortion
                             states instead of relying on international pharmacies. That change has reduced
                             the shipment time from several weeks to between three and five days.

                             At the time Briana ordered her medication, over a year ago, Aid Access generally
                             did not send pills to anyone who said they were further than 11 weeks into their
                             pregnancy, Gomperts said. It now allows people to place orders through 12
                             weeks of pregnancy, because pills reach patients more quickly.

                             “If we think people might be longer than that, they get an email to make sure
                             they can navigate the situation,” said Gomperts, who personally prescribed
                             Briana’s medication, according to documentation reviewed by The Post.
                             “Women have agency. They are perfectly capable of making these choices about
                             their own health, and we are there to support them the best we can.”

                             According to data compiled by Aid Access, and shared with The Post, 1 in 20
                             patients who responded to the organization’s survey in January took the pills
                             beyond 11 weeks of pregnancy. One in 100 took the pills beyond 13 weeks.
                             (About 20 percent of people who took the pills responded to the survey.)

                             Still, Prine said, she has fielded far more of these calls from women later in
                             pregnancy than she would like — averaging one a day on the hotline in the
                             months after the Supreme Court decision. Some of the callers had no idea how



                                                                                                                               App. 001043
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         17/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      far along they were until they passed the pregnancy, she said. Others knew, but
                             chose to go ahead anyway.

                             Beyond 12 or 13 weeks, women will see a much more developed fetus, with
                             identifiable features.

                             “We hear the trauma when we talk to people,” Prine said. “It’s an image you
                             can’t get out of your head.”

                                 How we reported this story


                                 Caroline Kitchener reported this story from four states. She witnessed Ashley’s ultrasound in
                                 Texas, watched Linda Prine answer hotline calls in New York, and interviewed Angel and
                                 Briana in Oklahoma and Alabama. She also spoke on the phone to women who self-
                                 managed their abortions at home.




                             Alone in her bathroom, Briana had no idea what to do. The Aid Access doctors
                             had told her to expect nausea, vomiting, chills, blood clots and a fetus at least
                             the size of an orange, emails show.

                             They said nothing about an umbilical cord.

                             “Do I pull the cord out?” Briana wondered, frantically trying to remember what
                             the doctors had done when she gave birth. “Do I just wait to try to push it out?”

                             Her boyfriend was sleeping in the next room. Even if she woke him up, she
                             wondered, what could he do? If she went to the emergency room, she said, she
                             felt sure she’d be prosecuted.

                             Finally, Briana decided to call the number for the Miscarriage and Abortion
                             Hotline she’d seen in an email from Aid Access.

                             “That’s the placenta you need to push out,” Briana recalled the woman on the
                             hotline saying. “When you feel the next contraction, I want you to push like
                             you’re giving birth.”

                             Briana said she sat there with her umbilical cord hanging loose for at least 15
                             minutes before the placenta finally dropped into the toilet.




                                                                                                                               App. 001044
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         18/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
           Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                        Page 23 of 219 PageID 10556



                             While there are no major U.S.-based studies on the experience of self-managing
                             an abortion with pills later in pregnancy, international research suggests that
                             women in these situations more frequently seek in-person care. One study
                             conducted with patients in Argentina, Nigeria and Southeast Asia between nine
                             and 16 weeks of pregnancy found that about 24 percent went to a medical
                             facility during or after the experience of taking the pills on their own.
                             Approximately 10 percent required medical intervention to complete the
                             abortion or treat a complication.

                             One major concern later in pregnancy is that the body won’t be able to expel all
                             of the pregnancy tissue, several doctors said.

                             When the Miscarriage and Abortion Hotline received its first call from a woman
                             who was unable to pass her placenta — at least five weeks further into her
                             pregnancy than the FDA’s 10-week limit — a group of hotline doctors started
                             messaging one another, trying to decide what to say to her, Prine said.

                             One doctor in the group insisted that the woman had to go straight to the ER,
                             but Prine and others disagreed. Worried the woman could face prosecution or
                             mistreatment if she went to the hospital, Prine said, they walked her through her
                             abortion at home, instructing her to take more abortion pills and gently massage
                             her stomach until the placenta came free — the same advice Briana said she
                             received.

                             “We didn’t feel like it was a medical emergency. She wasn’t bleeding heavily and
                             she wasn’t lightheaded,” said Prine, adding that they would have recommended
                             the woman go the ER if a hospital visit was medically necessary.

                             A woman in that situation could have hemorrhaged or become septic, according
                             to five OB/GYNs interviewed for this article.

                             “Whenever there is something inside the uterus that is trying to come out and
                             won’t come out, the risk of bleeding and infection gets higher with every passing
                             moment,” said Keri Garel, an OB/GYN at Boston Medical Center, adding that
                             she would advise someone in Briana’s situation to go to the hospital
                             immediately. “At that point, your life is the most important thing.”



                              “Do I pull the cord out?”

                             As difficult as the situation was, Briana says she is extremely grateful that Aid
                             Access was willing to send her the pills — and that someone on the hotline was

                                                                                                                               App. 001045
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         19/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
           Case 2:22-cv-00223-Z       Document 195-6 Filed 10/11/24
                      available to talk her through taking them.
                                                                                                     Page 24 of 219 PageID 10557

                             “Without the hotline I would have been completely lost and literally completely
                             alone,” she said.

                             “The lady ... stayed talking to me for hours,” Briana added. “I wish I knew her
                             name.”

                             Briana stayed in the bathroom that night for more than an hour. She knew she
                             shouldn’t look at the fetus, she said, but she couldn’t help it. In the toilet bowl,
                             she could make out a head. She remembered thinking that the legs looked long.

                             “I felt like a monster,” she said, reflecting back on that moment.

                             A year later, Briana said, she is certain she made the right decision for herself
                             and her family. But she wishes someone had told her more about what to expect.
                             If she had known the full extent of what could happen during a medication
                             abortion at 15 or 16 weeks, she said, she probably would have searched harder
                             for an out-of-state clinic with available appointments — and figured out a way to
                             drive six hours or more to Florida, Illinois or North Carolina.

                             Before Roe v. Wade was overturned, Briana could have gone to a clinic less than
                             30 minutes from her house.




                                  “We can see you tomorrow.”

                                                                                 “Here’s what you should expect.”


                                   A former abortion provider offers some relief

                        “That website is real.”                                             “You are going to get through this.”

                                                     “Your uterus looks beautiful.”



                             In Houston, a woman lay back on an exam table in a clinic that once offered
                             abortions, hoping to hear that her medication abortion was finally complete.

                             Ashley, a 25-year-old mother with a baby, opened her legs and stared up at a
                             mermaid mobile hanging from the ceiling, her sweatpants and Converse

                                                                                                                               App. 001046
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         20/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      sneakers in a heap on the floor.
                                                                                                      Page 25 of 219 PageID 10558

                             “Are you ready?” Glenda Lima, the sonographer, asked on a Tuesday morning in
                             mid-February. “There will be a little cold and just a little pressure, okay?”

                             It was Ashley’s fourth visit in two months to Houston Women’s Reproductive
                             Services, one of a handful of former abortion clinics that have remained open in
                             states with near-total abortion bans. While the staff originally imagined a new
                             version of the clinic that offered ultrasounds and referrals to patients planning
                             to travel out of state for medication and procedures, a large share of the women
                             they serve are now self-managing their abortions with pills they got online.




                             Glenda Lima cleans ultrasound equipment at Houston Women's Reproductive Services in Texas. (Danielle
                             Villasana for The Washington Post)


                             As soon as she found out she was pregnant in mid-December, Ashley had
                             ordered pills from Aid Access, which she’d heard about on TikTok. But the whole
                             process seemed a little sketchy, she said. What kind of medical organization
                             collected money through Venmo, she wondered? They were asking for a picture
                             of her driver’s license. What if it was all a scam?

                             She decided that she needed to talk to someone. Not a disembodied voice on the
                             phone or an anonymous commenter in an online forum — but a real, live person

                                                                                                                                App. 001047
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                          21/28
9/17/24, 4:04 PM                                    In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      she could actually meet.
                                                                                                      Page 26 of 219 PageID 10559

                             “If I’m putting this in my body,” Ashley recalled thinking to herself, “I need to
                             know I’m going to be okay.”

                             Ashley struggled to come up with the right terms to Google, she said, wondering
                             if it was even possible to get advice on abortions in a state where abortion is
                             banned. She came across contact information for Houston Women’s
                             Reproductive Services only after first messaging a crisis pregnancy center — an
                             email thread she abandoned when she realized it was actually an antiabortion
                             organization designed to dissuade women from ending their pregnancies.

                             Kathy Kleinfeld, the administrator of Houston Women’s, responded to Ashley’s
                             panicked message on a Sunday, offering her an appointment for a pre-abortion
                             ultrasound and consultation the next day the clinic was open.

                             “I was like, ‘Oh my God, I feel like I have been searching for this,’” Ashley said.
                             For the first time since finding out she was pregnant, she said, “I just felt safe.”




      Glenda Lima performs an ultrasound for a patient at Houston
      Women's Reproductive Services. (Danielle Villasana for The
      Washington Post)                                                        A patient holds her hands while getting an ultrasound at Houston
                                                                              Women's Reproductive Services.




                             As other Texas clinics moved to New Mexico and Illinois after Roe was
                             overturned, Kleinfeld and Lima decided to downsize and stay put, anticipating
                             that some women would continue to seek out ultrasounds, emotional support
                             and general guidance in their home state, services that remain legal under Texas
                             law. If all the abortion clinics shuttered, they said, they knew crisis pregnancy
                             centers would be the only places left to go.

                             Now, the women see their clinic as a helpful counterpart to the online pill
                             networks: a soothing space with a “relaxation” scented diffuser and three
                             portraits of the late Supreme Court justice Ruth Bader Ginsburg, where Texans
                                                                                                                                 App. 001048
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                             22/28
9/17/24, 4:04 PM                                   In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      can get the help they need to feel comfortable self-managing their abortions at
                             home.

                             There are major challenges to providing this kind of care in a state where
                             abortion is illegal. Perhaps the biggest, Lima said, is that women assume there
                             are no abortion resources left in Texas. Those that find them often do so by
                             chance.

                             Lima said she regularly gets frantic calls and texts from Spanish-speaking
                             patients she’s never met before on her cellphone, a number she gives out only to
                             patients she sees in the clinic.

                             “I ask them, ‘How did you get my number?’” she said. “They say, ‘A friend of a
                             friend of a friend.’”



                              “I need to know I’m going to be okay.”

                             Kleinfeld acknowledges that the very existence of a clinic like theirs — which,
                             unlike some other former abortion clinics that have remained open in states
                             with bans, has no doctors on site and offers no health services other than
                             ultrasounds — is somewhat controversial in the abortion rights community.
                             With abortion rights advocates arguing vehemently that in-person consultations
                             and ultrasounds are entirely unnecessary for a medication abortion, Kleinfeld
                             said, some likely see her clinic as an impediment to women accessing the care
                             they need.

                             Kleinfeld would never want to see an in-person visit mandated for all patients —
                             most women have no problem handling everything at home, she said. But she
                             has learned that some need the additional hand-holding, especially when they
                             are obtaining pills from unfamiliar sources.

                             “Not everybody needs an ultrasound, not everyone needs a phone number to
                             call,” Kleinfeld said. “But some really do.”

                             Blair Cushing, a family medicine doctor who provided abortions in McAllen,
                             Tex., before the clinic there was forced to close, recently opened a small medical
                             practice near the Mexico border to offer ultrasounds and other support to
                             women who self-manage their abortions. When she meets with patients, she
                             said, they’ll often stay to talk for an hour or more — experiencing “information
                             overwhelm” from everything they’ve read online and desperate for reassurance.

                             “They’re worried because something didn’t go the way they were expecting,”
                             Cushing said. “They need to decompress about this experience they had and
                             make sure they’re okay.”

                                                                                                                               App. 001049
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                         23/28
9/17/24, 4:04 PM                                      In states with bans, women often take abortion pills alone, afraid - Washington Post
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      Ashley holds her baby at her home. (Danielle Villasana for The
      Washington Post)
                                                                                As soon as she found out she was pregnant in mid-December, Ashley
                                                                                ordered pills from Aid Access.




                              Ashley first went to Houston Women’s Reproductive Services for an ultrasound
                              before she took the pills on Dec. 19 — then returned a week later, wondering why
                              she was still bleeding and experiencing a dull pain in her lower back.

                              Lima, the sonographer, told Ashley that she still had some blood clots left in her
                              uterus. And while Lima assured her that this was nothing to worry about — the
                              body can typically expel remaining clots without any medical intervention —
                              Ashley wanted to be sure.

                              She returned to Houston Women’s for three more appointments, until Lima was
                              able to confirm that all the clots were gone.

                              “Your uterus looks beautiful … nice and clean,” Lima said at Ashley’s final
                              appointment in mid-February. “You’re good to go, okay?”

                              Ashley smiled, closing her eyes as she felt all the muscles in her shoulders finally
                              relax.

                              “Thank you,” she said. “That’s all I needed to hear.”




                                                                                                                                  App. 001050
https://www.washingtonpost.com/politics/interactive/2024/abortion-pill-experience-stories/?itid=ap_carolinekitchener                                24/28
9/17/24, 4:04 PM                                    In states with bans, women often take abortion pills alone, afraid - Washington Post
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                             Ashley carries her baby outside her home. (Danielle Villasana for The Washington Post)




                                 About this story
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                             States where abortion is legal, banned or under threat
                             Sept. 12, 2024




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9/17/24, 4:04 PM                                     In states with bans, women often take abortion pills alone, afraid - Washington Post
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                      Harris vs. Trump on abortion: Where they stand on the issue
                                                                                                          Page 30 of 219 PageID 10563
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                               EXHIBIT 67

 Plan C – Where people get abortion pills online in Texas




                                                                   App. 001055
9/17/24, 12:46 PM                                                                            Where People Get Abortion Pills Online in Texas
                                      Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                   Page 34 of 219 PageID 10567
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                                                Find Pills          FAQ          Support & Resources                 Get Involved           About Plan C    Donate       Español



     Plan C Guide > Texas




                                                                                Where people get abortion
                                                                                pills online in Texas
                                                                                Abortion access in Texas is restricted, but abortion pills are still
                                                                                available by mail from providers outside of Texas. Options below.


                                                                                       Show my options



                                                                                       Learn about potential legal risk



                                                                                       Pregnancy Calculator




                                                            Please note:      Plan C does not sell pills. Use this guide to find an abortion pill provider.




                                                                                                                                                                App. 001056
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                              1/18
9/17/24, 12:46 PM                                                                  Where People Get Abortion Pills Online in Texas
                                      Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                         Page 35 of 219 PageID 10568
     How people get abortion    pills in Texas
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                              Online clinics that                                     Websites that sell                                           Community networks
                                   mail pills                                               pills                                                     that mail pills

        For people who want abortion pills by mail                   For people who want abortion pills by mail                      For people who can’t afford other services
        and follow-up support from a clinician.                      without consulting a clinician.                                 and want free pills mailed by volunteers.


          💵 $150 or less 🚚 1-5 days                                  💵 $30 and up 🚚 3-9 days                                         💵 Free 🚚 5-10 days

          🧑🏽 Clinician support                                       💊 Generic medications (from India)                              💊 Generic medications (from India)

          💊 FDA-approved medications                                 ⚠️Potential legal risk                                          ⚠️Potential legal risk

          ⚠️Potential legal risk



             See 8 results                                              See 13 results                                                  See 1 result




                               In-person clinics


        For people who have access to transportation
        and would prefer to pick up abortion pills in
        person from an abortion clinic.


          💵 $500 or more 🧑🏽 Clinician support

                                                                                                                                                               App. 001057
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                                  2/18
9/17/24, 12:46 PM                                                                         Where People Get Abortion Pills Online in Texas
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          💊 FDA-approved medications
                                                                                                                        Page 36 of 219 PageID 10569
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                                                Find Pills      FAQ             Support & Resources               Get Involved           About Plan C    Donate       Español
             See results




                                              ⚠️ Learn about potential legal risks of accessing pills from alternative suppliers by reading the
                                              FAQ below, "Can I get in trouble for using abortion pills?"

                                              You can also contact the free, confidential Repro Legal Helpline (online or at 844-868-2812) to
                                              discuss your specific situation.




       Can I get in trouble for using abortion pills?



         The short answer is: it depends, and it’s complicated.

         Legal risk can depend on:

             where you live,

             your identity: race, ethnicity, income level, etc.

             and how far along you are in pregnancy.

         In the end, it’s up to each person to make their own decision about risk. Click the headings
         below for more information about these risks.


            Where someone lives makes a difference.




            What if a state totally bans abortion?




                                                                                                                                                             App. 001058
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                           3/18
9/17/24, 12:46 PM                                                                    Where People Get Abortion Pills Online in Texas
                                      Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                           Page 37 of 219 PageID 10570
                                                               Stay Safe: Read our digital privacy tips                                                     Quick Exit (esc)
            How big is the legal risk?


                                                Find Pills   FAQ         Support & Resources                 Get Involved           About Plan C    Donate       Español
            ‍Why have some people gotten in legal trouble?



            Have Legal Questions?




         The Repro Legal Helpline provides free and confidential legal advice that can help people
         better understand the laws and legal risk they may face. Contact them online or call 844-
         868-2812.

         For more analysis of potential legal risk, read this article.




       How do I choose from these provider types?




         Here are a few factors to consider when choosing a provider type:


            What kind of support do you want?



            How much will it cost?




            How long will it take to get pills?



            Other important factors




                                                                                                                                                        App. 001059
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                      4/18
9/17/24, 12:46 PM                                                                    Where People Get Abortion Pills Online in Texas
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                                                Find Pills   FAQ         Support & Resources                 Get Involved           About Plan C    Donate       Español




     Online clinics that mail pills

     US-based online clinics
     Online clinics are US-licensed clinicians who ship pills to you after a brief online
     form or phone/video visit. Follow up support is available.




       Why are online clinics listed if my state does not allow telehealth for abortion?




         This is possible because some states have “shield laws” in place that protect clinicians when
         they provide telehealth care to someone in another state. Read our FAQ about potential
         legal risks of getting abortion pills by mail and taking them in a state that restricts access. If
         you want to speak to someone about legal risk, contact the Repro Legal Helpline.

         For more information about shield laws, read this article.




       How do I choose a provider?



         People usually choose an online clinic based on what kind of telehealth care they are
         comfortable with. Some providers require a phone or video visit while other providers
         communicate with you through text or email.


                                                                                                                                                        App. 001060
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                      5/18
9/17/24, 12:46 PM                                                                        Where People Get Abortion Pills Online in Texas
                               Case
         Cost and ship times are also a2:22-cv-00223-Z       Document
                                        factor. Sometimes a range         195-6
                                                                  of prices          Filedwhen
                                                                            will be shown  10/11/24
                                                                                               a                       Page 39 of 219 PageID 10572
                                                                   Stay Safe: Read our digital privacy tips                                                               Quick Exit (esc)
         provider offers sliding scale pricing or another form of financial assistance.

                                      Find
         To learn more about a provider’s   Pills click FAQ
                                          services      “More       Support
                                                            Information” on & Resources
                                                                             their                     Get Involved 
                                                                                             visit their
                                                                                   listing, or                                                About Plan C        Donate          Español

         website.




       What if I have medical questions?




         Online clinics usually offer medical support during and after your abortion. The format of this
         care depends on the provider. Some providers use phone or video visits (we call this a “Virtual
         visit with provider”) while others communicate through text or email (we call this “Online
         consultation by form”).

         You can also get free medical support from The Miscarriage and Abortion Hotline, which
         provides confidential medical information and support by phone and text to anyone in any
         state.

         Important: If you live in an abortion restrictive state and are traveling to another state to
         receive telehealth care, the provider will not be able to provide care to you if you tell them
         you have returned to the restrictive state.




     Filter by:

           Accepts insurance                Accepts Medicaid          Sliding scale pricing          Get pills in advance            Se habla español




     Showing 5 of 5 results                                                                                                                                       Sort by: Price 


        AID ACCESS                                                       ARMADILLO CLINIC                                                  CAMBRIDGE REPRODUCTIVE HEALTH
                                                                                                                                           CONSULTANTS

        Price                        Delivery               Ages         Price                     Delivery              Ages
        $150 or less                 2-5 days               All          $200 or less              2-5 days              18+               Price               Delivery             Ages

                                                                                                                                                                  App. 001061
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                                    6/18
9/17/24, 12:46 PM                                                                           Where People Get Abortion Pills Online in Texas
                                    Case 2:22-cv-00223-Z Document      195-6 Filed 10/11/24                               Page 40 of 219
                                                                                                                                      $250PageID
                                                                                                                                           or less 105732-5 days
        Pills by mail with clinician support               Pills by mail with clinician support
                                                                      Stay Safe: Read our digital privacy tips                                                                       Quick Exit16+
                                                                                                                                                                                                (esc)
        For pregnancies up to 13 weeks                                      For pregnancies up to 12 weeks
                                                                                                                                              Pills by mail with clinician support
                                                Find Pills          FAQ            Support & Resources              Get Involved           For About Plan C
                                                                                                                                                  pregnancies up        Donate
                                                                                                                                                                to 11 weeks                   Español
          💊 Get pills in advance                                             💵 Financial assistance available

          💵 Financial assistance available                                       Learn about the potential legal risk of using                 💊 Get pills in advance
                                                                                 this service
              Learn about the potential legal risk of using                                                                                    💵 Financial assistance available
              this service
                                                                                                                                                  Learn about the potential legal risk of using
                                                                                                                                                  this service



         MORE INFORMATION                       REQUEST PILLS                MORE INFORMATION                  REQUEST PILLS
                                                                                                                                              MORE INFORMATION                   REQUEST PILLS




        WE TAKE CARE OF US                                                  A SAFE CHOICE


        Price                        Delivery                Ages           Price                Delivery                   Ages
        $150-$600                    1-5 days                All            $150                 1-5 days                   All
        Pills by mail with clinician support (hablamos                      Pills by mail with clinician support
        español)                                                            For pregnancies up to 13 weeks
        For pregnancies up to 12 weeks

                                                                             💊 Get pills in advance
          💊 Get pills in advance
                                                                                 Learn about the potential legal risk of using
          💵 Financial assistance available                                       this service

              Learn about the potential legal risk of using
              this service




         MORE INFORMATION                       REQUEST PILLS                MORE INFORMATION                  REQUEST PILLS




     International online clinics
                                                                                                                                                                            App. 001062
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                                               7/18
9/17/24, 12:46 PM                                                                           Where People Get Abortion Pills Online in Texas
                               Case
     These services are provided       2:22-cv-00223-Z
                                 by clinicians                Document
                                               licensed in other            195-6
                                                                 countries who        Filed 10/11/24
                                                                               ship pills                                 Page 41 of 219 PageID 10574
                                                                      Stay Safe: Read our digital privacy tips                                                                  Quick Exit (esc)
     to you after a brief online or video visit. Pills provided are generic versions.

                                                Find Pills          FAQ            Support & Resources              Get Involved              About Plan C            Donate         Español

     Showing 3 of 3 results


        ABORTION PILLS IN PRIVATE                                           WOMEN ON WEB                                                      TELEFEM MEXICO


        Price                 Delivery                       Ages           Price             Delivery                      Ages              Price                Delivery               Ages
        $90                   8-14 days                      16+            $120 or less 3-5 business days All                                $200                 3 days                 All
        Pills by mail with clinician support                                Pills by mail with clinician support (Hablamos                    Pills by mail with clinician support, Hablamos
        For pregnancies up to 11 weeks                                      Español/falamos Português)                                        Español--SHIPS TO MEXICO ADDRESSES ONLY,
                                                                            For pregnancies up to 12 weeks                                    BUT CAN BE PICKED UP ALONG U.S. BORDER AT
                                                                                                                                              COURIER LOCATIONS
          💵 No financial assistance available
                                                                                                                                              For pregnancies up to 10 weeks
                                                                             💊 Get pills in advance
              Learn about the potential legal risk of using
              this service                                                   💵 Financial assistance available                                 💵 No financial assistance available

                                                                                 Learn about the potential legal risk of using
                                                                                 this service




         MORE INFORMATION                       REQUEST PILLS                MORE INFORMATION                  REQUEST PILLS                  MORE INFORMATION                 REQUEST PILLS




                                                                                                                                                                                  Back to top




     Websites that sell pills
                                                                                                                                                                         App. 001063
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                                          8/18
9/17/24, 12:46 PM                                                                  Where People Get Abortion Pills Online in Texas
                               Case
     These websites sell abortion       2:22-cv-00223-Z
                                  pills but do not include any Document     195-6YouFiled 10/11/24
                                                               additional support.                               Page 42 of 219 PageID 10575
                                                             Stay Safe: Read our digital privacy tips                                                     Quick Exit (esc)
     can still get free medical support for your abortion from the M+A Hotline.

                                    Find Pills        FAQ            Support & Resources                   Get Involved           About Plan C    Donate       Español
     Important: These websites may not follow strict digital security protocols. Read
     our digital privacy tips to learn how to protect yourself when ordering or
     searching for abortion pills online.


     Read the FAQs below for more information on how these sites work.




       What are websites that sell pills?




         Websites that sell pills are e-commerce websites that sell and ship pills to addresses in all U.S.
         states. They do not require a prescription for the medications, do not require you to upload
         your ID, and do not provide a medical consultation or any kind of support.




       Are these websites legit?




         Yes, these websites are legit. They sell generic abortion pills that are not regulated or
         inspected by the US government. Plan C regularly tests these websites by buying pills from
         them. The services we list in our guide all shipped pills to a home address. The pills were real
         (based on laboratory testing). But, we do not operate these sites, and cannot guarantee
         they will be reliable in the future.

         Important: These websites may not follow strict digital security protocols. Read our digital
         privacy tips to learn how to protect yourself when ordering or searching for abortion pills
         online.




       How do I choose one of these websites?


                                                                                                                                                      App. 001064
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                    9/18
9/17/24, 12:46 PM                                                                   Where People Get Abortion Pills Online in Texas
                                      Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                          Page 43 of 219 PageID 10576
                                                              Stay Safe: Read our digital privacy tips                                                     Quick Exit (esc)
         The websites listed in our guide all sell abortion pills at slightly different prices and delivery
         times. None of these sites require a prescription, provide a medical consultation, or offer any
                                        Find Pills       FAQ          Support & Resources             Get Involved                 About Plan C    Donate       Español
         kind of support. These websites usually won’t ask you how many weeks pregnant you are.

         We suggest you check their website and pick the one that you feel most comfortable
         ordering from. If you are not sure what pills to order, read the FAQ below, “What kind of kit
         do I order?”.




       What kind of kit do I order?



         Most of these websites sell abortion pills in a blister pack called an MTP Kit. These kits usually
         contain 5 pills: 1 dose of mifepristone (1 pill) and 1 dose of misoprostol (4 pills). Sometimes
         these packs will be listed under different names, or will be sold in bulk quantities, which may
         seem confusing. What is important is that you get the correct dosage for your pregnancy.
          Read the next section “How many pills do I need?” for dosage information.

         Important note about payment: It is very common for these websites to email or call soon
         after they get your order to request a different form of payment. They often say the credit
         card did not go through. They often ask the buyer to use a PayPal account in a person’s name
         or in the name of another business. These payment requests do seem unusual, but they
         worked every time we tested them.

         The pills usually arrive by the US Postal Service. They usually do not require a signature.




       How many pills do I need?



         If you are under 9 weeks pregnant you usually need 1 mifepristone pill and 4 misoprostol pills.
         People who are more than 9 weeks pregnant may need additional misoprostol pills (4 or 8
         pills) to complete the abortion. Many of these websites sell misoprostol pills separately
         (sometimes called Cytotec or Cytolog), which can be added to your order.



                                                                                                                                                       App. 001065
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                     10/18
9/17/24, 12:46 PM                                                                    Where People Get Abortion Pills Online in Texas
                                Case 2:22-cv-00223-Z
         Read this guide for instructions                    Document
                                          on how to take abortion           195-6
                                                                  pills and for      Filed 10/11/24
                                                                                recommended                        Page 44 of 219 PageID 10577
                                                               Stay Safe: Read our digital privacy tips                                                       Quick Exit (esc)
         dosages. If you don’t know how many weeks pregnant you are you can use our pregnancy
         calculator.                                         FAQ         Support & Resources                 Get Involved             About Plan C    Donate
                                                Find Pills                                                                                                             Español



       What if I have medical questions?



         Websites that sell pills do not offer medical support. If you have medical questions during
         your abortion, you can get support and have your questions answered by contacting The
         Miscarriage and Abortion Hotline. This hotline provides free, confidential medical
         information and support by phone and text. Often they can help you address a problem
         without needing to go to a clinic or hospital.

         If you are experiencing complications and feel the need to seek care from a health care
         provider at a clinic or hospital, you should do so. Your clinician does not need to know that
         you have used abortion pills to provide appropriate follow up care. Clinicians also can’t tell
         you’ve taken abortion pills unless you tell them, or if you inserted the misoprostol vaginally
         and the pills did not fully dissolve. Many people use misoprostol orally to prevent this possible
         detection.

         Some people who have told their clinician that they used abortion pills have faced legal
         prosecution. This is why many people just say they are having a miscarriage. The symptoms
         after taking abortion pills are the same as a miscarriage, and blood tests do not reveal any
         differences between a miscarriage and a medication abortion.

         You can also get free, nonjudgmental emotional support before, during, and after your
         abortion from the folks at All-Options Talkline, Exhale, Faith Aloud, or Reprocare.




     Showing 4 of 13 results                                                                                                                              Sort by: Price 


        LIFE EASY ON PILLS                                           HOME ABORTIONRX                                                   PRIVATE EMMA


                                                                                                                                                          App. 001066
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                        11/18
9/17/24, 12:46 PM                                                                           Where People Get Abortion Pills Online in Texas
        Price             Delivery Case 2:22-cv-00223-Z
                                                 Ages   Document
                                                          Price  195-6
                                                                 Delivery Filed 10/11/24
                                                                      Stay Safe: Read our digital privacy tips
                                                                                                                          Page
                                                                                                                           Ages 45 of 219
                                                                                                                                       Price PageID   10578
                                                                                                                                                 Delivery                        Quick ExitAges
                                                                                                                                                                                           (esc)
        $30-50            3-6 business days                  All            $33        12-19 business days                  All               $35         3-6 business days                All
        Pills by mail                           Find Pills          FAQ           Support
                                                                            Pills by mail  & Resources               Get Involved           PillsAbout
                                                                                                                                                   by mailPlan C          Donate         Español
                                                                                                                                              For pregnancies up to 12 weeks
          💊 Get pills in advance                                             💊 Get pills in advance
                                                                                                                                              💊 Get pills in advance
              Learn about the potential legal risk of using                      Learn about the potential legal risk of using
              this service                                                       this service                                                 💵 Financial assistance available

                                                                                                                                                  Learn about the potential legal risk of using
                                                                                                                                                  this service




         MORE INFORMATION                       REQUEST PILLS                MORE INFORMATION                  REQUEST PILLS                  MORE INFORMATION                 REQUEST PILLS




        MEDSIDE 24


        Price           Delivery                             Ages
        $44             3-6 business days                    All
        Pills by mail


          💊 Get pills in advance

              Learn about the potential legal risk of using
              this service




         MORE INFORMATION                       REQUEST PILLS




                                                                                    See all 13 websites that sell pills



                                                                                                                                                                          App. 001067
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                                          12/18
9/17/24, 12:46 PM                                                                    Where People Get Abortion Pills Online in Texas
                                      Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                           Page 46 of 219 PageID 10579
                                                               Stay Safe: Read our digital privacy tips                                                     Quick
                                                                                                                                                             BackExit (esc)
                                                                                                                                                                  to top


                                                Find Pills   FAQ         Support & Resources                 Get Involved           About Plan C    Donate      Español




     Community networks that mail pills

     These are networks of volunteers in the US that ship generic abortion pills for free.
     The pills often come repackaged in plastic baggies. You will need to request pills
     by email.




       What are community support networks?




         These are networks of community-based volunteers who ship generic abortion pills to
         people in the U.S. with confirmed pregnancies. They believe in a model of community care
         and ship pills for free. The pills often come repackaged in plastic or mylar baggies.




       What if I have medical questions?



         Community support networks sometimes offer emotional or medical support through secure
         texting apps. You can also get support and have your medical questions answered by
         contacting The Miscarriage and Abortion Hotline. This hotline provides free, confidential
         medical information and support by phone and text. Often they can help you address a
         problem without needing to go to a clinic or hospital.
                                                                                                                                                        App. 001068
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                     13/18
9/17/24, 12:46 PM                                                                        Where People Get Abortion Pills Online in Texas

         If you are experiencingCase 2:22-cv-00223-Z
                                complications               Document
                                              and feel the need          195-6
                                                                to seek care from aFiled
                                                                                    health10/11/24
                                                                                           care
                                                                   Stay Safe: Read our digital privacy tips
                                                                                                                       Page 47 of 219 PageID 10580
                                                                                                                                                                Quick Exit (esc)
         provider at a clinic or hospital, you should do so. Your clinician does not need to know that
         you have used abortion pills to provide appropriate
                                                         FAQ    follow upSupport
                                                                           care. Clinicians also can’t tell Get Involved
                                                                                   & Resources                                             About Plan C    Donate
                                        Find Pills                                                                                                                     Español
         you’ve taken abortion pills unless you tell them, or if you inserted the misoprostol vaginally
         and the pills did not fully dissolve. Many people use misoprostol orally to prevent this possible
         detection.

         Some people who have told their clinician that they used abortion pills have faced legal
         prosecution. This is why many people just say they are having a miscarriage. The symptoms
         after taking abortion pills are the same as a miscarriage, and blood tests do not reveal any
         differences between a miscarriage and a medication abortion.

         You can also get free, nonjudgmental emotional support before, during, and after your
         abortion from the folks at All-Options Talkline, Exhale, Faith Aloud, or Reprocare.




     Showing 1 of 1 results


        LAS LIBRES


        Price                 Delivery                      Ages
        $0                    5-12 days                     All
        Community network that mails pills


              Learn about the potential legal risk of using
              this service




         MORE INFORMATION                       REQUEST PILLS




                                                                                                                                                            App. 001069
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                          14/18
9/17/24, 12:46 PM                                                                    Where People Get Abortion Pills Online in Texas
                                      Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                           Page 48 of 219 PageID 10581
                                                               Stay Safe: Read our digital privacy tips                                                     Quick
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                                                                                                                                                                  to top


                                                Find Pills   FAQ         Support & Resources                 Get Involved           About Plan C    Donate      Español




     In-person clinics

     Clinics offer abortion pill pickup and other in-person abortion care options. To
     find the nearest clinic to Texas, use any of these search tools:




        I Need an Abortion                                           Texas: Abortion Clinic Guide

        A comprehensive, regularly updated, and                      Information about Texas abortion clinics,
        personalized resource for abortion seekers in                nearby clinic options, and financial assistance
        the US.                                                      from local support resources.

           VISIT WEBSITE                                                VISIT WEBSITE




                                                                                                                                                             Back to top




                                                                                                                                                        App. 001070
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                     15/18
9/17/24, 12:46 PM                                                                          Where People Get Abortion Pills Online in Texas
                                      Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                 Page 49 of 219 PageID 10582
                                                                     Stay Safe: Read our digital privacy tips                                                                  Quick Exit (esc)



                                                Find Pills         FAQ         Support & Resources                 Get Involved              About Plan C           Donate          Español




                                    Live phone & text support




        For Medical Questions                                              For Logistical & Emotional Support                                For Legal Questions

        The M+A Hotline                                                    Reprocare Healthline                                              ReproLegal Helpline
        Free and confidential support from a clinician                     Free and confidential help understanding                          Connect with a lawyer for free and
        at the Miscarriage + Abortion Hotline. (M+A                        how to get pills and how to use them.                             confidential legal information.
        does not sell pills)
                                                                           CALL OR TEXT            VISIT WEBSITE                             CALL OR TEXT          VISIT WEBSITE

        CALL OR TEXT                VISIT WEBSITE




                                    Automated support



                                                             NEW

        Charley the Chatbot                                                Frequently Asked Questions

        Provides users with personalized abortion                          Get answers to common questions about how
        options, including information about different                     abortion pills work and how to access them.

https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                            App. 001071                  16/18
9/17/24, 12:46 PM                                                                       Where People Get Abortion Pills Online in Texas

        abortion care methods,Case  2:22-cv-00223-Z
                               nearby clinics,      Document
                                                      READ FAQ
                                                               195-6 Filed 10/11/24
                                                               Stay Safe: Read our digital privacy tips
                                                                                                                      Page 50 of 219 PageID 10583
                                                                                                                                                                        Quick Exit (esc)
        accessing abortion pills, and referrals to
        support services.                                    FAQ         Support & Resources                    Get Involved             About Plan C          Donate
                                                Find Pills                                                                                                                         Español

           VISIT WEBSITE




                                                                                        Get the Plan C Newsletter
                                                                                        For breaking developments in abortion pill access
                                                                                        and opportunities to take action.


                                                                                          Your Email                                      Sign Up




                                                                               FAQ                             Support and                  Get Involved             About Plan C
                                                                                                               Resources
                                                                               Finding Abortion                                             Plan C Community         Mission
                                                                               Pills                           Quick Resource List          Take Action              Team
     Plan C is a project under the fiscal sponsorship of the National
                                                                               About Abortion Pills            Medical + Emotional          Stickers & Flyers        Press
     Women’s Health Network, a 501c3 organization. Our generous
                                                                               Using Abortion Pills            Support                      Plan C Merch             Research & Learning
     donors make this critical work possible.
                                                                               Can I get in Trouble            Legal Support                Social Media Toolkit     PLAN C: The
                                                                               for Using Abortion              Financial Support            Partner with Us          Documentary
        Find Pills                                                             Pills?                          Abortion Pill                For Medical              2023 Annual Report
                                                                                                               Instructions                 Professionals            Media inquiries
                                                                                                               Abortion Care Apps           Work with Plan C         Contact Us
                                                                                                               Other Options for            Donate
                                                                                                               Getting an Abortion



                                                                                                                                                                   App. 001072
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                                  17/18
9/17/24, 12:46 PM                                                                          Where People Get Abortion Pills Online in Texas
                                      Case 2:22-cv-00223-Z DocumentLanguage
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                                                                    Stay Safe: Read our digital privacy tips                                                      Quick Exit (esc)

                                                                                       Español
                                                Find Pills      FAQ               Support & Resources              Get Involved           About Plan C    Donate       Español

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     representation of an attorney or the advice of a doctor. No attorney client
     relationship has been formed by reviewing this material.




                                                                                                                                                              App. 001073
https://www.plancpills.org/abortion-pill/texas#telehealth                                                                                                                            18/18
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 52 of 219 PageID 10585




                               EXHIBIT 68

  Abortion Shield Laws: A New War Between the States -
                          NYT




                                                                   App. 001074
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                   Page 53 of 219 PageID 10586



 Abortion Shield Laws: A New War Between the States
 Doctors in six states where abortion is legal are using new laws to send abortion pills to tens of
 thousands of women in states where it is illegal.

           By Pam Belluck
           Pam Belluck spent time with abortion providers sending pills to states that outlaw abortion and talked with patients receiving
           those pills.

 Published Feb. 22, 2024   Updated Feb. 23, 2024


 Behind an unmarked door in a boxy brick building outside Boston, a quiet rebellion is taking place.
 Here, in a 7-by-12-foot room, abortion is being made available to thousands of women in states
 where it is illegal.

 The patients do not have to travel here to terminate their pregnancies, and they do not have to wait
 weeks to receive abortion medication from overseas.

 Instead, they are obtaining abortion pills prescribed by licensed Massachusetts providers,
 packaged in the little room and mailed from a nearby post office, arriving days later in Texas,
 Missouri and other states where abortion is largely outlawed.

 This service and others like it are operating under novel laws enacted in a half-dozen states —
 Massachusetts, Washington, Colorado, Vermont, New York and California — that have sought to
 preserve abortion access since the Supreme Court overturned the nationwide right to abortion in
 June 2022. The laws have been in use only since the summer and have not been tested in the
 courts, but they are already providing abortion access to tens of thousands of women in states with
 bans, especially low-income patients and others who cannot travel.

 Called telemedicine abortion shield laws, they promise to protect doctors, nurse practitioners and
 midwives licensed in those six states who prescribe and send abortion pills to patients in the
 nearly two dozen states that ban or sharply restrict abortion.

 The laws stipulate that officials and agencies of their states will not cooperate with another state’s
 efforts to investigate or penalize such providers — a stark departure from typical interstate
 practices of extraditing, honoring subpoenas and sharing information, legal experts on both sides
 of the abortion issue say. Many expect them to ultimately be challenged in federal court.

 Abortion opponents see the laws as brazen infringement on state sovereignty.




                                                                                                                       App. 001075
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                                        1/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24     Page 54 of 219 PageID 10587
 “You have states not just picking their own strategy but really trying to completely sabotage the
 governing efforts of their neighboring states,” John Seago, the president of Texas Right to Life,
 said.

 “It can’t stand, and we can’t be content with this new development,” he added.




                         “Some people who might not have gotten an abortion if they had to take off work and
                         go to a clinic, or wait three weeks and all of that, are doing it now,” said Dr. Linda Prine,
                         a New York shield-law provider. Ilvy Njiokiktjien for The New York Times



 The threat of shield laws is one reason that three states — Idaho, Kansas and Missouri —
 petitioned to join a case the Supreme Court will hear next month that seeks to bar the mailing of
 abortion pills and to require in-person doctor visits instead of telemedicine. The petition was
 denied.
                                                                                   App. 001076
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                               2/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24     Page 55 of 219 PageID 10588
 “When you have states actively seeking to circumvent each other’s laws, that raises a very real
 legal problem that will stretch far beyond just the abortion sphere,” said Will Scharf, a Republican
 candidate for attorney general in Missouri, who helped draft anti-abortion legislation when serving
 as policy director for the state’s governor six years ago.

 Pills have become the most common abortion method nationally, and abortion rights advocates
 consider shield laws a crucial way to counter the wave of bans enacted since the Supreme Court’s
 decision in Dobbs v. Jackson Women’s Health Organization.

 “This might be the most important event since Dobbs on so many levels,” said Rachel Rebouché,
 the dean of Temple University Law School, who has worked with shield law advocates and
 legislators. “Thousands and thousands of pills are being shipped everywhere across the United
 States from a handful of providers. That alone speaks to the nature of what mailed medication
 abortion can do.”

 Before shield laws were enacted, Aid Access, one of the organizations in the forefront of
 telemedicine abortion, served patients in states with bans by issuing prescriptions from Europe
 and shipping pills from a pharmacy in India. Pills could take weeks to arrive, potentially putting
 patients beyond 12 weeks’ gestation, the recommended threshold for taking the medication.

 With shield laws, “some people who might not have gotten an abortion if they had to take off work
 and go to a clinic, or wait three weeks and all of that, are doing it now,” said Dr. Linda Prine, a New
 York shield law provider.

 Aid Access providers are now using shield laws to serve about 7,000 patients a month, nearly 90
 percent of them in states with bans or severe restrictions, according to Dr. Abigail Aiken, an
 associate professor at the University of Texas at Austin, who studies Aid Access data.

 The shield laws upend the usual telemedicine model, under which out-of-state health providers
 must be licensed in the states where patients are located.

 Beyond providing abortion access to individual patients, the shield-law movement carries broader
 implications for abortion politics, and supporters are working to enact similar laws in as many
 states as possible so the approach becomes commonplace, according to Francine Coeytaux, a co-
 founder of Plan C, a clearinghouse for medication abortion information.

 “The shield laws are about a state’s legislative and justice system having skin in the game,” she
 said.




                                                                                                                       App. 001077
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                                     3/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
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 Inside the room




                         Telemedicine abortion shield laws are intended to protect doctors, nurse practitioners
                         and midwives who prescribe and send abortion pills to patients in the nearly two
                         dozen states that ban or sharply restrict abortion. Sophie Park for The New York Times



 Carol, who asked to be identified by her middle name to help keep her role private, met me behind
 the brick building outside Boston and escorted me through a back door, down a warren of hallways.
 Others who rent offices in the building haven’t asked what she does there, she said, adding: “I’m
 kind of hoping that most people aren’t really that curious about what’s going on.”

 At a plain white table, Carol, who has a master’s degree in public health, began her routine:
 checking a spreadsheet of prescriptions; printing out labels with medication information and
 patients’ names; printing address labels with tracking numbers and adding them to the
                                                                                  App. 001078
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                               4/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
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 spreadsheet.

 Patients contact this service and others online and fill out forms providing information about their
 pregnancy and medical history. Carol’s colleague, Lauren Jacobson, a nurse practitioner, writes
 prescriptions, evaluating whether patients are medically eligible. They can be up to 12 weeks
 pregnant and must have no disqualifying medical issues like an ectopic pregnancy or a blood-
 clotting disorder. Patients and providers can communicate by email or phone if needed.

 “We’re a free country,” said Ms. Jacobson, who sometimes writes 50 prescriptions a day. “So let’s
 put that to the test. Here we are and we’re not going to be intimidated, and we have our states
 backing us.”

 Carol pulled the two abortion medications from storage boxes: mifepristone, which stops a
 pregnancy from developing, and misoprostol, taken 24 to 48 hours later to spur contractions to
 expel pregnancy tissue.

 “I don’t really consider myself a rule breaker,” she said. “So it’s funny that here I am sitting in this
 tiny little closet surrounded by pill bottles.”




                                                                                                                       App. 001079
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                                     5/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
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                         Carol and others who use shield laws to send abortion pills to patients are taking
                         precautions to protect themselves, including not traveling to states with abortion bans,
                         where they could be more vulnerable to arrest. Sophie Park for The New York Times



 The operation resembles a small-scale assembly line, preparing medication for six packages at a
 time: one mifepristone pill in a manufacturer’s prepackaged box and 12 misoprostol tablets
 counted out by hand from bottles of 100 supplied by a wholesaler. Carol slid the medications into
 plain envelopes lined with bubble wrapping, along with a 10-page pamphlet from the mifepristone
 manufacturer and illustrated instructions from Aid Access about taking the medication and
 expected side effects, like cramping and bleeding.

 She drove several miles to a post office to mail the envelopes.

 “Getting ready for Christmas?” another customer in the post office asked one day, she recalled.

                                                                                                                       App. 001080
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                                     6/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
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 “Surprise, I’m actually Santa Claus,” she replied cheerfully.

 One of Carol’s envelopes arrived at the home of Ashley Dickey in Texas.

 Ms. Dickey has two young children and said she had experienced serious postpartum depression
 after those pregnancies. She said she dissolved in tears when she became pregnant again and
 concluded that she could not manage another pregnancy and raise another child. “It’s just not good
 for anybody,” she said.

 When she learned she could receive pills by mail, “I was so grateful,” she said, adding, “If I would
 have had to travel somewhere, it would have been catastrophic, financially and then just
 emotionally.”




                         “If I would have had to travel somewhere, it would have been catastrophic, financially
                         and then just emotionally,” said Ashley Dickey, a Texas patient who received abortion
                                                                                                                       App. 001081
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                                     7/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
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                   pills from Massachusetts shield law providers. Montinique Monroe for The New York Times

 Reaching low-income patients
 Supporters say shield laws are already making substantial progress toward an important goal:
 helping patients who cannot afford — financially or logistically — to travel to another state for an
 abortion.

 “It’s reaching the ones that were impacted the most: low-income, poor people, communities of
 color, Indigenous,” said Michelle Colón, the executive director of SHERo Mississippi, an
 organization supporting reproductive rights for people of color.

 Nationally, there are three main providers: Aid Access; the Massachusetts Medication Abortion
 Access Project (called The MAP); and a service called Abuzz, which does not yet serve all states
 with abortion bans. They charge $150 or $250, though all three services provide pills for reduced
 prices or even at no cost, based solely on what patients say they can pay.

 Dr. Rebecca Gomperts, a Dutch physician who founded Aid Access, said over half of its shield-law
 patients cannot pay full price. About a third of The MAP’s patients can afford only the service’s $5
 minimum, said Dr. Angel M. Foster, director of The MAP.

 But shield-law providers say it is uncertain whether they can sustain their pay-what-you-can
 approach. Most providers are absorbing the cost for thousands of patients who can’t pay full price.
 So far, most abortion funds — organizations that provide financing to help patients obtain
 abortions — have not given money for sending pills to anti-abortion states, partly because they do
 not know if shield laws would protect the funds.

 “I’ve had several funds say, ‘Our lawyers say we cannot do this,’” said Susan Yanow, a longtime
 reproductive health activist working with The MAP, who has nonetheless gotten some funds to
 contribute.

 A few funds openly support shield-law activity. “We are here to boldly make a statement,” said
 Karen Middleton, president of Cobalt Abortion Fund in Colorado, which gives $2,500 a month to
 that state’s provider. And some advocates are starting funds, including Jodi Jacobson, an activist
 based in California, who said she wanted to support “providers who are losing money” performing
 what she called “medical civil disobedience.”




                                                                                                                       App. 001082
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                                     8/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
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 Legal strategizing




                         Authorities in states with abortion bans have not yet tried to prosecute, sue or
                         otherwise target shield law providers, but some advocates on both sides say it is only a
                         matter of time before that happens. Sophie Park for The New York Times



 Several Republican attorneys general from states with strict abortion prohibitions declined
 requests to discuss shield laws. But Mr. Scharf, who is challenging Missouri’s incumbent attorney
 general in the Republican primary, predicted that the shield laws would almost certainly be
 challenged in court.

 “Constitutional litigation is obviously an option here,” he said. “Ultimately, whenever you get
 attempts like this to circumvent our constitutional system of federalism, that’s going to be
 something that’s litigated.”
                                                                                   App. 001083
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                               9/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
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 Dr. Seago of Texas Right to Life said taking action against shield-law providers would be “a difficult
 challenge” that would require “the right case,” including a patient “on the receiving side of those
 illegal activities” who would cooperate with a civil suit or prosecution.

 “We can definitely promise that in a pro-life state like Texas with committed elected officials and an
 attorney general and district attorneys who want to uphold our prolife laws, this is not something
 that’s going to be ignored for long,” he said.

 Many shield-law providers are taking precautions, including not traveling to states with abortion
 bans, where they could be more vulnerable to arrest. Some are not sending pills to states where
 they have family. Some are creating trusts to protect their assets from civil suits.

 “At any moment, I might get a cease-and-desist order, or I might get a lawsuit, or I might get some
 district attorney coming after me, I have no idea,” said Dr. David Wiebe, who operates under
 Colorado’s shield law. “I’m absolutely flying out at full risk here.”

 The MAP has taken several protective steps. All of its prescribers are within Massachusetts. Pills
 are stocked and packaged at a separate location by workers hired by Cambridge Reproductive
 Health Consultants, a nonprofit Dr. Foster leads. “Our model is about distributing risk,” she said.

 One national mail-order pharmacy, Honeybee Health, based in California, is evaluating whether it
 can send pills to states with abortion bans under California’s shield law, a step that would allow
 providers in any shield-law state to send their prescriptions to Honeybee and avoid stocking and
 shipping pills themselves.

 Honeybee’s co-founder and president, Jessica Nouhavandi, said she hoped to do so, but worried
 about jeopardizing her business, which dispenses other medications too. If an anti-abortion state
 like South Carolina pulled her license, “what happens to my thousands of South Carolina patients
 who get their blood thinners from me?” she said.




                                                                                                                       App. 001084
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                                     10/12
9/17/24, 12:49 PM                                    Abortion Shield Laws: A New War Between the States - The New York Times
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                         “We’re a free country,” said Lauren Jacobson, a nurse practitioner who sometimes
                         writes 50 prescriptions a day. “So let’s put that to test. Here we are and we’re not going
                         to be intimidated, and we have our states backing us.” Ilvy Njiokiktjien for The New York
                         Times




 Another unknown is the outcome of the lawsuit by abortion opponents seeking to curtail
 mifepristone. An appeals court ruling effectively barred the mailing of mifepristone and required
 in-person doctor visits. The case is now before the Supreme Court.

 “If we prevail on that, all these shield laws will be rendered moot at that point because then there’ll
 be a federal policy prohibiting such a transaction,” said Erik Baptist, senior counsel for the Alliance
 Defending Freedom, which represents abortion opponents in that case. Some shield law providers
 say they will look for legal ways to continue.


                                                                                                                       App. 001085
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                                     11/12
9/17/24, 12:49 PM                                       Abortion Shield Laws: A New War Between the States - The New York Times
           Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24      Page 64 of 219 PageID 10597
 Texas, which has strict bans, is home to about a third of shield-law patients, including Elizabet,
 who asked to be identified by her middle name to protect her privacy. She considered traveling to
 California, where a friend lives, but medication abortion at a clinic there would cost $750, plus
 transportation expenses.

 She was relieved to find Aid Access and to receive pills mailed from Massachusetts. Although
 abortion bans target providers and not patients, she said she was still nervous about people in
 Texas finding out.

 “That’s been very scary,” she said, “but I was like, you know what, I have to trust it.”

 Weeks later, Elizabet said she planned to visit a doctor for birth control, but worried about being
 asked if she’d taken abortion pills.

 Ms. Jacobson, who prescribed her the medication under Massachusetts’ shield law, reassured her,
 noting that there was no medical reason to disclose having taken abortion pills.

 “The symptoms that the abortion pills cause are exactly the same as those that a miscarriage
 causes, so there is no possible way for a provider, a doctor, to look at you, do any test and know that
 you took the pills,” she said, adding, “We’ve helped a lot of people navigate situations in places like
 Texas.”
 Pam Belluck is a health and science reporter, covering a range of subjects, including reproductive health, long Covid, brain
 science, neurological disorders, mental health and genetics. More about Pam Belluck


 A version of this article appears in print on , Section A, Page 1 of the New York edition with the headline: New Shield Laws Allowing Women Abortion Access




                                                                                                                                 App. 001086
https://www.nytimes.com/2024/02/22/health/abortion-shield-laws-telemedicine.html                                                                               12/12
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 65 of 219 PageID 10598




                               EXHIBIT 69

                 MAP Frequently asked questions




                                                                   App. 001087
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                                                                                   App. 001088
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 67 of 219 PageID 10600




                               EXHIBIT 70

                    Need Abortion care at home?
                              abuzz




                                                                   App. 001089
9/17/24, 12:54 PM                             Abuzz – Abortion Pill Access At Home
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24           Page 68 of 219 PageID 10601


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    Need abortion care at home?
       Get access today




                                                                                     App. 001090
https://www.abuzzhealth.com                                                                          1/7
9/17/24, 12:54 PM                                             Abuzz – Abortion Pill Access At Home
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                           Page 69 of 219 PageID 10602




          Fast, discreet shipping.

          Packages arrive in 2-5 days. Medications are shipped in a plain mailing envelope.




                                                                                                     App. 001091
https://www.abuzzhealth.com                                                                                          2/7
9/17/24, 12:54 PM                                              Abuzz – Abortion Pill Access At Home
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                            Page 70 of 219 PageID 10603




            Affordable care for everyone.​

            Accessing safe and affordable healthcare is a fundamental right. Services are available for $0-150 sliding
            scale.




                                                                                                           App. 001092
https://www.abuzzhealth.com                                                                                              3/7
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          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                         Page 71 of 219 PageID 10604




              The support you need, when you need it.

              An experienced medical team is here to answer your questions, provide support, and guide you through
              the process.




            Abuzz may be able to help
            you if...




                                                                                                     App. 001093
https://www.abuzzhealth.com                                                                                          4/7
9/17/24, 12:54 PM                                                 Abuzz – Abortion Pill Access At Home
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                               Page 72 of 219 PageID 10605




                    You’re less than 13 weeks pregnant.
                    You must be less than 13 weeks pregnant to access abortion through Abuzz. Remember
                    that pregnancy is measured from the first day of your last menstrual period, which is
                    around two weeks before conception.


                       How do I estimate the length of my pregnancy?




                    You’re comfortable with virtual
                    abortion care.

                                                                                                            App. 001094
https://www.abuzzhealth.com                                                                                               5/7
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                 most cases, providersDocument     195-6
                                      do not require a phoneFiled
                                                             call or10/11/24        Page
                                                                     video visit. After you 73
                                                                                            fill inofthe
                                                                                                       219
                                                                                                         form,PageID 10606
                    a clinician will arrange payment with you and review your information. If you’re approved
                    to receive abortion pills by mail, your pills will be shipped out in 1-2 business days.




                    You have a mailing address in one of
                    our states.
                    Options for at-home abortion pill access will vary based on your location. Click below to
                    find options in your state or territory.




                Still have questions? Check out our
                                FAQ

                                                                                                                App. 001095
https://www.abuzzhealth.com                                                                                                   6/7
9/17/24, 12:54 PM                                     Abuzz – Abortion Pill Access At Home
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                   Page 74 of 219 PageID 10607
                                                    Go to the FAQ




            Abuzz: Abortion Pill Access At Home



            About Us

            How it Works

            FAQ

            Terms of Use

            Privacy Policy

            Provider Payments

            Donations allow us to help all pregnant people, regardless of their
            ability to pay. Please consider supporting our work.

                                                      DONATE




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https://www.abuzzhealth.com                                                                                  7/7
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 75 of 219 PageID 10608




                               EXHIBIT 71

                               FAQ - Abuzz




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9/17/24, 4:15 PM                                                                  FAQs – Abuzz
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                                                     Frequently Asked Questions*




                         Services     About Abortion Pills         Before Taking Abortion Pills    How to Use Abortion Pills

                                          During An Abortion With Pills         After An Abortion With Pills




                   Services

                      I can't afford $150. Can I still get help?                                                            



                     Yes, you can still get help! Just let your provider know what you can afford when you fill out the form.



                      Can I get abortion pills even if I’m not pregnant?                                                    



                     Yes, clinicians offer abortion pills “just in case” you do get pregnant. These are sometimes called
                     “advance provision” or “pills for future use.”



                      Do I have to have a video visit or phone call?                                                        



                     In most cases, a phone or video call is not required. Everything is done through the intake form. You will
                     receive a phone number so that you can contact the medical team for any follow up questions. We are
                     here to support you if you choose.



                      What happens after I ll out the form?                                                                 



                     We will connect you with a provider that is best suited to support your care. The provider will arrange
                     payment with you and review your file. They might ask you some follow up questions. If you are eligible
                     to receive services, they will mail you abortion pills.



                      How do I get started?                                                                                 


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https://www.abuzzhealth.com/faqs/                                                                                                    1/10
9/17/24, 4:15 PM                                                                   FAQs – Abuzz
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                      Page 77 of 219 PageID 10610
                     Fill in the form here.




                   About abortion with pills

                      What comes in the abortion pill kit?                                                                     



                     The abortion pill kit has two medicines: mifepristone and misoprostol. The combination of mifepristone
                     and misoprostol is very effective and has the fewest side effects.



                      How do the abortion pills work?                                                                          



                     Mifepristone stops the pregnancy from growing. Misoprostol makes the uterus contract and push out
                     the pregnancy just like a natural miscarriage.



                      How effective are abortion pills?                                                                        



                     The combination of mifepristone and misoprostol has been shown to be 98% effective at ending a
                     pregnancy.



                      Is there a difference between the generic (mifepristone) and brand (Mifeprex) versions of                
                      mifepristone?


                     There is no difference between them.



                      Are abortion pills safe?                                                                                 



                     They are very safe – safer than Tylenol and safer than driving in a car! The risk of severe, life-threatening
                     complications requiring hospitalization is less than 1%.



                      If abortion pills are so safe, why are they so restricted?                                               



                     Restrictions on abortion pills have nothing to do with medical safety or effectiveness. The restrictions are
                     made by politicians who are against abortion.



                      Will the abortion pills affect my ability to get pregnant in the future?                                 



                     No, abortion pills do not affect your future fertility. You can still get pregnant again.

                                                                                                                          App. 001099
https://www.abuzzhealth.com/faqs/                                                                                                       2/10
9/17/24, 4:15 PM                                                                 FAQs – Abuzz
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                    Page 78 of 219 PageID 10611
                      I have an Rh negative blood type. Will I need Rhogam if I am less than 12 weeks when I take            
                      the abortion pills?


                     No, Rhogam is only needed for people with Rh negative blood after 12 weeks.




                      Do abortion pills increase the risk of infection?                                                      



                     Infections from abortions are very rare. They occur in less than 2% of all abortions and usually are easily
                     treated with antibiotics when they do occur.




                      How far in pregnancy can I use abortion pills?                                                         



                     The clinicians we refer to will send the pills to people up to 12 weeks and 6 days pregnant. If you are 13
                     weeks pregnant or more, you can find services here.



                      What is an ectopic pregnancy and how would I know if I had one?                                        



                     Ectopic (tubal) pregnancies are located outside of the uterus. The risk of having an ectopic pregnancy is
                     very low (less than 2%), but if it bursts it is a medical emergency. The only way to know for sure if you
                     have an ectopic pregnancy is by ultrasound. If you are pregnant and have any of the following signs of a
                     ruptured ectopic pregnancy, you should go to the hospital right away: severe abdominal pain on one
                     side, dizziness, lightheadedness, feeling very weak. There is a higher risk of ectopic pregnancy if you have
                     an IUD or history of ectopic pregnancies.



                      Will the pills work if I have an ectopic pregnancy?                                                    



                     The abortion pills will NOT work for an ectopic pregnancy. If you take abortion pills and do not have any
                     bleeding within 24 hours after taking misoprostol, you should speak to your abortion pill provider right
                     away. They may recommend an ultrasound to check the location of the pregnancy.



                      Can I use abortion pills if I have an IUD in place?                                                    



                     It is very rare to become pregnant with an IUD in place. If you are pregnant with an IUD, there is a
                     higher risk of it being an ectopic pregnancy. Ectopic pregnancies are dangerous because they can burst
                     suddenly and cause severe internal bleeding. While an ultrasound is not required, it would show the
                     location of the pregnancy and the IUD. You don’t need to have the IUD taken out before taking abortion
                     pills. They will still work (unless it is an ectopic pregnancy) and a risk is that the IUD may come out with
                     the pregnancy. Since you have become pregnant, it also means you will need to have the IUD replaced
                     after the abortion since it is no longer working correctly.



                      I got an abortion pill kit for future use. How long is it good for?                                    



                     You can store the pills for at least two years (and probably longer) in a cool, dry, dark place. It’s not
                     recommended to store them in the bathroom because the heat and humidity can make the pills less
                                                                                                                        App. 001100
https://www.abuzzhealth.com/faqs/                                                                                                     3/10
9/17/24, 4:15 PM                                                                 FAQs – Abuzz
          Case 2:22-cv-00223-Z
                 effective.    Document 195-6 Filed 10/11/24                                    Page 79 of 219 PageID 10612



                      Can I receive just misoprostol?                                                                          



                     Using mifepristone and misoprostol together is considered the “gold standard” protocol for abortion
                     with pills. Typically, clinicians prefer to prescribe the two medications together as they have fewer side
                     effects and the process is easier. If you cannot take or do not want to take mifepristone, you can fill in the
                     online form and ask your clinician about a misoprostol-only abortion.



                      Can I fill an abortion pill prescription at my local pharmacy?                                           



                     Local pharmacies in the U.S. are allowed to dispense mifepristone after getting certified. You can locate
                     a pharmacy here. Some clinicians may be able to send a prescription for you to fill at a local pharmacy. At
                     this time, Abuzz does not offer this service.




                   Before taking abortion pills

                      What should I do before taking abortion pills?                                                           



                     Before taking pills, it is helpful to do a pregnancy test to confirm you’re pregnant. This avoids taking pills
                     unnecessarily and prevents confusion. If you don’t want to take a pregnancy test, you don’t have to. You
                     should also estimate how far along the pregnancy is. Pregnancies are measured starting from the first
                     day of your last period (and not from conception or when you had sex). You can figure out how far along
                     the pregnancy is using your last period in a pregnancy calculator like this one or by getting an
                     ultrasound.



                      What kind of pregnancy test should I use before taking the pills?                                        



                     Almost any pregnancy test will work. Dollar store tests work great. We do not recommend using any
                     digital (positive/negative or +/-) pregnancy tests because we have noticed many people having false
                     positives (a positive test result when they are not actually pregnant).



                      Do I need to get an ultrasound before taking abortion pills?                                             



                     No, getting an ultrasound is not required for most people. You do not need to get an ultrasound as long
                     as your provider can figure out how far along your pregnancy is and you do not have signs of an ectopic
                     pregnancy.



                      How should I get ready to take my abortion pills?                                                        

                                                                                                                         App. 001101
https://www.abuzzhealth.com/faqs/                                                                                                      4/10
9/17/24, 4:15 PM                                                               FAQs – Abuzz
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                  Page 80 of 219 PageID 10613
                         1. Read our information on how to take the pills, what you might see and feel, and how to identify
                            signs of complications.
                         2. Have a plan for where and when you will take the pills. You will want to be in a comfortable place
                            and have access to a bathroom for up to 12 hours after taking misoprostol (the second medicine).
                         3. Have a plan for how to get emergency medical care in the unlikely event that you need it. It can be
                            good to have a support person (in-person or virtually) in case you need help – especially the day
                            you take misoprostol because this is when you’ll have the most cramping/pain and bleeding.
                         4. Have on hand whatever you usually use to help with your periods (ex: large overnight pads,
                            painkillers, anti-nausea medicine, heating pads, comfortable clothes, snacks, netflix/movies, etc).




                   How to use abortion pills

                      How should I take the abortion pills?                                                               



                     Check out the instructions. How you take the abortion pills depends on how far along the pregnancy is.
                     You can figure out how far along the pregnancy is based on your last period or by getting an ultrasound.
                     There are many different ways to take the pills and most work well. The World Health Organization
                     recommends:


                                           Swallow 1 mifepristone 200mg pill orally
                       Less than 9         Wait 1-2 days
                       weeks               Take 4 misoprostol 200mcg pills under the tongue, in the cheek, or in the vagina.
                                           If you don’t start bleeding after 24 hours, take another 4 pills.


                                           Swallow 1 mifepristone 200mg pill orally
                                           Wait 1-2 days
                       9-11 weeks
                                           Take 4 misoprostol 200mcg pills under the tongue, in the cheek, or in the vagina.
                                           4 hours later, take another 4 misoprostol 200mcg pills.


                                           Swallow 1 mifepristone 200mg pill orally
                                           Wait 1-2 days
                       12+ weeks
                                           Take 2 misoprostol 200mcg pills under the tongue, in the cheek, or in the vagina
                                           every 3 hours until the pregnancy tissue is out.




                      How long do I have to wait to take misoprostol (the second medicine)?                               



                     We recommend taking misoprostol 1-2 days (24-48 hours) after mifepristone because this will be the
                     most effective.



                      How do I take misoprostol (the second medicine)?                                                    



                                                                                                                     App. 001102
https://www.abuzzhealth.com/faqs/                                                                                                  5/10
9/17/24, 4:15 PM                                                                FAQs – Abuzz
          Case 2:22-cv-00223-Z         Document
                 Misoprostol can be taken in 3 different195-6     Filed buccally,
                                                         ways – vaginally, 10/11/24      Page 81
                                                                                  or sublingually.    of 219
                                                                                                   Vaginally     PageID 10614
                                                                                                             means
                     inserting the medicine with your fingers into the vagina. Buccally means holding the medicine in your
                     cheeks like how a chipmunk holds food. Sublingually means holding the medicine under your tongue. If
                     you take the misoprostol sublingually or buccally, after 30 minutes you can swallow whatever remains of
                     the pills.



                      What is the difference between putting the misoprostol (the second medicine) under your               
                      tongue, in your cheek, or in the vagina?


                     In areas where abortion is restricted, it can be safer to put the misoprostol in your cheek or under your
                     tongue. After 30 minutes you can swallow or spit out anything that is left. Using the medicines in your
                     cheeks or under your tongue can give you more side effects (nausea, vomiting, diarrhea). Using the
                     medicines in the vagina gives you less side effects, but the pills could be seen during a vaginal exam. If
                     this is a concern for you, we recommend that you use the pills in your cheek or under your tongue.



                      What can I take for nausea?                                                                           



                     You can take over the counter anti-nausea medicine like Unisom or Dramamine. Other things that can
                     help with nausea include ginger tea, chewing gum, and sucking on hard candies. A prescription for anti-
                     nausea medication can be sent if needed.



                      What can I take for pain?                                                                             



                         1. It’s most effective to wait until you feel some pain before taking painkillers (but do not wait until
                            the pain is unbearable). You can take over-the-counter painkillers like ibuprofen (Motrin/Advil) and
                            acetaminophen (Tylenol). You can take 600-800mg ibuprofen every 6-8 hours with food. You can
                            take 1000mg of acetaminophen every 6 hours. You can also take ibuprofen and acetaminophen
                            together. If you do not want to use ibuprofen, you can try taking naproxen (Aleve) 550mg every 12
                            hours. To be more comfortable during the process, you can also try using a hot water bottle or
                            heating pad on the belly, listening to music, having a support person, being someplace private,
                            etc.



                      Why do I start with fewer misoprostol pills when I’m 12+ weeks pregnant?                              



                     The farther along you are, the fewer misoprostol pills you need for each dose. After 12 weeks, people
                     should take 1 mifepristone followed by 2 misoprostol pills repeated every 3 hours until the pregnancy
                     passes.



                      Why do I have extra pills and what should I do with them?                                             



                     Extra misoprostol pills are sent in case:

                            1. You vomit after taking the pills
                            2. You don’t bleed enough after taking the pills
                            3. You have too much bleeding after taking the pills

                     Please keep any extra misoprostol for at least 2 months. This way you will have it on hand in case you
                     experience a complication and are advised to take it.
                                                                                                                       App. 001103
https://www.abuzzhealth.com/faqs/                                                                                                    6/10
9/17/24, 4:15 PM                                                                FAQs – Abuzz
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                   Page 82 of 219 PageID 10615
                      What do I do with my extra pills?                                                                     



                     Please keep any extra misoprostol for at least 2 months. This way you will have it on hand in case you
                     experience a complication and are advised to take it.



                      What if I throw up after taking the abortion pills?                                                   



                     As long as you can keep the mifepristone (first medicine) down for at least 30 minutes, it will most likely
                     be effective. If you vomit less than 30 minutes after taking mifepristone, it might not be as effective, so
                     contact us for further information.

                     As long as you keep the misoprostol (second medicine) in your mouth for at least 20 minutes, that
                     should be enough time for the medication to absorb and be effective. If you vomit less than 20 minutes
                     after taking the misoprostol by mouth, it’s recommended to take anti-nausea medication, wait a few
                     hours, and try again.




                   During an abortion with pills

                      What happens after taking the abortion pills?                                                         



                     Most people don’t have any symptoms after taking mifepristone (the first medicine). Some people
                     might have light bleeding or nausea. The main symptoms of bleeding and cramping usually begin after
                     taking the misoprostol (the second medicine).



                      How much bleeding and cramping will I have?                                                           



                     Every person is different, and there is a range of normal bleeding and cramping. . Most people have
                     bleeding and cramping that is heavier than a period and can include blood clots the size of lemons.
                     Some people only have light bleeding. It usually starts 4-6 hours after taking the misoprostol (the
                     second medicine) and starts to slow down within 1 day. Some people have mild pain, and other people
                     have very intense cramps.



                      What if I start bleeding/having a miscarriage before I use the abortion pills?                        



                     Signs of a miscarriage don’t always mean you had a complete miscarriage so it is recommended that
                     you still use the abortion pills to make sure the pregnancy passes fully.



                      What are the side effects of misoprostol (the second medicine)?                                       



                                                                                                                       App. 001104
https://www.abuzzhealth.com/faqs/                                                                                                    7/10
9/17/24, 4:15 PM                                                                 FAQs – Abuzz
          Case 2:22-cv-00223-Z          Document
                 The side effects of misoprostol include195-6     Filed 10/11/24
                                                         nausea, vomiting,               Page
                                                                           headache, diarrhea,    83and
                                                                                               fever, of chills.
                                                                                                         219 These
                                                                                                                 PageID
                                                                                                                   are  10616
                     usually temporary and go away on their own. If the fever (more than 101 degrees) continues for more
                     than 24 hours after taking misoprostol, please contact your abortion pill provider because this can be a
                     sign of infection.



                      How much bleeding is too much?                                                                          



                     It is normal to have heavy bleeding and blood clots. If you are soaking 2 large overnight pads per hour
                     for 2 hours in a row (4 pads in 2 hours) that is too much bleeding. You should seek medical attention
                     right away if this happens. Sometimes providers recommend taking 2 more misoprostol pills to slow the
                     bleeding down while waiting for medical attention.




                      What are signs of a complication?                                                                       



                     If you have very heavy bleeding (soaking 2 large overnight pads per hour for 2 hours in a row), fever for
                     over 24 hours since taking misoprostol, or severe pain that is not relieved by painkillers, these are signs of
                     severe medical complications, and you should seek medical attention right away.



                      Will anyone be able to tell that I took abortion pills?                                                 



                     No, there are no tests to detect that you took abortion pills by mouth. The only way for the providers to
                     know is if you tell them or if you took the pills vaginally and they see them on an internal exam. You do
                     not need to say that you took abortion pills.



                      If I have to go to the hospital, what should I say?                                                     



                     The treatment for a miscarriage and abortion are the same, so you can just say something like “I’m
                     bleeding but it doesn’t feel like my usual period. I’m afraid something is wrong” or “I’m pregnant and
                     bleeding. I’m scared there’s something wrong” and you should get the care you need.




                   After an abortion with pills

                      How do I know if the abortion pills worked?                                                             



                     Most people can tell if the pills worked by what they experience and how they feel. Some signs that the
                     abortion pills worked can include: bleeding (light or heavy), cramping after taking the pills, passing clots
                     and/or tissue, and no longer feeling pregnant. Pregnancy tests can stay positive for up to 5 weeks after a
                     successful abortion, so they are not reliable before that time. If you still feel pregnant, you should contact
                     your abortion pill provider.



                                                                                                                         App. 001105
https://www.abuzzhealth.com/faqs/                                                                                                      8/10
9/17/24, 4:15 PM                                                                  FAQs – Abuzz
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                     Page 84 of 219 PageID 10617
                      What if I have little or no bleeding after taking the abortion pills?                                    



                     This could be a sign that the pills didn’t work, so you need to talk to your abortion pill provider for further
                     guidance.



                      How long will I bleed after taking abortion pills?                                                       



                     Bleeding should start to slow down after the pregnancy passes. However, light bleeding and/or spotting
                     can continue off and on for up to 6 weeks. If you have been bleeding more than 6 weeks, contact your
                     abortion pill provider.



                      What if I have vaginal odor after using the pills?                                                       



                     Your vagina needs time to adjust to the changing hormones after ending the pregnancy, so any odor
                     changes can be normal. Burning or pain from the discharge are reasons to seek medical attention.




                      When can I get pregnant again after an abortion?                                                         



                     You can get pregnant as soon as 1 week after your abortion. If you want to prevent pregnancy, it is
                     important to start birth control soon after your abortion.



                      When can I start birth control after my abortion?                                                        



                     You can start most methods right away. If you start within 1 week, you are protected from pregnancy
                     right away. Here is a guide to starting birth control after an abortion.



                      When can I start exercising or return to work/school after an abortion with pills?                       



                     Everybody is different. Most people are able to return to normal activities the day after you finish taking
                     misoprostol (the second medicine).



                      When can I have sex again after an abortion?                                                             



                     This is up to you and what feels right for your body. You can have sex again whenever you feel ready.




                   * Nothing on this website is to be construed as medical advice. Please
                   consult with a trusted healthcare professional before making any medical
                   or healthcare decisions.


                                                                                                                          App. 001106
https://www.abuzzhealth.com/faqs/                                                                                                       9/10
9/17/24, 4:15 PM                                                      FAQs – Abuzz
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                   Abuzz: Abortion Pill Access At Home



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                   Donations allow us to help all pregnant people, regardless of their
                   ability to pay. Please consider supporting our work.

                                                             DONATE




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                                                                                                   App. 001107
https://www.abuzzhealth.com/faqs/                                                                                  10/10
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 86 of 219 PageID 10619




                              EXHIBIT 71a

                         How It Works - Abuzz




                                                                   App. 001108
9/17/24, 12:49 PM                                            How It Works – Abuzz
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                                                                                                   X Quick Exit




                                            How It Works
                    The process is simple, confidential, and designed to meet your needs.




        1. Fill in the form.
        The form asks a few basic questions to help the clinician know if you are eligible to get
        abortion pills by mail.

        You will also be asked to upload a copy of your photo ID (if you do not have one, please
        let us know) and sign a consent form.

                Fill in the form →




        2. Check your email.
        You’ll get instructions for making a payment and signing into the secure portal. Follow
        those instructions to complete your request.




        3. Review
        A US-licensed clinician will review your eligibility for an at-home abortion with pills
        within 1-2 business days. In most cases, Abuzz providers do not require a phone/video
        call. If your provider has more questions, they will contact you via the portal.



                                                                                              App. 001109
https://www.abuzzhealth.com/how-it-works/                                                                          1/5
9/17/24, 12:49 PM                                  How It Works – Abuzz
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                                                                                 App. 001110
https://www.abuzzhealth.com/how-it-works/                                                        2/5
9/17/24, 12:49 PM                                          How It Works – Abuzz
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        4. Receive and use abortion pills at
        home
        Your FDA-approved medications (mifepristone and misoprostol) will be sent by mail.
        Shipping takes 1-5 business days. Detailed instructions and support are provided.
        Clinicians are available to answer your questions 7 days a week.




                                                                                            App. 001111
https://www.abuzzhealth.com/how-it-works/                                                                 3/5
9/17/24, 12:49 PM                                    How It Works – Abuzz
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      Still have questions? Check out our
                      FAQ
                                             Go to the FAQ




   Abuzz: Abortion Pill Access At Home



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                                                                                   App. 001112
https://www.abuzzhealth.com/how-it-works/                                                          4/5
9/17/24, 12:49 PM                                    How It Works – Abuzz
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   Donations allow us to help all pregnant people, regardless of their
   ability to pay. Please consider supporting our work.

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                                                                                   App. 001113
https://www.abuzzhealth.com/how-it-works/                                                          5/5
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 92 of 219 PageID 10625




                               EXHIBIT 72

  Thousands of out-of-state abortion seekers rely on two
       dozen doctors from telehealth shield states




                                                                   App. 001114
9/25/24, 11:25 AM                                          Shield states have few virtual docs for thousands of abortion seekers
           Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                        Page 93 of 219 PageID 10626




                                                                          POLITICS


          Thousands of out-of-state abortion seekers rely on
           two dozen doctors from telehealth shield states
             California only has two doctors to help out-of-state patients with telehealth abortions in a post-Roe
                                                          landscape.




     There are fewer than 25 telehealth providers prescribing medical abortions for those living in states that restrict or ban it.
     Stephanie Zhu / The Chronicle

     By Shira Stein , Washington Correspondent
     June 12, 2024


                                                                                                                              App. 001115
https://www.sfchronicle.com/politics/article/telehealth-abortion-providers-california-19508548.php                                          1/10
9/25/24, 11:25 AM                                          Shield states have few virtual docs for thousands of abortion seekers
           Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                        Page 94 of 219 PageID 10627
              Gift Article




     Like any other virtual visit, doctors in a handful of states log onto their computers,
     call patients and prescribe medication. Except their patients live in other states —
     and in some ways, another world.


     The medical providers — fewer than two dozen of them, only two of whom live in
     California — prescribe medication abortions for people who live in states that
     restrict or ban it.


     Telehealth abortions — in which abortion pills are sent by mail — have surged in
     the two years since the U.S. Supreme Court overturned Roe v. Wade. But the
     expanded availability of telehealth has obscured just how few providers are behind
     the climbing numbers.


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                                                                                                                              App. 001116
https://www.sfchronicle.com/politics/article/telehealth-abortion-providers-california-19508548.php                                          2/10
9/25/24, 11:25 AM                                          Shield states have few virtual docs for thousands of abortion seekers
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                    Customizable Cold Plunge Tanks
                    Renu Therapy




     Angel Foster, co-founder of the Massachusetts Medication Abortion Access Project,
     known as the MAP, said it took her organization a year to develop a practice that
     fully complies with state law.


                                                                     e-Edition
     “It takes a while, and it takes resources to develop a practice and  a model ofAccount
     practice to be able to provide from a specific shield law state,” Foster said.


     They’re doing so under new laws in seven states — California, Colorado, Maine,
     Massachusetts, New York, Vermont and Washington — that extend civil and
     criminal protections to clinicians providing telehealth abortions and bar state
     officials from cooperating with another state’s investigation or prosecution of its
     abortion providers.


                                                                                                                              App. 001117
https://www.sfchronicle.com/politics/article/telehealth-abortion-providers-california-19508548.php                                          3/10
9/25/24, 11:25 AM                                          Shield states have few virtual docs for thousands of abortion seekers
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     Providers and researchers say there are so few clinicians doing this work because
     the novel shield laws protecting telehealth abortions are untested, and because
     Planned Parenthood, the American Civil Liberties Union and other leading
     reproductive rights organizations privately opposed the laws’ passage.


     Telehealth abortion provision was opened up during the pandemic, when the Food
     and Drug Administration eased in-person dispensing requirements for
     mifepristone. The tension over the laws comes as abortion rights advocates seek to
     protect different forms of access to abortion in the wake of the U.S. Supreme
     Court’s overturning of Roe v. Wade two years ago, and as the Supreme Court is set
     to decide whether to limit access to mifepristone, the first of two drugs used in a
     medication abortion.


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     Four telemedicine practices currently provide telehealth abortions to states with
     bans or restrictions — Abuzz, Aid Access, Armadillo Clinic and the Massachusetts
     Medication Abortion Access Project. The number of clinicians working for those
     practices or providing telehealth abortions is fewer than 25, several researchers and
     funders told the Chronicle.


                                                                                                                              App. 001118
https://www.sfchronicle.com/politics/article/telehealth-abortion-providers-california-19508548.php                                          4/10
9/25/24, 11:25 AM                                          Shield states have few virtual docs for thousands of abortion seekers
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     Nearly 88,000 people received telemedicine abortions across the country in the
     second half of 2023, according to WeCount, a nationwide study of abortion
     provision. Just under half were people in states with abortion bans or restrictions.


     About 8,200 people in states with abortion bans or restrictions received a
     telemedicine abortion in December 2023, according to the most recently available
     data.


     Loading...




     For now, some of the newer practices have found ways to mitigate the risk of
     providing telehealth abortions to patients in states that restrict the procedure.


     The Massachusetts Medication Abortion Access Project thought through details
     down to where its system servers are housed and where printed consent forms are
     stored, Foster said.


     It also created a “distributed risk model, meaning that we’ve thought through how
     to either compartmentalize or separate components of our service to reduce the
     risk to any individual person,” Foster said. That includes ensuring the person who
     orders the medication, the person who prescribes it and the person who sends it to
     a patient are all different people.

                                                                                                                              App. 001119
https://www.sfchronicle.com/politics/article/telehealth-abortion-providers-california-19508548.php                                          5/10
9/25/24, 11:25 AM                                          Shield states have few virtual docs for thousands of abortion seekers
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     The Abortion Coalition for Telemedicine shares best practices, provides pro bono
     legal advice and helps doctors set up electronic health records, evaluate
     malpractice insurance and assess their personal risks, said executive director Julie
     Kay.


     Some providers have decided that while they are providing abortions into
     restricted states, they won’t travel to those states or through them. For Foster, that
     means her mother and stepdad have to travel outside of South Carolina, where they
     live, to see her.


     A big barrier for many of the clinicians is the cost. Most of the providers quote $150
     to $250 per patient to cover the upfront cost of buying the pills, maintaining a
     privacy-compliant platform and electronic health record storage, and shipping the
     pills themselves in some cases, but will often take less if patients can’t afford it.


     Several groups have also begun assisting providers with the costs because some
     traditional abortion funds, which provide financial and logistical assistance to
     abortion-seekers, haven’t done so, Kay said.


     Groups that provide funding for abortion and their donors have been reluctant to
     pay providers for interstate telehealth abortions, and a popular online directory for
     abortion care points them to out-of-state travel instead of telehealth providers in
     states with shield laws.


     Kay’s group, the Abortion Coalition for Telemedicine, has begun providing small
     grants to providers. Healthcare Across Borders also raises money to reimburse the
     shield law clinicians for the gap between what a patient can pay and the cost to
     providers, said executive director Jodi Jacobson.



                                                                                                                              App. 001120
https://www.sfchronicle.com/politics/article/telehealth-abortion-providers-california-19508548.php                                          6/10
9/25/24, 11:25 AM                                          Shield states have few virtual docs for thousands of abortion seekers
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     Her group is financially supporting 16 providers. It can’t afford to make up the
     entire difference, but has typically been able to reimburse up to 50% of the losses.


     Foster said the MAP hasn’t encountered some of the same funding barriers because
     it is part of a longstanding nonprofit, Cambridge Reproductive Health Consultant.
     Several national and local abortion funds are providing block grants to the
     nonprofit designated to support the MAP, but not for any specific patient, Foster
     said, in an effort to minimize the risk.


     No state has yet attempted to prosecute providers within shield states, and
     Republican attorneys general may be waiting to see what happens in the November
     election or what the Supreme Court does.


     Prior to the passage of the new telehealth shield laws, people in states with bans or
     restrictions found other ways to access medication abortion, including going to
     providers who were willing to prescribe pills that would be sent from India. Some
     patients ordered directly from India and from community networks like Las Libres,
     which would provide the pills without involving a medical professional.


     Abortion seekers are still legally vulnerable. Some states criminalize self-managed
     abortion and, even before Roe was overturned, 61 people were prosecuted from
     2000 to 2020 for allegedly ending their own pregnancy or helping others to do so.


     The MAP is currently seeing 500 patients a month via telehealth — an average of
     40 patients per clinician per day, including the weekends — and has the capacity to
     increase to 1,000, Foster said, but numbers beyond that would require additional
     clinicians.


     “I don’t think we have tapped at all the number of people who would utilize this
     service if it were more readily known,” said Tracy Weitz, a professor of sociology at
                                                                                                                              App. 001121
https://www.sfchronicle.com/politics/article/telehealth-abortion-providers-california-19508548.php                                          7/10
9/25/24, 11:25 AM                                          Shield states have few virtual docs for thousands of abortion seekers
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     American University and leading abortion social science researcher. “There are still
     lots of people driving long distances to obtain abortion care because they didn’t
     know this existed.”


     David Cohen, a Drexel University law professor who helped develop the state shield
     laws, said as interstate telehealth abortions become more common and existing
     clinicians aren’t suffering legal consequences, more will likely join.


     More groups are already considering doing this work. Kay said she has spoken with
     several medical professionals, including some brick-and-mortar institutions,
     interested in becoming shield law providers.


     Adding more providers would also help distribute the legal risk, Weitz said. “It
     would be much harder to sue 100 doctors doing this service than to sue four
     doctors.”


     Reach Shira Stein: shira.stein@sfchronicle.com; Twitter: @shiramstein
     June 12, 2024



                     Shira Stein
                     WASHINGTON CORRESPONDENT


     Shira Stein is the San Francisco Chronicle's Washington correspondent, covering California's role in national
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     feud, and death.

     Shira was born and raised in the Bay Area and now lives in Washington, D.C. She joined the Chronicle in 2022
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     and interned at the Washington Post, Bloomberg Law and the Colorado-based Durango Herald.




     Top Of The News
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     Bonta and a $700,000 mistake

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                                                                                                                                   App. 001124
https://www.sfchronicle.com/politics/article/telehealth-abortion-providers-california-19508548.php                                                    10/10
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 103 of 219 PageID 10636




                                EXHIBIT 73

                             Armadillo Clinic




                                                                   App. 001125
9/17/24, 4:20 PM                                                                        Armadillo Clinic
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                           Page 104 of 219 PageID 10637


                                                                                                                    Español   English




          Fast abortion pill delivery with support along the way



          We deliver abortion pills to you in 2-5 days, by US Postal Service priority mail.

          Cost is $200 — but we offer financial assistance. We charge what you can afford.

          We send 1 mife and 12 miso — the same pills you get at an in-person clinic.

          Experienced doctors and nurses are available by phone and private chat for your questions.

          Click below to fill out a 10 minute survey and request pills.




                Request Pills                                                                                    Safe exit



                                                                      Register to Vote Here
                                                                                                                       App. 001126
https://www.armadilloclinic.org                                                                                                         1/3
9/17/24, 4:20 PM                                     Armadillo Clinic
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24        Page 105 of 219 PageID 10638




          Why Armadillo?




                   Fast




                   Affordable




                   Safe




                   Private



                   Support along the way




                                                                                  App. 001127
https://www.armadilloclinic.org                                                                    2/3
9/17/24, 4:20 PM                                                                       Armadillo Clinic
          Case 2:22-cv-00223-Z Document 195-6 Donate
                                               FiledHere
                                                     10/11/24                                         Page 106 of 219 PageID 10639




                   Armadillo Clinic specializes in abortion pills by telemedicine.


                   We send abortion pills confidentially by mail, in 2-5 days.


                   If you've asked yourself "How much does an abortion cost?" or “How do I get abortion pills by mail?" “or Can I get pills in
                   my state?” Armadillo Clinic can help.


                   We are listed on trusted websites like PlanCPills.org and INeedAnA.com.




                   Request pills here


                   Questions? Click here to leave a secure message.


                   Messages left after hours will be answered the following workday.


                   We never use cookies. We do not track or sell your data.


                   Donate here.


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                                                                                                                                 App. 001128
https://www.armadilloclinic.org                                                                                                                  3/3
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 107 of 219 PageID 10640




                                EXHIBIT 74

                           We Take Care of Us
                                 FAQ




                                                                   App. 001129
9/17/24, 4:28 PM        Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                        Page 108 of 219 PageID 10641
                          Please note: We Take Care of Us will be closed Monday, September 2nd. We will be back with you on Tuesday!               ×




                                                               Home           Care          FAQs          Cooperative                  English




          Frequently asked questions


          About medication abortion

          Before medication abortion

          During medication abortion

          After medication abortion

          About our care




                                                                                                                                                   EXIT
          Resources

          How to take abortion pills




          about medication abortion



          ABOUT medication abortion
          Who is eligible for medication abortion?


          Is medication abortion safe?


          Is medication abortion effective?


          If medication abortion is safe, why am I hearing about abortion restrictions in the news?


          Is abortion legal? Can I get in trouble for having or taking abortion pills?


          I’m in a restrictive state, how can I access abortion pills safely?




                                                                                                                              App. 001130
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                       1/6
9/17/24, 4:28 PM        Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                    Page 109 of 219 PageID 10642
          Before medication abortion



          BEFORE medication abortion
          How do I confirm that I'm pregnancy?


          How do I know how many weeks pregnant I am?


          How do I find out about my options?


          How does medication abortion work?


          When during pregnancy is medication abortion an option?


          Will abortion pills affect my ability to get pregnant in the future?


          My blood type is Rh negative. Do I need to take Rhogam if I have a medication abortion?


          What is ectopic pregnancy? How do I know if I have one?


          I have an IUD. Is medication abortion an option for me?


          Do I need an ultrasound?




                                                                                                                                                   EXIT
          How should I prepare for a medication abortion?




          During medication abortion



          DURING medication abortion
          How do I take abortion pills?


          What is the best way to take misoprostol?


          What should I expect after taking mifepristone?


          What should I expect after taking misoprostol?


          What if I vomit after taking the medication?


          Can I eat and drink as usual during my medication abortion?


          How can I manage my symptoms after taking abortion pills?


          How do I know if my bleeding is normal?

                                                                                                                        App. 001131
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                      2/6
9/17/24, 4:28 PM           Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                           Page 110 of 219 PageID 10643
          What should I do if I think I'm having a complication?




          After medication abortion



          AFTER medication abortion
          How do I know if the abortion pills worked?


          How long will my bleeding last?


          Is it normal to continue to have cramps?


          When can I return to my usual work, school and/or exercise routine?


          When can I have sex again after taking abortion pills?


          When can I get pregnant again after taking abortion pills?




                                                                                                                                                       EXIT
          When can I start taking birth control?


          How do I know if I have an infection?


          What should I do if I have misoprostol pills left over?




          About our care



          ABOUT our care
          Who are the providers?


          What is telehealth? Is it safe and private?


          How much does care cost?


          Do you take insurance?


          I can't pay $150 for an abortion. Is financial assistance available?


          Do I have to schedule a video visit?

          No. A video visit is not required. Most of the care we provide is asynchronous. The first step is completing an online intake form. When
          completing the form, you tell us what contact method you would like to use for ongoing coordination of your care. Options include a secure

                                                                                                                                  App. 001132
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                          3/6
9/17/24, 4:28 PM         Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case    2:22-cv-00223-Z
         messaging                             Document
                   app, text and email. If you would like to have195-6
                                                                  a video visitFiled    10/11/24
                                                                                to ask questions,         Page
                                                                                                  that option is also111    of 219 PageID 10644
                                                                                                                      available.

          For some care services, such as perimenopause and menopause care, we may recommend a video visit as the best way to work with you to
          understand your priorities and goals, and develop your plan of care.



          Is support available if I have questions?




          How to take abortion pills




          How to take abortion pills




                                                                                                                                                    EXIT
                            Click to download




                            Haga clic para descargar

                                                                                                                              App. 001133
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                       4/6
9/17/24, 4:28 PM        Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                    Page 112 of 219 PageID 10645




                   Resources

                   Resources

                   Medical Support


                   Emotional Support


                   Legal Support


                   Security




                                                                                                                                                   EXIT




                                                                                                                        App. 001134
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                      5/6
9/17/24, 4:28 PM        Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                    Page 113 of 219 PageID 10646


                                                                                            Home

                                                                                            Care

                                                                                                    Cooperative

                                                                                            FAQs



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                                                                                                                                                   EXIT




                                                                                                                        App. 001135
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                      6/6
9/17/24, 4:27 PM        Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                        Page 114 of 219 PageID 10647
                          Please note: We Take Care of Us will be closed Monday, September 2nd. We will be back with you on Tuesday!               ×




                                                               Home           Care          FAQs          Cooperative                  English




          Frequently asked questions


          About medication abortion

          Before medication abortion

          During medication abortion

          After medication abortion

          About our care




                                                                                                                                                   EXIT
          Resources

          How to take abortion pills




          about medication abortion



          ABOUT medication abortion
          Who is eligible for medication abortion?


          Is medication abortion safe?


          Is medication abortion effective?


          If medication abortion is safe, why am I hearing about abortion restrictions in the news?


          Is abortion legal? Can I get in trouble for having or taking abortion pills?


          I’m in a restrictive state, how can I access abortion pills safely?




                                                                                                                              App. 001136
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                       1/6
9/17/24, 4:27 PM        Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                    Page 115 of 219 PageID 10648
          Before medication abortion



          BEFORE medication abortion
          How do I confirm that I'm pregnancy?


          How do I know how many weeks pregnant I am?


          How do I find out about my options?


          How does medication abortion work?


          When during pregnancy is medication abortion an option?


          Will abortion pills affect my ability to get pregnant in the future?


          My blood type is Rh negative. Do I need to take Rhogam if I have a medication abortion?


          What is ectopic pregnancy? How do I know if I have one?


          I have an IUD. Is medication abortion an option for me?


          Do I need an ultrasound?




                                                                                                                                                   EXIT
          How should I prepare for a medication abortion?




          During medication abortion



          DURING medication abortion
          How do I take abortion pills?


          What is the best way to take misoprostol?


          What should I expect after taking mifepristone?


          What should I expect after taking misoprostol?


          What if I vomit after taking the medication?


          Can I eat and drink as usual during my medication abortion?


          How can I manage my symptoms after taking abortion pills?


          How do I know if my bleeding is normal?

                                                                                                                        App. 001137
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                      2/6
9/17/24, 4:27 PM           Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                        Page 116 of 219 PageID 10649
          What should I do if I think I'm having a complication?




          After medication abortion



          AFTER medication abortion
          How do I know if the abortion pills worked?


          How long will my bleeding last?


          Is it normal to continue to have cramps?


          When can I return to my usual work, school and/or exercise routine?


          When can I have sex again after taking abortion pills?


          When can I get pregnant again after taking abortion pills?




                                                                                                                                                       EXIT
          When can I start taking birth control?


          How do I know if I have an infection?


          What should I do if I have misoprostol pills left over?




          About our care



          ABOUT our care
          Who are the providers?

          We Take Care of Us is a cooperative run by Certified Nurse Midwives (CNMs). We are primary healthcare providers for individuals who have a
          uterus; from menarche, during the reproductive years and throughout menopause. CNMs focus on health promotion, wellness care, gynecologic
          and family planning services, as well as childbearing. Our midwives specialize in providing whole-person, trauma-informed and gender-
          expansive care. We are here to accompany you on your journey toward health and well being.



          What is telehealth? Is it safe and private?


          How much does care cost?


          Do you take insurance?



                                                                                                                              App. 001138
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                          3/6
9/17/24, 4:27 PM        Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                    Page 117 of 219 PageID 10650
          I can't pay $150 for an abortion. Is financial assistance available?


          Do I have to schedule a video visit?


          Is support available if I have questions?




                                                                                                                                                   EXIT




                                                                                                                        App. 001139
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                      4/6
9/17/24, 4:27 PM         Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                     Page 118 of 219 PageID 10651



          How to take abortion pills




          How to take abortion pills




                                                                                                                                                    EXIT
                            Click to download




                            Haga clic para descargar




                   Resources


https://www.wetakecareof.us/faqs/#about_our_care                                                                         App. 001140                   5/6
9/17/24, 4:27 PM        Resources — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive …
         Case 2:22-cv-00223-Z
               Resources      Document 195-6 Filed 10/11/24                                    Page 119 of 219 PageID 10652


                   Medical Support


                   Emotional Support


                   Legal Support


                   Security




                                                                                                                                                   EXIT
                                                                                            Home

                                                                                            Care

                                                                                                    Cooperative

                                                                                            FAQs



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                                                                                                                        App. 001141
https://www.wetakecareof.us/faqs/#about_our_care                                                                                                      6/6
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 120 of 219 PageID 10653




                               EXHIBIT 74a

                           We Take Care of Us




                                                                   App. 001142
10/10/24, 10:44 AM             Care — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive hea…
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                                           Page 121 of 219 PageID 10654


                                                                              Home             Care            FAQs             Cooperative                         English




          Community Supported Abortion




          Our Community Supported Abortion program provides medication abortion during the first 12 weeks of pregnancy, throughout the United States.
          Sliding scale pricing ranges from $150 - $600. You choose a payment amount that fits your economic and social situation. Additional assistance is




                                                                                                                                                                                     EXIT
          available to those who need it.




                                         GET STARTED                                                                       EMPIEZA AHORA




          How it works:

                Complete a 10-15 minute online intake request


                  This form asks a series of screening questions to ensure that medication abortion is a safe option for you. We review your intake within 24
                  hours.



                Make your selected sliding scale payment

                Abortion pills are delivered to your door


                Receive ongoing support and accompaniment



          The legal context of abortion care is different in every state and policies are in flux. Find up-to-date information about your state’s abortion laws, and the potential
          risks of receiving abortion pills by mail in your state here.




                                                                                                                                                      App. 001143
https://www.wetakecareof.us/care                                                                                                                                                        1/4
10/10/24, 10:44 AM           Care — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive hea…
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                                   Page 122 of 219 PageID 10655




          Abortion pills in advance


          Get abortion pills when you’re not pregnant to have on hand just in case. If you decide to use them in the future, our midwives will be available to
          accompany you. Complete a quick intake request to get started.




                                   PILLS IN ADVANCE                                                       PASTILLAS POR ADELANTADO




          Period pills




                                                                                                                                                                     EXIT
          Is your period late, but you haven’t taken a pregnancy test? Period pills may help reestablish your period, even if you prefer not to confirm pregnancy.
          Complete a quick intake request to get started.




                                      PERIOD PILLS                                                        PASTILLAS PARA EL PERIODO




          perimenopause




                                                                                                                                            App. 001144
https://www.wetakecareof.us/care                                                                                                                                        2/4
10/10/24, 10:44 AM           Care — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive hea…
         Case 2:22-cv-00223-Z   Document 195-6 Filed 10/11/24
                         GET STARTED                                                                       Page 123 of
                                                                                                             EMPIEZA   219 PageID 10656
                                                                                                                     AHORA


          Perimenopause and menopause have long been overlooked by the medical community. Unfortunately, this leaves many providers unprepared to
          respond to your symptoms and concerns during this time of life.

          We Take Care of Us is different. We are up-to-date on the evidence and the available treatment options. We work with you to develop an individualized
          plan of care. Then we follow up and make adjustments as needed, to maximize your quality of life.

          Get started with our online intake request. We follow up in 24-48 hours.
          Sliding scale: $80-$200 consult fee.




          Other care offerings:




                                                                                                                                                                  EXIT
                  Emergency Contraception

                  Emergency Contraception (EC) can be used to prevent pregnancy within the first 5 days after unprotected penis-in-vagina sex.
                  We can order EC if you’ve had unprotected sex in the last 72 hours, or just want to have EC available for future use.



                  Sliding scale: $10-$60 consult fee, plus the cost of your medication.



                  Fill out this brief intake form and we’ll follow up within 24 hours.




                       GET STARTED NOW                      EMPIEZA AHORA




            Emergency Contraception




            Contraception Counseling and Prescriptions


                                                                                                                                        App. 001145
https://www.wetakecareof.us/care                                                                                                                                     3/4
10/10/24, 10:44 AM        Care — We Take Care of Us Midwife-led telehealth cooperative offering medication abortion and other sexual & reproductive hea…
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                    Page 124 of 219 PageID 10657

            Vaginal & Urinary Tract Infections




            Sexual Health, Wellness & Education




                                                                                            Home

                                                                                            Care

                                                                                                     Cooperative

                                                                                            FAQs




                                                                                                                                                   EXIT
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                                                                                                                        App. 001146
https://www.wetakecareof.us/care                                                                                                                      4/4
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 125 of 219 PageID 10658




                                EXHIBIT 75

                             Plan C Missouri




                                                                   App. 001147
9/17/24, 12:26 PM                                                  Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                      Page 126 of 219 PageID 10659
                                       Stay Safe: Read our digital privacy tips                                           Quick Exit (esc)



                Find Pills            FAQ                Support & Resources                   Get Involved           About Plan C 



     Plan C Guide > Missouri




                                       Where people get
                                       abortion pills online
                                       in Missouri
                                       Abortion access in Missouri is restricted, but abortion
                                       pills are still available by mail from providers outside of
                                       Missouri. Options below.


                                                    Show my options



                                                    Learn about potential legal risk



                                                    Pregnancy Calculator




                     Please note:                   Plan C does not sell pills. Use this guide to find an abortion pill provider.




                                                                                                                        App. 001148
https://www.plancpills.org/abortion-pill/missouri                                                                                            1/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 127 of 219 PageID 10660
     How people get abortion pills in Missouri
                                       Stay Safe: Read our digital privacy tips
                                           Quick Exit (esc)



                Find Pills            FAQ          Support & Resources                   Get Involved           About Plan C 




                                   Online clinics that
                                        mail pills

          For people who want abortion pills by mail
          and follow-up support from a clinician.


           💵 $150 or less 🚚 1-5 days

           🧑🏽 Clinician support

           💊 FDA-approved medications

           ⚠️Potential legal risk



               See 8 results




                                    Websites that sell
                                          pills

          For people who want abortion pills by mail
          without consulting a clinician.


           💵 $30 and up 🚚 3-9 days

           💊 Generic medications (from India)

           ⚠️Potential legal risk




                                                                                                                  App. 001149
https://www.plancpills.org/abortion-pill/missouri                                                                                   2/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 128 of 219 PageID 10661
                                       Stay Safe: Read our digital privacy tips                                     Quick Exit (esc)
               See 13 results

                Find Pills            FAQ          Support & Resources                   Get Involved           About Plan C 




                               Community networks
                                  that mail pills

          For people who can’t afford other services
          and want free pills mailed by volunteers.


           💵 Free 🚚 5-10 days

           💊 Generic medications (from India)

           ⚠️Potential legal risk



               See 1 result




                                     In-person clinics


          For people who have access to transportation
          and would prefer to pick up abortion pills in
          person from an abortion clinic.


           💵 $500 or more 🧑🏽 Clinician support

           💊 FDA-approved medications



               See results


                                                                                                                  App. 001150
https://www.plancpills.org/abortion-pill/missouri                                                                                      3/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 129 of 219 PageID 10662
                                       Stay Safe: Read our digital privacy tips                                     Quick Exit (esc)



                Find Pills            FAQ          Support & Resources                   Get Involved           About Plan C 
         ⚠️ Learn about potential legal risks of accessing pills from alternative suppliers by reading
         the FAQ below, "Can I get in trouble for using abortion pills?"

         You can also contact the free, confidential Repro Legal Helpline (online or at 844-868-2812) to
         discuss your specific situation.




         Can I get in trouble for using abortion pills?



         How do I choose from these provider types?




     Online clinics that mail
     pills

     US-based online clinics
     Online clinics are US-licensed clinicians who ship
     pills to you after a brief online form or phone/video
     visit. Follow up support is available.




         Why are online clinics listed if my state does not allow telehealth for abortion?




                                                                                                                  App. 001151
https://www.plancpills.org/abortion-pill/missouri                                                                                      4/18
9/17/24, 12:26 PM                                               Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                   Page 130 of 219 PageID 10663
                                       Stay Safe: Read our digital privacy tips                                          Quick Exit (esc)
         How do I choose a provider?

                Find Pills            FAQ             Support & Resources                   Get Involved              About Plan C 

         What if I have medical questions?




     Filter by:

            Accepts                        Accepts                 Sliding scale                  Get pills in              Se habla
            insurance                      Medicaid                pricing                        advance                   español




     Showing 6 of 6 results                                                                                          Sort by: Price 


          ABUZZ


          Price                             Delivery              Ages
          $150 or less                      1-5 days              16+
          Pills by mail with clinician support
          For pregnancies up to 13 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          AID ACCESS


          Price                             Delivery              Ages
          $150 or less                      2-5 days              All
                                                                                                                       App. 001152
https://www.plancpills.org/abortion-pill/missouri                                                                                           5/18
9/17/24, 12:26 PM                                                Where People Get Abortion Pills Online in Missouri
          Case
          Pills by 2:22-cv-00223-Z       Document 195-6 Filed 10/11/24
                   mail with clinician support                                                  Page 131 of 219 PageID 10664
                              Stay Safe: Read our digital privacy tips                                                  Quick Exit (esc)
          For pregnancies up to 13 weeks


           💊 Find             FAQ 
                  Pillsin advance
             Get pills                                  Support & Resources                   Get Involved           About Plan C 


           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                             REQUEST PILLS




          ARMADILLO CLINIC


          Price                              Delivery              Ages
          $200 or less                       2-5 days              18+
          Pills by mail with clinician support
          For pregnancies up to 12 weeks


           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                             REQUEST PILLS




          CAMBRIDGE REPRODUCTIVE HEALTH
          CONSULTANTS


          Price                             Delivery               Ages
          $250 or less                      2-5 days               16+
          Pills by mail with clinician support
          For pregnancies up to 11 weeks
                                                                                                                      App. 001153
https://www.plancpills.org/abortion-pill/missouri                                                                                          6/18
9/17/24, 12:26 PM                                               Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                   Page 132 of 219 PageID 10665
                             Stay Safe: Read our digital privacy tips                                                  Quick Exit (esc)
          💊 Get pills in advance

           💵 Financial assistance available
                Find Pills            FAQ             Support & Resources                   Get Involved           About Plan C 
                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          WE TAKE CARE OF US


          Price                             Delivery              Ages
          $150-$600                         1-5 days              All
          Pills by mail with clinician support (hablamos
          español)
          For pregnancies up to 12 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          A SAFE CHOICE


          Price                       Delivery                    Ages
          $150                        1-5 days                    All
          Pills by mail with clinician support
          For pregnancies up to 13 weeks

                                                                                                                     App. 001154
https://www.plancpills.org/abortion-pill/missouri                                                                                         7/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 133 of 219 PageID 10666
          💊 Get pills in advance
                             Stay Safe: Read our digital privacy tips                                               Quick Exit (esc)

                Learn about the potential legal risk of using
                this service
                Find  Pills           FAQ          Support & Resources                   Get Involved           About Plan C 



           MORE INFORMATION                         REQUEST PILLS




     International online clinics
     These services are provided by clinicians licensed in
     other countries who ship pills to you after a brief
     online or video visit. Pills provided are generic
     versions.



     Showing 2 of 2 results


          ABORTION PILLS IN PRIVATE


          Price                     Delivery                   Ages
          $90                       8-14 days                  16+
          Pills by mail with clinician support
          For pregnancies up to 11 weeks


           💵 No financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                         REQUEST PILLS




          WOMEN ON WEB


          Price                    Delivery                    Ages
                                                                                                                  App. 001155
https://www.plancpills.org/abortion-pill/missouri                                                                                      8/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z
          $120                 Document
               or less 3-5 business days195-6
                                            AllFiled 10/11/24                               Page 134 of 219 PageID 10667
                                       Stay Safe: Read our digital privacy tips                                     Quick Exit (esc)

          Pills by mail with clinician support (Hablamos
          Español/falamos     Português)
                                 FAQ           Support & Resources                         Get Involved           About Plan C 
                Find Pills                                                     
          For pregnancies up to 12 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                         REQUEST PILLS




                                                                                                                     Back to top




                                                                                                                  App. 001156
https://www.plancpills.org/abortion-pill/missouri                                                                                      9/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 135 of 219 PageID 10668
                                       Stay Safe: Read our digital privacy tips                                     Quick Exit (esc)



                Find Pills            FAQ          Support & Resources                   Get Involved           About Plan C 

     Websites that sell pills

     These websites sell abortion pills but do not include
     any additional support. You can still get free
     medical support for your abortion from the M+A
     Hotline.


     Important: These websites may not follow strict
     digital security protocols. Read our digital privacy
     tips to learn how to protect yourself when ordering
     or searching for abortion pills online.


     Read the FAQs below for more information on
     how these sites work.




         What are websites that sell pills?



         Are these websites legit?



         How do I choose one of these websites?



         What kind of kit do I order?



         How many pills do I need?



         What if I have medical questions?




                                                                                                                  App. 001157
https://www.plancpills.org/abortion-pill/missouri                                                                                      10/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 136 of 219 PageID 10669
                      Stay Safe: Read our digital privacy tips
     Showing 4 of 13 results                                                                                           Quick
                                                                                                                  Sort by:   Exit (esc)
                                                                                                                           Price    

                Find Pills            FAQ          Support & Resources                   Get Involved                About Plan C 
          LIFE EASY ON PILLS


          Price                Delivery                        Ages
          $30-50               3-6 business days               All
          Pills by mail


           💊 Get pills in advance

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                         REQUEST PILLS




          HOME ABORTIONRX


          Price           Delivery                             Ages
          $33             12-19 business days                  All
          Pills by mail


           💊 Get pills in advance

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                         REQUEST PILLS




          PRIVATE EMMA


                                                                                                                     App. 001158
https://www.plancpills.org/abortion-pill/missouri                                                                                         11/18
9/17/24, 12:26 PM                                             Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z
          Price     Delivery
                               Document 195-6  Filed 10/11/24
                                            Ages
                                                                                             Page 137 of 219 PageID 10670
                                       Stay Safe: Read our digital privacy tips                                      Quick Exit (esc)
          $35              3-6 business days                    All
                Find
          Pills by   Pills
                   mail               FAQ          Support & Resources                    Get Involved           About Plan C 
          For pregnancies up to 12 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                         REQUEST PILLS




          MEDSIDE 24


          Price            Delivery                             Ages
          $44              3-6 business days                    All
          Pills by mail


           💊 Get pills in advance

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                         REQUEST PILLS




                                                      See all 13 websites that sell pills




                                                                                                                      Back to top




                                                                                                                   App. 001159
https://www.plancpills.org/abortion-pill/missouri                                                                                       12/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 138 of 219 PageID 10671
                                       Stay Safe: Read our digital privacy tips                                     Quick Exit (esc)



                Find Pills            FAQ          Support & Resources                   Get Involved           About Plan C 

     Community networks
     that mail pills

     These are networks of volunteers in the US that ship
     generic abortion pills for free. The pills often come
     repackaged in plastic baggies. You will need to
     request pills by email.




         What are community support networks?



         What if I have medical questions?




     Showing 1 of 1 results


          ACCESSMA


          Price                     Delivery                   Ages
          $0                        5-12 days                  All
          Community network that mails pills


                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                         REQUEST PILLS




                                                                                                                  App. 001160
https://www.plancpills.org/abortion-pill/missouri                                                                                      13/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 139 of 219 PageID 10672
                                       Stay Safe: Read our digital privacy tips                                     Quick
                                                                                                                     BackExit (esc)
                                                                                                                          to top


                Find Pills            FAQ          Support & Resources                   Get Involved           About Plan C 




     In-person clinics

     Clinics offer abortion pill pickup and other in-
     person abortion care options. To find the nearest
     clinic to Missouri, use any of these search tools:




          I Need an Abortion

          A comprehensive, regularly updated, and
          personalized resource for abortion seekers in
          the US.

             VISIT WEBSITE




          Missouri: Abortion Clinic Guide

          Information about Missouri abortion clinics,
          nearby clinic options, and financial assistance
          from local support resources.




                                                                                                                  App. 001161
https://www.plancpills.org/abortion-pill/missouri                                                                                     14/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 140 of 219 PageID 10673
                                       Stay Safe: Read our digital privacy tips                                     Quick Exit (esc)



                Find Pills            FAQ          Support & Resources                   Get Involved           About Plan C 

                                                                                                                     Back to top




                                          Live phone & text support




          For Medical Questions

          The M+A Hotline
          Free and confidential support from a clinician
          at the Miscarriage + Abortion Hotline. (M+A
          does not sell pills)

          CALL OR TEXT                     VISIT WEBSITE




          For Logistical & Emotional Support

          Reprocare Healthline
          Free and confidential help understanding
          how to get pills and how to use them.

          CALL OR TEXT                     VISIT WEBSITE




https://www.plancpills.org/abortion-pill/missouri                                                                 App. 001162          15/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                Page 141 of 219 PageID 10674
                                       Stay Safe: Read our digital privacy tips                                     Quick Exit (esc)


          For Legal Questions
                Find Pills            FAQ          Support & Resources                   Get Involved           About Plan C 

          ReproLegal Helpline
          Connect with a lawyer for free and
          confidential legal information.

          CALL OR TEXT                     VISIT WEBSITE




                                          Automated support



                                                               NEW

          Charley the Chatbot

          Provides users with personalized abortion
          options, including information about different
          abortion care methods, nearby clinics,
          accessing abortion pills, and referrals to
          support services.

             VISIT WEBSITE




          Frequently Asked Questions

          Get answers to common questions about how
          abortion pills work and how to access them.




https://www.plancpills.org/abortion-pill/missouri                                                                 App. 001163          16/18
9/17/24, 12:26 PM                                            Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24
          READ FAQ
                                                                                            Page 142 of 219 PageID 10675
                                       Stay Safe: Read our digital privacy tips                                      Quick Exit (esc)



                Find Pills            FAQ          Support & Resources                   Get Involved             About Plan C 




                                                            Get the Plan C Newsletter
                                                            For breaking developments in abortion pill access
                                                            and opportunities to take action.


                                                                  Your Email                                        Sign Up




                                                          FAQ                  Support               Get                About Plan C
                                                                               and                   Involved
                                                          Finding                                                       Mission
                                                                               Resources
                                                          Abortion                                   Plan C             Team
     Plan C is a project under the fiscal
                                                          Pills                Quick                 Community          Press
     sponsorship of the National
                                                          About                Resource              Take Action        Research &
     Women’s Health Network, a 501c3
                                                          Abortion             List                  Stickers &         Learning
     organization. Our generous
                                                          Pills                Medical               Flyers             PLAN C: The
     donors make this critical work
                                                          Using                + Emotional           Plan C             Documentary
     possible.
                                                          Abortion             Support               Merch              2023 Annual
                                                          Pills                Legal                 Social Media       Report
          Find Pills                                      Can I get            Support               Toolkit            Media
                                                          in Trouble           Financial             Partner with       inquiries
                                                          for Using            Support               Us                 Contact Us
                                                          Abortion             Abortion              For Medical
                                                          Pills?               Pill                  Professionals
                                                                               Instructions          Work with
                                                                               Abortion              Plan C
                                                                               Care Apps             Donate
                                                                               Other
                                                                               Options for
                                                                               Getting an
                                                                               Abortion


https://www.plancpills.org/abortion-pill/missouri
                                                                                                                    App. 001164         17/18
9/17/24, 12:26 PM                                          Where People Get Abortion Pills Online in Missouri
          Case 2:22-cv-00223-Z Document 195-6Language Filed 10/11/24                      Page 143 of 219 PageID 10676
                           Stay Safe: Read our digital privacy tips                                               Quick Exit (esc)

                                                         Español
                Find Pills            FAQ          Support & Resources                 Get Involved           About Plan C 

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     Site by Eyes Open


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     representation of an attorney or the advice of a doctor. No attorney client
     relationship has been formed by reviewing this material.




                                                                                                                App. 001165
https://www.plancpills.org/abortion-pill/missouri                                                                                    18/18
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 144 of 219 PageID 10677




                                EXHIBIT 76

                               Plan C Idaho




                                                                   App. 001166
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 145 of 219 PageID 10678
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)




     Plan C Guide > Idaho




                                       Where people get
                                       abortion pills online
                                       in Idaho
                                       Abortion access in Idaho is restricted, but abortion pills
                                       are still available by mail from providers outside of
                                       Idaho. Options below.


                                                 Show my options



                                                 Learn about potential legal risk



                                                 Pregnancy Calculator




                     Please note:               Plan C does not sell pills. Use this guide to find an abortion pill provider.




               Find Pills            FAQ               Support & Resources                       Get Involved          About Plan C 


                                                                                                                         App. 001167
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          1/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 146 of 219 PageID 10679
     How people get abortion pills in IdahoQuick Exit (esc)
                                      Stay Safe: Read our digital privacy tips




                                  Online clinics that
                                       mail pills

          For people who want abortion pills by mail
          and follow-up support from a clinician.


           💵 $150 or less 🚚 1-5 days

           🧑🏽 Clinician support

           💊 FDA-approved medications

           ⚠️Potential legal risk



               See 7 results




                                   Websites that sell
                                         pills

          For people who want abortion pills by mail
          without consulting a clinician.


           💵 $30 and up 🚚 3-9 days

           💊 Generic medications (from India)

           ⚠️Potential legal risk


               Find Pills            FAQ               Support & Resources                       Get Involved          About Plan C 


                                                                                                                         App. 001168
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                       2/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 147 of 219 PageID 10680
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)
               See 13 results




                               Community networks
                                  that mail pills

          For people who can’t afford other services
          and want free pills mailed by volunteers.


           💵 Free 🚚 5-10 days

           💊 Generic medications (from India)

           ⚠️Potential legal risk



               See 1 result




                                    In-person clinics


          For people who have access to transportation
          and would prefer to pick up abortion pills in
          person from an abortion clinic.


           💵 $500 or more 🧑🏽 Clinician support

           💊 FDA-approved medications



               See results
               Find Pills            FAQ               Support & Resources                       Get Involved          About Plan C 


                                                                                                                         App. 001169
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          3/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 148 of 219 PageID 10681
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)




         ⚠️ Learn about potential legal risks of accessing pills from alternative suppliers by reading
         the FAQ below, "Can I get in trouble for using abortion pills?"

         You can also contact the free, confidential Repro Legal Helpline (online or at 844-868-2812) to
         discuss your specific situation.




         Can I get in trouble for using abortion pills?



         How do I choose from these provider types?




     Online clinics that mail
     pills

     US-based online clinics
     Online clinics are US-licensed clinicians who ship
     pills to you after a brief online form or phone/video
     visit. Follow up support is available.




         Why are online clinics listed if my state does not allow telehealth for abortion?

               Find Pills            FAQ               Support & Resources                       Get Involved          About Plan C 


                                                                                                                         App. 001170
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          4/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 149 of 219 PageID 10682
                                      Stay Safe: Read our digital privacy tips                                               Quick Exit (esc)
         How do I choose a provider?



         What if I have medical questions?




     Filter by:

           Accepts                        Accepts                        Sliding scale                  Get pills in            Se habla
           insurance                      Medicaid                       pricing                        advance                 español




     Showing 5 of 5 results                                                                                              Sort by: Price 


          ABUZZ


          Price                            Delivery                    Ages
          $150 or less                     1-5 days                    16+
          Pills by mail with clinician support
          For pregnancies up to 13 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          AID ACCESS


          PriceFind Pills            FAQDelivery
                                                Support &Ages
                                                          Resources                               Get Involved             About Plan C 
          $150 or less                     2-5 days                    All
                                                                                                                           App. 001171
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                            5/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case
          Pills by 2:22-cv-00223-Z       Document 195-6 Filed 10/11/24
                   mail with clinician support                                                       Page 150 of 219 PageID 10683
                              Stay Safe: Read our digital privacy tips                                                     Quick Exit (esc)
          For pregnancies up to 13 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          CAMBRIDGE REPRODUCTIVE HEALTH
          CONSULTANTS


          Price                            Delivery                    Ages
          $250 or less                     2-5 days                    16+
          Pills by mail with clinician support
          For pregnancies up to 11 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          WE TAKE CARE OF US


          Price                            Delivery                    Ages
               Find Pills            FAQ               Support & Resources                       Get Involved          About Plan C 
          $150-$600                        1-5 days                    All

                                                                                                                         App. 001172
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          6/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case
          Pills by 2:22-cv-00223-Z       Document
                   mail with clinician support      195-6 Filed 10/11/24
                                               (hablamos                                             Page 151 of 219 PageID 10684
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)
          español)
          For pregnancies up to 12 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          A SAFE CHOICE


          Price                      Delivery                          Ages
          $150                       1-5 days                          All
          Pills by mail with clinician support
          For pregnancies up to 13 weeks


           💊 Get pills in advance

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




     International online clinics
     These services are provided by clinicians licensed in
     other countries who ship pills to you after a brief
     online or video visit. Pills provided are generic
     versions.

               Find Pills            FAQ               Support & Resources                       Get Involved          About Plan C 
     Showing 2 of 2 results
                                                                                                                         App. 001173
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          7/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 152 of 219 PageID 10685
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)
          ABORTION PILLS IN PRIVATE


          Price                    Delivery                            Ages
          $90                      8-14 days                           16+
          Pills by mail with clinician support
          For pregnancies up to 11 weeks


           💵 No financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          WOMEN ON WEB


          Price                   Delivery                             Ages
          $120 or less 3-5 business days All
          Pills by mail with clinician support (Hablamos
          Español/falamos Português)
          For pregnancies up to 12 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




               Find Pills            FAQ               Support & Resources                       Get Involved          About Plan C 


                                                                                                                         App. 001174
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          8/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 153 of 219 PageID 10686
                                      Stay Safe: Read our digital privacy tips                                             Quick
                                                                                                                            BackExit (esc)
                                                                                                                                 to top




     Websites that sell pills

     These websites sell abortion pills but do not include
     any additional support. You can still get free
     medical support for your abortion from the M+A
     Hotline.


     Important: These websites may not follow strict
     digital security protocols. Read our digital privacy
     tips to learn how to protect yourself when ordering
     or searching for abortion pills online.


     Read the FAQs below for more information on
     how these sites work.




         What are websites that sell pills?



         Are these websites legit?



         How do I choose one of these websites?



         What kind of kit do I order?



         HowFind
            many   pills do IFAQ
                              need?                     Support & Resources                       Get Involved          About Plan C 
                 Pills           


                                                                                                                         App. 001175
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                         9/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 154 of 219 PageID 10687
                                      Stay Safe: Read our digital privacy tips                                               Quick Exit (esc)
         What if I have medical questions?




     Showing 4 of 13 results                                                                                             Sort by: Price 


          LIFE EASY ON PILLS


          Price               Delivery                                 Ages
          $30-50              3-6 business days                        All
          Pills by mail


           💊 Get pills in advance

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          HOME ABORTIONRX


          Price          Delivery                                      Ages
          $33            12-19 business days                           All
          Pills by mail


           💊 Get pills in advance

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS

               Find Pills            FAQ               Support & Resources                       Get Involved             About Plan C 


                                                                                                                           App. 001176
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                            10/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 155 of 219 PageID 10688
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)


          PRIVATE EMMA


          Price            Delivery                                    Ages
          $35              3-6 business days                           All
          Pills by mail
          For pregnancies up to 12 weeks


           💊 Get pills in advance

           💵 Financial assistance available

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




          MEDSIDE 24


          Price            Delivery                                    Ages
          $44              3-6 business days                           All
          Pills by mail


           💊 Get pills in advance

                Learn about the potential legal risk of using
                this service




           MORE INFORMATION                            REQUEST PILLS




                                                         See all 13 websites that sell pills
               Find Pills            FAQ               Support & Resources            Get Involved                     About Plan C 


                                                                                                                         App. 001177
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          11/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 156 of 219 PageID 10689
                                      Stay Safe: Read our digital privacy tips                                             Quick
                                                                                                                            BackExit (esc)
                                                                                                                                 to top




     Community networks
     that mail pills

     These are networks of volunteers in the US that ship
     generic abortion pills for free. The pills often come
     repackaged in plastic baggies. You will need to
     request pills by email.




         What are community support networks?



         What if I have medical questions?




     Showing 1 of 1 results


          IDAHO ACCESS


          Price                   Delivery                             Ages
          $0                      5-10 days                            All
          Community network that mails pills


                Learn about the potential legal risk of using
                this service

               Find Pills            FAQ               Support & Resources                       Get Involved          About Plan C 


                                                                                                                         App. 001178
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                         12/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                         Page 157 of 219 PageID 10690
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)




                                                                                                                            Back to top




     In-person clinics

     Clinics offer abortion pill pickup and other in-
     person abortion care options. To find the nearest
     clinic to Idaho, use any of these search tools:




          I Need an Abortion

          A comprehensive, regularly updated, and
          personalized resource for abortion seekers in
          the US.

             VISIT WEBSITE




          Idaho: Abortion Clinic Guide

          Information
              Find PillsaboutFAQ
                             Idaho abortion  clinics,
                                          Support   & Resources                                   Get Involved          About Plan C 
                                  
          nearby clinic options, and financial assistance

                                                                                                                         App. 001179
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          13/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24
          from local support resources.
                                                                                                     Page 158 of 219 PageID 10691
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)

             VISIT WEBSITE




                                                                                                                            Back to top




                                         Live phone & text support




          For Medical Questions

          The M+A Hotline
          Free and confidential support from a clinician
          at the Miscarriage + Abortion Hotline. (M+A
          does not sell pills)

          CALL OR TEXT                    VISIT WEBSITE




          For Logistical & Emotional Support

          Reprocare Healthline
          Free and confidential help understanding
                              FAQ          Support & Resources                                    Get Involved          About Plan C 
          howFind     pills and howto use them.
                   Pills
               to get


                                                                                                                         App. 001180
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          14/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z
          CALL OR TEXT
                                Document 195-6 Filed 10/11/24
                            VISIT WEBSITE
                                                                                                     Page 159 of 219 PageID 10692
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)




          For Legal Questions

          ReproLegal Helpline
          Connect with a lawyer for free and
          confidential legal information.

          CALL OR TEXT                    VISIT WEBSITE




                                         Automated support



                                                                        NEW

          Charley the Chatbot

          Provides users with personalized abortion
          options, including information about different
          abortion care methods, nearby clinics,
          accessing abortion pills, and referrals to
          support services.

             VISIT WEBSITE




          Frequently Asked Questions
               Find Pills            FAQ               Support & Resources                       Get Involved          About Plan C 


                                                                                                                         App. 001181
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          15/17
9/17/24, 12:26 PM                                                       Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24
          Get answers to common questions about how
                                                                                                      Page 160 of 219 PageID 10693
                                      Stay Safe: Read our digital privacy tips                                                Quick Exit (esc)
          abortion pills work and how to access them.

          READ FAQ




                                                                       Get the Plan C Newsletter
                                                                       For breaking developments in abortion pill access
                                                                       and opportunities to take action.


                                                                         Your Email                                          Sign Up




                                                                 FAQ                   Support                Get                About Plan C
                                                                                       and                    Involved
                                                                 Finding                                                         Mission
                                                                                       Resources
                                                                 Abortion                                     Plan C             Team
     Plan C is a project under the fiscal
                                                                 Pills                 Quick                  Community          Press
     sponsorship of the National
                                                                 About                 Resource               Take Action        Research &
     Women’s Health Network, a 501c3
                                                                 Abortion              List                   Stickers &         Learning
     organization. Our generous
                                                                 Pills                 Medical                Flyers             PLAN C: The
     donors make this critical work
                                                                 Using                 + Emotional            Plan C             Documentary
     possible.
                                                                 Abortion              Support                Merch              2023 Annual
                                                                 Pills                 Legal                  Social Media       Report
         Find Pills                                              Can I get             Support                Toolkit            Media
                                                                 in Trouble            Financial              Partner with       inquiries
                                                                 for Using             Support                Us                 Contact Us
                                                                 Abortion              Abortion               For Medical
                                                                 Pills?                Pill                   Professionals
                                                                                       Instructions           Work with
                                                                                       Abortion               Plan C
                                                                           Care Apps      Donate
               Find Pills            FAQ               Support & Resources       Get Involved                              About Plan C 
                                                                           Other
                                                                                       Options for
                                                                                                                            App. 001182
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                             16/17
9/17/24, 12:26 PM                                                      Where People Get Abortion Pills Online in Idaho
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24
                                                     Getting anPage 161 of 219 PageID 10694
                                      Stay Safe: Read our digital privacy tips                                             Quick Exit (esc)
                                                                                      Abortion

                                                                 Language

                                                                 Español



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     Site by Eyes Open


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     representation of an attorney or the advice of a doctor. No attorney client
     relationship has been formed by reviewing this material.




                                                                                                                         App. 001183
https://www.plancpills.org/abortion-pill/idaho#ways-people-get-pills                                                                          17/17
Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24   Page 162 of 219 PageID 10695




                                EXHIBIT 77

                              Plan C Kansas




                                                                   App. 001184
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                  Page 163 of 219 PageID 10696
                                      Stay Safe: Read our digital privacy tips                                       Quick Exit (esc)
                                                                                 ABORTION ON
                                                                                 DEMAND


     Plan C Guide > Kansas
                                                                                 About this provider

                                                                                 Abortion on Demand states that it
                                                                                 provides virtual visits to adult patients

                                        Where people get                         who are up to 10 weeks pregnant on the
                                                                                 day that they schedule their
                                                                                 appointment.We donate our excess funds

                                        abortion pills online                    to support independent abortion clinics
                                                                                 providing later or more complex care.
                                                                                 Same day scheduling is often available;

                                        in Kansas                                overnight shipping and comfort
                                                                medications are included. Discreet text-
                                                                based follow-up and 24/7 clinician phone
                                                                support if needed. Our software will
                                        Abortion is legal in Kansas  and is available both in-
                                                                confirm you are physically in the state you
                                        person and online, withselected
                                                                 abortionat thepills
                                                                                time by  mail.
                                                                                     of your     Options
                                                                                             scheduled
                                        below.                  video appointment. We do not ship to
                                                                                 post office box addresses. In
                                                                                 Pennsylvania, patients must pick up their
                                                                                 medications at designated locations in
                                                  Show my options                Maryland orNew Jersey. In Washington
                                                                           DC, patients must pick up their
                                                                           medications at designated locations in
                                                  Learn about potential legal risk
                                                                           Maryland.



                                                  Pregnancy Calculator           Price: $389 or less
                                                                                    Majority of profits are donated to support
                                                                                    later gestation access.
                                                                                 Delivery: 1 day
                                                                                    Depends on time of order and waiting
                                                                                    requirements in some states
                                                                                 Ages: 18+
                     Please note:               Plan C does not sell pills. Use this guide to find an abortion pill provider.
                                                                                 Services offered

                                                                                      Abortion pills (mifepristone +


               Find Pills            FAQ               Support & Resources                 Get Involved          About Plan C 


                                                                                                                   App. 001185
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                              1/17
9/17/24, 12:31 PM                                              Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                 Page 164 of 219 PageID 10697
     How people get abortionABORTION
                             pills inON
                                      Kansas
                                      Stay Safe: Read our digital privacy tips
                                          Quick Exit (esc)


                                                                                DEMAND



                                  Online clinics that                           About this provider
                                       mail pills
                                                                                Abortion on Demand states that it
                                                                                provides virtual visits to adult patients
          For people who want abortion pills by mail                            who are up to 10 weeks pregnant on the
          and follow-up support from a clinician.                               day that they schedule their
                                                                                appointment.We donate our excess funds
           💵 $150 or less 🚚 1-5 days                                            to support independent abortion clinics
                                                                                providing later or more complex care.
           🧑🏽 Clinician support                                                 Same day scheduling is often available;
                                                                                overnight shipping and comfort
           💊 FDA-approved medications                                           medications are included. Discreet text-
                                                                                based follow-up and 24/7 clinician phone
                                                                                support if needed. Our software will
               See 8 results                                                    confirm you are physically in the state you
                                                                                selected at the time of your scheduled
                                                                                video appointment. We do not ship to
                                                                                post office box addresses. In
                                                                                Pennsylvania, patients must pick up their
                                                                                medications at designated locations in
                                                                                Maryland orNew Jersey. In Washington
                                                                                DC, patients must pick up their
                                                                                medications at designated locations in
                                                                                Maryland.
                                   Websites that sell
                                         pills
                                                                                Price: $389 or less
          For people who want abortion pills by mail                               Majority of profits are donated to support
          without consulting a clinician.                                          later gestation access.
                                                                                Delivery: 1 day
           💵 $30 and up 🚚 3-9 days                                                 Depends on time of order and waiting
                                                                                   requirements in some states
           💊 Generic medications (from India)                                   Ages: 18+

           ⚠️Potential legal risk
                                                                                Services offered

                                                                                     Abortion pills (mifepristone +

               See 13 results
               Find Pills            FAQ               Support & Resources                Get Involved          About Plan C 


                                                                                                                  App. 001186
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                          2/17
9/17/24, 12:31 PM                                              Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                 Page 165 of 219 PageID 10698
                                      Stay Safe: Read our digital privacy tips                                      Quick Exit (esc)
                                                                                ABORTION ON
                                                                                DEMAND


                               Community networks
                                  that mail pills                               About this provider

                                                                                Abortion on Demand states that it
                                                                                provides virtual visits to adult patients
          For people who can’t afford other services
                                                                                who are up to 10 weeks pregnant on the
          and want free pills mailed by volunteers.
                                                                                day that they schedule their
                                                                                appointment.We donate our excess funds
           💵 Free 🚚 5-10 days
                                                                                to support independent abortion clinics
           💊 Generic medications (from India)                                   providing later or more complex care.
                                                                                Same day scheduling is often available;
           ⚠️Potential legal risk                                               overnight shipping and comfort
                                                                                medications are included. Discreet text-
                                                                                based follow-up and 24/7 clinician phone
                                                                                support if needed. Our software will
               See 1 result
                                                                                confirm you are physically in the state you
                                                                                selected at the time of your scheduled
                                                                                video appointment. We do not ship to
                                                                                post office box addresses. In
                                                                                Pennsylvania, patients must pick up their
                                                                                medications at designated locations in
                                                                                Maryland orNew Jersey. In Washington
                                                                                DC, patients must pick up their
                                                                                medications at designated locations in
                                    In-person clinics                           Maryland.




          For people who have access to transportation                          Price: $389 or less
          and would prefer to pick up abortion pills in                            Majority of profits are donated to support
                                                                                   later gestation access.
          person from an abortion clinic.
                                                                                Delivery: 1 day
                                                                                   Depends on time of order and waiting
           💵 $500 or more 🧑🏽 Clinician support
                                                                                   requirements in some states

           💊 FDA-approved medications                                           Ages: 18+


                                                                                Services offered

               See results                                                           Abortion pills (mifepristone +


               Find Pills            FAQ               Support & Resources                Get Involved          About Plan C 


                                                                                                                  App. 001187
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                             3/17
9/17/24, 12:31 PM                                              Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                 Page 166 of 219 PageID 10699
                                      Stay Safe: Read our digital privacy tips                                      Quick Exit (esc)
                                                             ABORTION ON
                                                             DEMAND
         ⚠️ Learn about potential legal risks of accessing pills from alternative suppliers by reading
         the FAQ below, "Can I get in trouble for using abortion pills?"

         You can also contact the free, confidential Repro Legal Helpline (online or at 844-868-2812) to
         discuss your specific situation.                                       About this provider

                                                                                Abortion on Demand states that it
                                                                                provides virtual visits to adult patients
                                                                                who are up to 10 weeks pregnant on the
         Can I get in trouble for using abortion pills?                         day that they schedule their
                                                                                appointment.We donate our excess funds
                                                                                to support independent abortion clinics
                                                                                providing later or more complex care.
         How do I choose from these provider types?
                                                                                Same day scheduling is often available;
                                                                                overnight shipping and comfort
                                                                                medications are included. Discreet text-
                                                                                based follow-up and 24/7 clinician phone
                                                                                support if needed. Our software will
                                                                                confirm you are physically in the state you
                                                                                selected at the time of your scheduled
                                                                                video appointment. We do not ship to
                                                                                post office box addresses. In
                                                                                Pennsylvania, patients must pick up their
                                                                                medications at designated locations in
                                                                                Maryland orNew Jersey. In Washington
     Online clinics that mail                                                   DC, patients must pick up their
                                                                                medications at designated locations in
     pills                                                                      Maryland.




     US-based online clinics                                                    Price: $389 or less
                                                                                   Majority of profits are donated to support
     Online clinics are US-licensed clinicians who ship                            later gestation access.

     pills to you after a brief online form or phone/video                      Delivery: 1 day
                                                                                   Depends on time of order and waiting
     visit. Follow up support is available.
                                                                                   requirements in some states
                                                                                Ages: 18+


                                                                                Services offered
         How do I choose a provider?                                                 Abortion pills (mifepristone +


               Find Pills            FAQ               Support & Resources                Get Involved          About Plan C 


                                                                                                                  App. 001188
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                             4/17
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24 Page 167 of 219 PageID 10700
          People usually choose an online clinic based on what kind of telehealth care they are
                                      Stay Safe: Read our digital privacy tips                                       Quick Exit (esc)
          comfortable with. Some providers require a phone orABORTION
                                                              video visit whileON
                                                                               other providers
          communicate with you through text or email.        DEMAND

          Cost and ship times are also a factor. Sometimes a range of prices will be shown when a
          provider offers sliding scale pricing or another form of financial assistance.
                                                                 About this provider
          To learn more about a provider’s services click “More Information” on their listing, or visit their
                                                                 Abortion on Demand states that it
          website.
                                                                 provides virtual visits to adult patients
                                                                                 who are up to 10 weeks pregnant on the
                                                                                 day that they schedule their
         What if I have medical questions?                                       appointment.We donate our excess funds
                                                                                 to support independent abortion clinics
                                                                                 providing later or more complex care.
                                                                                 Same day scheduling is often available;
                                                                                 overnight shipping and comfort
     Filter by:                                                                medications are included. Discreet text-
                                                                               based follow-up and 24/7 clinician phone
           Accepts                        Accepts                  Sliding scale           Get pills in           Se habla
                                                                               support if needed. Our software will
           insurance                      Medicaid                 pricing                 advance                español
                                                                               confirm you are physically in the state you
                                                                               selected at the time of your scheduled
                                                                               video appointment. We do not ship to
     Showing 6 of 6 results                                                                             Sort
                                                                                 post office box addresses. In by: Price 
                                                                                 Pennsylvania, patients must pick up their
                                                                                 medications at designated locations in
                                                                                 Maryland orNew Jersey. In Washington
          ABUZZ
                                                                                 DC, patients must pick up their
                                                                                 medications at designated locations in
          Price                            Delivery              Ages            Maryland.
          $150 or less                     1-5 days              16+
          Pills by mail with clinician support
          For pregnancies up to 13 weeks                                         Price: $389 or less
                                                                                    Majority of profits are donated to support
                                                                                    later gestation access.
           💊 Get pills in advance
                                                                                 Delivery: 1 day
                                                                                    Depends on time of order and waiting
           💵 Financial assistance available
                                                                                    requirements in some states
                                                                                 Ages: 18+

           MORE INFORMATION                            REQUEST PILLS
                                                                                 Services offered

                                                                                      Abortion pills (mifepristone +


               Find Pills            FAQ               Support & Resources                 Get Involved          About Plan C 


                                                                                                                   App. 001189
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                              5/17
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24 Page 168 of 219 PageID 10701
                           Stay Safe: Read our digital privacy tips           Quick Exit (esc)
          AID ACCESS                                            ABORTION ON
                                                                                 DEMAND
          Price                            Delivery              Ages
          $150 or less                     2-5 days              All
          Pills by mail with clinician support
                                                                                 About this provider
          For pregnancies up to 13 weeks
                                                                                 Abortion on Demand states that it
           💊 Get pills in advance                                                provides virtual visits to adult patients
                                                                                 who are up to 10 weeks pregnant on the
           💵 Financial assistance available                                      day that they schedule their
                                                                                 appointment.We donate our excess funds
                                                                                 to support independent abortion clinics
           MORE INFORMATION                            REQUEST PILLS             providing later or more complex care.
                                                                                 Same day scheduling is often available;
                                                                                 overnight shipping and comfort
                                                                                 medications are included. Discreet text-
                                                                                 based follow-up and 24/7 clinician phone
                                                                                 support if needed. Our software will
          WE TAKE CARE OF US                                                     confirm you are physically in the state you
                                                                                 selected at the time of your scheduled
          Price                            Delivery              Ages            video appointment. We do not ship to
                                                                                 post office box addresses. In
          $150-$600                        1-5 days              All
                                                                                 Pennsylvania, patients must pick up their
          Pills by mail with clinician support (hablamos                         medications at designated locations in
          español)                                                               Maryland orNew Jersey. In Washington
          For pregnancies up to 12 weeks                                         DC, patients must pick up their
                                                                                 medications at designated locations in
           💊 Get pills in advance                                                Maryland.

           💵 Financial assistance available

                                                                                 Price: $389 or less
                                                                                    Majority of profits are donated to support
           MORE INFORMATION                            REQUEST PILLS                later gestation access.
                                                                                 Delivery: 1 day
                                                                                    Depends on time of order and waiting
                                                                                    requirements in some states
                                                                                 Ages: 18+


          CAMBRIDGE REPRODUCTIVE HEALTH                                          Services offered
          CONSULTANTS
                                                                                      Abortion pills (mifepristone +


          PriceFind Pills            FAQ Delivery
                                                 Support &Ages
                                                           Resources                        Get Involved          About Plan C 
          $250 or less                     2-5 days              16+
                                                                                                                   App. 001190
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                           6/17
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case
          Pills by 2:22-cv-00223-Z       Document 195-6 Filed 10/11/24
                   mail with clinician support                                                Page 169 of 219 PageID 10702
                              Stay Safe: Read our digital privacy tips                                               Quick Exit (esc)
          For pregnancies up to 11 weeks                           ABORTION ON
                                                                                 DEMAND
           💊 Get pills in advance

           💵 Financial assistance available
                                                                                 About this provider

           MORE INFORMATION                            REQUEST PILLS             Abortion on Demand states that it
                                                                                 provides virtual visits to adult patients
                                                                                 who are up to 10 weeks pregnant on the
                                                                                 day that they schedule their
                                                                                 appointment.We donate our excess funds
                                                                                 to support independent abortion clinics
                                                                                 providing later or more complex care.
          A SAFE CHOICE                                                          Same day scheduling is often available;
                                                                                 overnight shipping and comfort
          Price                      Delivery                    Ages            medications are included. Discreet text-
                                                                                 based follow-up and 24/7 clinician phone
          $150                       1-5 days                    All
                                                                                 support if needed. Our software will
          Pills by mail with clinician support                                   confirm you are physically in the state you
          For pregnancies up to 13 weeks                                         selected at the time of your scheduled
                                                                                 video appointment. We do not ship to
           💊 Get pills in advance                                                post office box addresses. In
                                                                                 Pennsylvania, patients must pick up their
                                                                                 medications at designated locations in
                                                                                 Maryland orNew Jersey. In Washington
           MORE INFORMATION                            REQUEST PILLS
                                                                                 DC, patients must pick up their
                                                                                 medications at designated locations in
                                                                                 Maryland.




                                                                                 Price: $389 or less
          ABORTION ON DEMAND                                                        Majority of profits are donated to support
                                                                                    later gestation access.
                                                                                 Delivery: 1 day
          Price                               Delivery           Ages
                                                                                    Depends on time of order and waiting
          $389 or less                        1 day              18+                requirements in some states

          Pills by mail with clinician support                                   Ages: 18+
          For pregnancies up to 10 weeks
                                                                                 Services offered
           💵 Financial assistance available                                           Abortion pills (mifepristone +


               Find Pills            FAQ               Support & Resources                 Get Involved          About Plan C 


                                                                                                                   App. 001191
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                              7/17
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                  Page 170 of 219 PageID 10703
                                      Stay Safe: Read our digital privacy tips                                       Quick Exit (esc)
                                                                                 ABORTION ON
                                                                                 DEMAND
     International online clinics
     These services are provided by clinicians licensed in
     other countries who ship pills to you after a brief                         About this provider
     online or video visit. Pills provided are generic
                                                                                 Abortion on Demand states that it
     versions.
                                                                                 provides virtual visits to adult patients
                                                                                 who are up to 10 weeks pregnant on the
                                                                                 day that they schedule their
     Showing 2 of 2 results                                                      appointment.We donate our excess funds
                                                                                 to support independent abortion clinics
                                                                                 providing later or more complex care.
          ABORTION PILLS IN PRIVATE
                                                                                 Same day scheduling is often available;
                                                                                 overnight shipping and comfort
          Price                    Delivery                      Ages            medications are included. Discreet text-
          $90                      8-14 days                     16+             based follow-up and 24/7 clinician phone
                                                                                 support if needed. Our software will
          Pills by mail with clinician support                                   confirm you are physically in the state you
          For pregnancies up to 11 weeks                                         selected at the time of your scheduled
                                                                                 video appointment. We do not ship to
           💵 No financial assistance available                                   post office box addresses. In
                                                                                 Pennsylvania, patients must pick up their
                Learn about the potential legal risk of using                    medications at designated locations in
                this service
                                                                                 Maryland orNew Jersey. In Washington
                                                                                 DC, patients must pick up their
                                                                                 medications at designated locations in
           MORE INFORMATION                            REQUEST PILLS             Maryland.




                                                                                 Price: $389 or less
                                                                                    Majority of profits are donated to support
                                                                                    later gestation access.
          WOMEN ON WEB                                                           Delivery: 1 day
                                                                                    Depends on time of order and waiting
                                                                                    requirements in some states
          Price                   Delivery                       Ages            Ages: 18+
          $120 or less 3-5 business days All
                                                                                 Services offered
          Pills by mail with clinician support (Hablamos
          Español/falamos Português)
                                                                                      Abortion pills (mifepristone +
          For pregnancies up to 12 weeks

               Find Pills            FAQ               Support & Resources                 Get Involved          About Plan C 
           💊 Get pills in advance

                                                                                                                   App. 001192
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                              8/17
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                  Page 171 of 219 PageID 10704
          💵 Financial assistance
                             Stayavailable
                                  Safe: Read our digital privacy tips                                                Quick Exit (esc)
                                                                                 ABORTION ON
                Learn about the potential legal risk of using                    DEMAND
                this service




           MORE INFORMATION                            REQUEST PILLS
                                                                                 About this provider

                                                                                 Abortion on Demand states that it
                                                                                 provides virtual visits to adult patients
                                                                                 who are up to 10 weeks pregnant      on the
                                                                                                                   Back to top
                                                                                 day that they schedule their
                                                                                 appointment.We donate our excess funds
                                                                                 to support independent abortion clinics
                                                                                 providing later or more complex care.
                                                                                 Same day scheduling is often available;
                                                                                 overnight shipping and comfort
                                                                                 medications are included. Discreet text-
                                                                                 based follow-up and 24/7 clinician phone
                                                                                 support if needed. Our software will
     Websites that sell pills                                                    confirm you are physically in the state you
                                                                                 selected at the time of your scheduled
                                                                                 video appointment. We do not ship to
                                                                                 post office box addresses. In
     These websites sell abortion pills but do not include                       Pennsylvania, patients must pick up their
     any additional support. You can still get free                              medications at designated locations in
     medical support for your abortion from the M+A                              Maryland orNew Jersey. In Washington
                                                                                 DC, patients must pick up their
     Hotline.
                                                                                 medications at designated locations in
                                                                                 Maryland.
     Important: These websites may not follow strict
     digital security protocols. Read our digital privacy
     tips to learn how to protect yourself when ordering
                                                                                 Price: $389 or less
     or searching for abortion pills online.                                        Majority of profits are donated to support
                                                                                    later gestation access.
     Read the FAQs below for more information on                                 Delivery: 1 day
     how these sites work.                                                          Depends on time of order and waiting
                                                                                    requirements in some states
                                                                                 Ages: 18+


         What are websites that sell pills?                                      Services offered

                                                                                      Abortion pills (mifepristone +


         Are these websitesFAQ
              Find Pills   legit?
                                                       Support & Resources                 Get Involved          About Plan C 


                                                                                                                   App. 001193
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                              9/17
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                  Page 172 of 219 PageID 10705
                                      Stay Safe: Read our digital privacy tips                                       Quick Exit (esc)
         How do I choose one of these websites?                                  ABORTION ON
                                                                                 DEMAND

         What kind of kit do I order?


                                                                                 About this provider
         How many pills do I need?
                                                                                 Abortion on Demand states that it
                                                                                 provides virtual visits to adult patients
                                                                                 who are up to 10 weeks pregnant on the
         What if I have medical questions?                                       day that they schedule their
                                                                                 appointment.We donate our excess funds
                                                                                 to support independent abortion clinics
                                                                                 providing later or more complex care.
                                                                                 Same day scheduling is often available;
     Showing 4 of 13 results                                                                             Sort by: Price 
                                                                                 overnight shipping and comfort
                                                                                 medications are included. Discreet text-
                                                                                 based follow-up and 24/7 clinician phone
                                                                                 support if needed. Our software will
          LIFE EASY ON PILLS
                                                                                 confirm you are physically in the state you
                                                                                 selected at the time of your scheduled
          Price               Delivery                           Ages            video appointment. We do not ship to
          $30-50              3-6 business days                  All             post office box addresses. In
                                                                                 Pennsylvania, patients must pick up their
          Pills by mail                                                          medications at designated locations in
                                                                                 Maryland orNew Jersey. In Washington
           💊 Get pills in advance                                                DC, patients must pick up their
                                                                                 medications at designated locations in
                Learn about the potential legal risk of using
                                                                                 Maryland.
                this service




           MORE INFORMATION                            REQUEST PILLS             Price: $389 or less
                                                                                    Majority of profits are donated to support
                                                                                    later gestation access.
                                                                                 Delivery: 1 day
                                                                                    Depends on time of order and waiting
                                                                                    requirements in some states
                                                                                 Ages: 18+
          HOME ABORTIONRX
                                                                                 Services offered

          Price          Delivery                                Ages                 Abortion pills (mifepristone +
          $33            12-19 business days                     All
               Find Pills            FAQ               Support & Resources                 Get Involved          About Plan C 
          Pills by mail


                                                                                                                   App. 001194
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                              10/17
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                  Page 173 of 219 PageID 10706
          💊 Get pills in advance
                             Stay Safe: Read our digital privacy tips                                                Quick Exit (esc)
                                                                                 ABORTION ON
                Learn about the potential legal risk of using                    DEMAND
                this service




           MORE INFORMATION                            REQUEST PILLS
                                                                                 About this provider

                                                                                 Abortion on Demand states that it
                                                                                 provides virtual visits to adult patients
                                                                                 who are up to 10 weeks pregnant on the
                                                                                 day that they schedule their
          PRIVATE EMMA                                                           appointment.We donate our excess funds
                                                                                 to support independent abortion clinics
                                                                                 providing later or more complex care.
          Price            Delivery                              Ages            Same day scheduling is often available;
          $35              3-6 business days                     All             overnight shipping and comfort
                                                                                 medications are included. Discreet text-
          Pills by mail
                                                                                 based follow-up and 24/7 clinician phone
          For pregnancies up to 12 weeks
                                                                                 support if needed. Our software will
                                                                                 confirm you are physically in the state you
           💊 Get pills in advance                                                selected at the time of your scheduled
                                                                                 video appointment. We do not ship to
           💵 Financial assistance available
                                                                                 post office box addresses. In
                Learn about the potential legal risk of using                    Pennsylvania, patients must pick up their
                this service                                                     medications at designated locations in
                                                                                 Maryland orNew Jersey. In Washington
                                                                                 DC, patients must pick up their
                                                                                 medications at designated locations in
           MORE INFORMATION                            REQUEST PILLS
                                                                                 Maryland.




                                                                                 Price: $389 or less
                                                                                    Majority of profits are donated to support
                                                                                    later gestation access.
          MEDSIDE 24
                                                                                 Delivery: 1 day
                                                                                    Depends on time of order and waiting
          Price            Delivery                              Ages               requirements in some states
                                                                                 Ages: 18+
          $44              3-6 business days                     All
          Pills by mail                                                          Services offered

                                                                                      Abortion pills (mifepristone +
           💊 Get pills in advance

                     about theFAQ
               LearnPills
               Find               
                               potential    Support
                                         legal         & Resources 
                                               risk of using                                 Get Involved          About Plan C 
                this service

                                                                                                                   App. 001195
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                              11/17
9/17/24, 12:31 PM                                                    Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                       Page 174 of 219 PageID 10707
                                      Stay Safe: Read our digital privacy tips                                            Quick Exit (esc)
           MORE INFORMATION                            REQUEST PILLS                  ABORTION ON
                                                                                      DEMAND



                                                             See all 13 websites that sell this
                                                                                   About   pills provider

                                                                                      Abortion on Demand states that it
                                                                                      provides virtual visits to adult patients
                                                                                      who are up to 10 weeks pregnant      on to
                                                                                                                        Back  thetop
                                                                                      day that they schedule their
                                                                                      appointment.We donate our excess funds
                                                                                      to support independent abortion clinics
                                                                                      providing later or more complex care.
                                                                                      Same day scheduling is often available;
                                                                                      overnight shipping and comfort
                                                                                      medications are included. Discreet text-
                                                                                      based follow-up and 24/7 clinician phone
                                                                                      support if needed. Our software will
     Community networks                                                               confirm you are physically in the state you
                                                                                      selected at the time of your scheduled
     that mail pills                                                                  video appointment. We do not ship to
                                                                                      post office box addresses. In
                                                                                      Pennsylvania, patients must pick up their
                                                                                      medications at designated locations in
     These are networks of volunteers in the US that ship
                                                                                      Maryland orNew Jersey. In Washington
     generic abortion pills for free. The pills often come                            DC, patients must pick up their
     repackaged in plastic baggies. You will need to                                  medications at designated locations in
     request pills by email.                                                          Maryland.




                                                                                      Price: $389 or less
         What are community support networks?
                                                                                         Majority of profits are donated to support
                                                                                         later gestation access.
                                                                                      Delivery: 1 day
         What if I have medical questions?                                               Depends on time of order and waiting
                                                                                         requirements in some states
                                                                                      Ages: 18+


                                                                                      Services offered
     Showing 1 of 1 results
                                                                                           Abortion pills (mifepristone +


          ACCESSMA
            Find Pills               FAQ               Support & Resources                      Get Involved          About Plan C 


                                                                                                                        App. 001196
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                                   12/17
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z
          Price          Delivery
                                  Document 195-6  Filed 10/11/24
                                               Ages
                                                                                              Page 175 of 219 PageID 10708
                                      Stay Safe: Read our digital privacy tips                                       Quick Exit (esc)
          $0                       5-12 days                     All             ABORTION ON
                                                                                 DEMAND
          Community network that mails pills


                Learn about the potential legal risk of using
                this service
                                                                                 About this provider

                                                                                 Abortion on Demand states that it
           MORE INFORMATION                            REQUEST PILLS             provides virtual visits to adult patients
                                                                                 who are up to 10 weeks pregnant on the
                                                                                 day that they schedule their
                                                                                 appointment.We donate our excess funds
                                                                                 to support independent abortion clinics
                                                                                                               Back to top
                                                                                 providing later or more complex care.
                                                                                 Same day scheduling is often available;
                                                                                 overnight shipping and comfort
                                                                                 medications are included. Discreet text-
                                                                                 based follow-up and 24/7 clinician phone
                                                                                 support if needed. Our software will
                                                                                 confirm you are physically in the state you
                                                                                 selected at the time of your scheduled
                                                                                 video appointment. We do not ship to
                                                                                 post office box addresses. In
                                                                                 Pennsylvania, patients must pick up their
     In-person clinics                                                           medications at designated locations in
                                                                                 Maryland orNew Jersey. In Washington
                                                                                 DC, patients must pick up their
                                                                                 medications at designated locations in
     Clinics offer abortion pill pickup and other in-
                                                                                 Maryland.
     person abortion care options. To find the nearest
     clinic to Kansas, use any of these search tools:

                                                                                 Price: $389 or less
                                                                                    Majority of profits are donated to support
                                                                                    later gestation access.
                                                                                 Delivery: 1 day
                                                                                    Depends on time of order and waiting
                                                                                    requirements in some states
          I Need an Abortion
                                                                                 Ages: 18+

          A comprehensive, regularly updated, and
                                                                                 Services offered
          personalized resource for abortion seekers in
          the US.                                                                     Abortion pills (mifepristone +

             VISIT WEBSITE
               Find Pills            FAQ               Support & Resources                 Get Involved          About Plan C 


                                                                                                                   App. 001197
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                              13/17
9/17/24, 12:31 PM                                            Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                               Page 176 of 219 PageID 10709
                                      Stay Safe: Read our digital privacy tips                                    Quick Exit (esc)
                                                                              ABORTION ON
                                                                              DEMAND

          Kansas: Abortion Clinic Guide

          Information about Kansas abortion clinics,                          About this provider

          nearby clinic options, and financial assistance                     Abortion on Demand states that it
          from local support resources.                                       provides virtual visits to adult patients
                                                                              who are up to 10 weeks pregnant on the
             VISIT WEBSITE
                                                                              day that they schedule their
                                                                              appointment.We donate our excess funds
                                                                              to support independent abortion clinics
                                                                              providing later or more complex care.
                                                                              Same day scheduling is often available;
                                                                              overnight shipping and comfort
                                                                              medications are included. Discreet
                                                                                                              Backtext-
                                                                                                                    to top
                                                                              based follow-up and 24/7 clinician phone
                                                                              support if needed. Our software will
                                                                              confirm you are physically in the state you
                                                                              selected at the time of your scheduled
                                                                              video appointment. We do not ship to
                                                                              post office box addresses. In
                                                                              Pennsylvania, patients must pick up their
                                                                              medications at designated locations in
                                                                              Maryland orNew Jersey. In Washington
                                                                              DC, patients must pick up their
                                                                              medications at designated locations in

                                         Live phone & text support            Maryland.




                                                                              Price: $389 or less
                                                                                 Majority of profits are donated to support
                                                                                 later gestation access.
                                                                              Delivery: 1 day
          For Medical Questions                                                  Depends on time of order and waiting
                                                                                 requirements in some states
          The M+A Hotline                                                     Ages: 18+
          Free and confidential support from a clinician
          at the Miscarriage + Abortion Hotline. (M+A                         Services offered

          does not sell pills)                                                     Abortion pills (mifepristone +

          CALL OR TEXT                 VISIT WEBSITE
                                     FAQ        Support & Resources                      Get Involved          About Plan C 
               Find Pills                


                                                                                                                App. 001198
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                           14/17
9/17/24, 12:31 PM                                            Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                               Page 177 of 219 PageID 10710
                                      Stay Safe: Read our digital privacy tips                                    Quick Exit (esc)
                                                                              ABORTION ON
                                                                              DEMAND
          For Logistical & Emotional Support

          Reprocare Healthline
          Free and confidential help understanding
                                                                              About this provider
          how to get pills and how to use them.
                                                                              Abortion on Demand states that it
          CALL OR TEXT                    VISIT WEBSITE                       provides virtual visits to adult patients
                                                                              who are up to 10 weeks pregnant on the
                                                                              day that they schedule their
                                                                              appointment.We donate our excess funds
                                                                              to support independent abortion clinics
                                                                              providing later or more complex care.
          For Legal Questions                                                 Same day scheduling is often available;
                                                                              overnight shipping and comfort
          ReproLegal Helpline                                                 medications are included. Discreet text-
          Connect with a lawyer for free and                                  based follow-up and 24/7 clinician phone
                                                                              support if needed. Our software will
          confidential legal information.
                                                                              confirm you are physically in the state you
                                                                              selected at the time of your scheduled
          CALL OR TEXT                    VISIT WEBSITE
                                                                              video appointment. We do not ship to
                                                                              post office box addresses. In
                                                                              Pennsylvania, patients must pick up their
                                                                              medications at designated locations in
                                                                              Maryland orNew Jersey. In Washington
                                                                              DC, patients must pick up their
                                                                              medications at designated locations in
                                                                              Maryland.


                                         Automated support
                                                                              Price: $389 or less
                                                                                 Majority of profits are donated to support
                                                                                 later gestation access.
                                                                              Delivery: 1 day
                                                                                 Depends on time of order and waiting
                                                               NEW
                                                                                 requirements in some states
          Charley the Chatbot                                                 Ages: 18+

          Provides users with personalized abortion                           Services offered
          options, including information about different
                                                                                   Abortion pills (mifepristone +
          abortion care methods, nearby clinics,
          accessing abortionFAQ
                             pills, and referrals
                                           Supportto & Resources                          Get Involved          About Plan C 
             Find Pills                                         
          support services.

                                                                                                                App. 001199
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                           15/17
9/17/24, 12:31 PM                                                Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24
           VISIT WEBSITE
                                                                                               Page 178 of 219 PageID 10711
                                      Stay Safe: Read our digital privacy tips                                        Quick Exit (esc)
                                                                                  ABORTION ON
                                                                                  DEMAND



          Frequently Asked Questions                                              About this provider

          Get answers to common questions about how                               Abortion on Demand states that it
          abortion pills work and how to access them.                             provides virtual visits to adult patients
                                                                                  who are up to 10 weeks pregnant on the
          READ FAQ                                                                day that they schedule their
                                                                                  appointment.We donate our excess funds
                                                                                  to support independent abortion clinics
                                                                                  providing later or more complex care.
                                                                                  Same day scheduling is often available;
                                                                                  overnight shipping and comfort
                                                                                  medications are included. Discreet text-
                                                                                  based follow-up and 24/7 clinician phone
                                                                                  support if needed. Our software will
                                                                                  confirm you are physically in the state you
                                                                                  selected at the time of your scheduled
                                                                                  video appointment. We do not ship to
                                                               Get thepostPlan     C Newsletter
                                                                           office box addresses. In
                                                                            Pennsylvania, patients must pick up their
                                                               For breaking developments in abortion pill access
                                                                            medications at designated locations in
                                                               and opportunities to take action.
                                                                            Maryland orNew Jersey. In Washington
                                                                                DC, patients must pick up their
                                                                     Your Email medications at designated locations
                                                                                                            Sign Up in
                                                                                Maryland.




                                                                                  Price: $389 or less
                                                                                     Majority of profits are donated to support
                                                                                     later gestation access.
                                                             FAQ                 Support          Get                    About Plan C
                                                                                  Delivery: 1 day
                                                                                 and              Involved
                                                             Finding                 Depends on time of order and waiting
                                                                                                                    Mission
                                                                                 Resources
                                                                                   requirements in some
                                                             Abortion                            Plan C states           Team
     Plan C is a project under the fiscal                                         Ages: 18+
                                                             Pills               Quick           Community               Press
     sponsorship of the National
                                                             About               Resource        Take Action             Research &
     Women’s Health Network, a 501c3                                              Services offered
                                                             Abortion            List            Stickers &              Learning
     organization. Our generous
                                                             Pills               Medical
                                                                                    Abortion pillsFlyers
                                                                                                   (mifepristone +       PLAN C: The
     donors make this critical work
                                                             Using               + Emotional            Plan C           Documentary
     possible.
                                     FAQ                    Abortion
                                                        Support  & ResourcesSupport        Merch
                                                                                    Get Involved          2023Plan
                                                                                                        About  Annual
                                                                                                                   C 
            Find Pills                                                                           
                                                             Pills          Legal          Social Media   Report
                                                                                 Support                Toolkit
                                                                                                                    App. 001200
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                               16/17
9/17/24, 12:31 PM                                               Where People Get Abortion Pills Online in Kansas
          Case 2:22-cv-00223-Z Document 195-6Can       Filed 10/11/24
                                                   I get                 Page 179 of 219
                                                                                      with PageID  10712
                           Stay Safe: Read our digital privacy Financial
                                                               tips           Partner         Media
                                                                                            Quick Exit (esc)
         Find Pills
                                                             in Trouble          ABORTIONUsON
                                                                                Support                                  inquiries
                                                             for Using           DEMAND
                                                                                Abortion               For Medical       Contact Us
                                                             Abortion           Pill                   Professionals
                                                             Pills?             Instructions           Work with
                                                                                Abortion               Plan C
                                                                                About
                                                                                Care   this provider
                                                                                     Apps       Donate
                                                                                Other
                                                                                 Abortion on Demand states that it
                                                                                Options for
                                                                                 provides virtual visits to adult patients
                                                                                Getting an
                                                                                 who are up to 10 weeks pregnant on the
                                                                                Abortion
                                                                                 day that they schedule their
                                                                                 appointment.We donate our excess funds
                                                             Language
                                                                                 to support independent abortion clinics
                                                             Español             providing later or more complex care.
                                                                                 Same day scheduling is often available;
                                                                                 overnight shipping and comfort
     © 2024 National Women's Health Network                                                                     Privacy
                                                                                 medications are included. Discreet     & Terms
                                                                                                                    text-
     Site by Eyes Open                                                  based follow-up and 24/7 clinician phone
                                                                        support if needed. Our software will
                                                                        confirm you are physically in the state you
     Disclaimer: This is not legal or medical advice and does not substitute for the
                                                                        selected at the time of your scheduled
     representation of an attorney or the advice of a doctor. No attorney client
                                                                        video appointment. We do not ship to
     relationship has been formed by reviewing this material.
                                                                                 post office box addresses. In
                                                                                 Pennsylvania, patients must pick up their
                                                                                 medications at designated locations in
                                                                                 Maryland orNew Jersey. In Washington
                                                                                 DC, patients must pick up their
                                                                                 medications at designated locations in
                                                                                 Maryland.




                                                                                 Price: $389 or less
                                                                                       Majority of profits are donated to support
                                                                                       later gestation access.
                                                                                 Delivery: 1 day
                                                                                       Depends on time of order and waiting
                                                                                       requirements in some states
                                                                                 Ages: 18+


                                                                                 Services offered

                                                                                        Abortion pills (mifepristone +




                                                                                                                     App. 001201
https://www.plancpills.org/abortion-pill/kansas#telehealth                                                                            17/17
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                                EXHIBIT 78

                    Kansas Abortion Clinic Guide




                                                                   App. 001202
9/17/24, 12:24 PM                                                      Kansas Abortion Clinic Guide from Plan C Pills
          Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                        Page 181 of 219 PageID 10714
                                                            FAQ      Support & Resources        How to Get an Abortion Pill
                                                                                                                                   Find Pills
                                                                                                                  Donate




                     Kansas Abortion Clinic Guide
                     from Plan C Pills
                     This abortion clinic guide offers up-to-date information about:

                           1. Abortion Clinics in Kansas
                           2. How to get abortion pills by mail
                           3. Kansas abortion support resources

                     People in Kansas are accessing local abortion clinics, online abortion pill
                     options, and financial assistance from abortion support resources. Plan
                     C shares reliable information that empowers people to make an informed
                     choice that’s best for them.




        Clinics




                                                Abortion Clinics in Kansas

                                                There are currently 5 abortion clinics in Kansas offering in-person
                                                services. This guide will help you find the closest open abortion clinic to
                                                your home. Some locations may have limited availability so call the
                                                clinics to find out if they are able to meet your needs.


                                                Kansas Abortion Clinics

                                                You can also find information about Kansas abortion clinics here:
                                                https://www.ineedana.com/us/kansas

                                                     1. Planned Parenthood - Wichita Health Center
                                                                                                                              App. 001203
https://abortion-clinic.plancpills.org/kansas                                                                                                   1/5
9/17/24, 12:24 PM                                                 Kansas Abortion Clinic Guide from Plan C Pills
          Case 2:22-cv-00223-Z
             2226 E Central, Wichita, KSDocument
                                        67214    195-6 Filed 10/11/24                          Page 182 of 219 PageID 10715
                  Visit Website
                  (316) 263-7575
                2. Aria Medical
                  555 N Woodlawn Street, Building 1, Suite 102, Wichita, KS
                  67208
                  Visit Website
                  (316) 350-7688
                3. Center for Women’s Health
                  4840 College Boulevard, Overland Park, KS 66211
                  Visit Website
                  (913) 491-6878
                4. Planned Parenthood - Kansas City Health Center
                  6013 Leavenworth Rd, Kansas City, KS 66104
                  Visit Website
                  (913) 345-1400
                5. Planned Parenthood - Comprehensive Health Services
                  4401 W 109th Street, #100, Overland Park, KS 66211
                  Visit Website
                  (913) 345-1400
                6. Trust Women Wichita (Temporarily closed)
                  5107 East Kellogg Drive, Wichita, KS 67218
                  Visit Website
                  (316) 260-6934


        Abortion Clinics Near Kansas

        If the healthcare services you need are not available within Kansas, you
        can find the closest abortion clinic options to your home here:

                • Colorado Abortion Clinics
                • Illinois Abortion Clinics
                • Nebraska Abortion Clinics




        Pills




                                                      How to get abortion pills in Kansas

                                                      People are getting abortion pills in Kansas by mail and having
                                                      medically-safe abortions at home by using these resources:

                                                           • How to Order an Abortion Pill Online
                                                               This guide from Plan C Pills explains how to get an abortion
                                                               pill in Kansas. Compare online providers, prices and delivery
                                                                                                                    App. 001204
https://abortion-clinic.plancpills.org/kansas                                                                                     2/5
9/17/24, 12:24 PM                                                    Kansas Abortion Clinic Guide from Plan C Pills
          Case 2:22-cv-00223-Z Document 195-6     Filed
                                          times for       10/11/24
                                                    abortion pills by mail.Page 183 of 219 PageID 10716

                                                           To learn about the potential legal risks of accessing pills through
                                                           alternative suppliers: Read our FAQ. To discuss your specific situation,
                                                           contact the free, confidential Repro Legal Helpline online or at 844-868-
                                                           2812.




        Assistance




                                                Abortion Support Resources in Kansas

                                                These local resources that provide abortion support, information, and
                                                financial assistance to people in Kansas.

                                                    • Kansas Abortion Fund
                                                    • Abortion Funds: Midwest Access Coalition
                                                    • ACLU Kansas: Reproductive Freedom
                                                    • AbortionFinder: Abortion Providers in Kansas
                                                    • Reproductive Rights in Kansas
                                                    • CARE Abortion Clinic near Kansas




                                                                                                                        App. 001205
https://abortion-clinic.plancpills.org/kansas                                                                                          3/5
9/17/24, 12:24 PM                                                     Kansas Abortion Clinic Guide from Plan C Pills
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        Local Guides



                                                Abortion Guides for Cities in Kansas

                                                These local guides from Plan C Pills provide abortion clinic and support resources
                                                for cities throughout Kansas.


                                                How to get an abortion in…

                                                    • Wichita, Kansas
                                                    • Overland Park, Kansas
                                                    • Kansas City, Kansas
                                                    • Olathe, Kansas
                                                    • Topeka, Kansas




                                                                      Live phone & text support


                                                                      For Medical Questions:


                                                                      The M+A Hotline

                                                                      Free and confidential support from a clinician at the
                                                                      Miscarriage + Abortion Hotline. (M+A does not sell pills)


                                                                      ‍Call or text: 833-246-2632
                                                                                                                       M+A Hotline
                                                                                                                        Website




                                                                      For Logistical & Emotional Support


        Step-by-Step Guide: How to get an                             Reprocare Healthline
        abortion pill by Mail
                                                                      Free and confidential help understanding how to get pills and
                                                                      how to use them.



                                                                      Call or text: 833-226-7821
                                                                                                                   Reprocare
                                                                                                                Healthline Website




                                                                                                                              App. 001206
https://abortion-clinic.plancpills.org/kansas                                                                                               4/5
9/17/24, 12:24 PM                                               Kansas Abortion Clinic Guide from Plan C Pills
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        For Legal Questions:


        ReproLegal Helpline

        Connect with a lawyer for free and confidential legal
        information.


        ‍Call or text: 844-868-2812
                                                   Repro Legal
                                                 Helpline Website




                                                      Abortion Pills         Get Involved             Disclaimer:
            Donate to Plan C
                                                      Find Pills             Take Action              This is not legal or medical advice and
                                                      FAQ                    Become an                does not substitute for the
                                                      Support &              Ambassador               representation of an attorney or the
        Plan C is a project under the fiscal          Resources              Partner with us          advice of a doctor. No attorney client
        sponsorship of the National Women’s           Research               Stickers &               relationship has been formed by
        Health Network, a 501c3 organization.         Library                Flyers                   reviewing this material. Plan C
        Our generous donors make this critical                               Provider Toolkit         provides research-based information
        work possible.                                                       Donate                   about sources of abortion pills but
                                                                                                      does not endorse the services listed in
                                                      About Plan C                                    our Guide to Finding Pills. Plan C is
                                                                                                      not affiliated with any of the services
            Complete Open Clinic List                 Press
                                                                                                      listed in our directory. For questions
                                                      Team
                                                                                                      about ordering, paying for, or delivery
                                                      History
                                                                                                      of abortion pills from these services,
                                                      Work With Us
                                                                                                      please contact the service directly.
                                                      Contact
            City Abortion Clinic Guides




        © 2023 National Women’s Health Network                                                                             Privacy & Terms




                                                                                                                      App. 001207
https://abortion-clinic.plancpills.org/kansas                                                                                                   5/5
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                                EXHIBIT 79

                          Hey Jane – About Us




                                                                   App. 001208
9/23/24, 12:33 PM                                                              About us | Hey Jane
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                                   Page 187 of 219 PageID 10720
                                                                                                     About
          Medication abortion      More services      Resources      State abortion guides Reviews           Become a partner   Get started
                                                                                                     us




       Welcome to your
       safe space
       Hey Jane is your patient-centered, virtual reproductive and
       sexual health care haven.



           Get started




                                                                                                                    App. 001209
https://www.heyjane.com/about-us                                                                                                              1/7
9/23/24, 12:33 PM                                                      About us | Hey Jane
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                           Page 188 of 219 PageID 10721



                Be seen, heard, and
                cared for
                From day one, we've been committed to providing
                safe, discreet medication abortion treatment (no in-
                person clinic visit necessary)—and have helped more
                than 65,000 people get the care they need. Today,
                we offer a range of reproductive and sexual health
                care services from the comfort and convenience of
                your phone.


                    Explore our services




       U.S.-licensed
       providers from top
       schools and
       employers
       Our team includes full-time, US-licensed doctors, advanced
       practice clinicians, nurses, and patient care advocates with
       experience in abortion and more reproductive care services.
       They come from top schools and healthcare providers including
       Mount Sinai, UCSF, Planned Parenthood, and more.




                                                                                                    App. 001210
https://www.heyjane.com/about-us                                                                                     2/7
9/23/24, 12:33 PM                                                About us | Hey Jane
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                         Safe, discreet, judgment-free
                        virtual health care, from a team
                                 that truly cares
                                            Meet some of the members on our team.




          ALYSSA WAGNER,                     HANNA KIM, RN                             SALLY RASHID, RN
          DNP, RN, APRN,                     Hanna Kim (she/them) is a                 Sally Rashid (she/her) is a
          WHNP-BC                            Registered Nurse with 10 years            Registered Nurse who has
                                             of experience working in                  worked in reproductive care for
          Alyssa Wagner (she/her) is a       reproductive health. She's                over a decade as a doula, nurse,
          board certified women’s health     obsessed with her dog and can             and advocate for abortion
          nurse practitioner specializing    tell you how to DIY a hot pack.           access. In addition to helping
          in reproductive and sexual                                                   patients, she’s a seasoned
          health care for over 14 years.                                               writer, music lover, and mother.
          She’s passionate about
          increasing access to health
          care, removing stigma, and
          spending time with her family.




                                                                                                    App. 001211
https://www.heyjane.com/about-us                                                                                          3/7
9/23/24, 12:33 PM                                                          About us | Hey Jane
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                      “The staff were 10/10. I couldn’t have had a
                      better experience.”




              Pay less than in-
              clinic care
              Hey Jane accepts select insurance plans and offers
              income-based sliding-scale pricing based on each
              patient's personal and financial circumstances. For
              medication abortion, we also partner with abortion
              funds to help you pay for treatment.


                    Get started




    Pay as little as $0 with
    insurance
    Hey Jane accepts select insurance plans and offers self-pay patients
    sliding-scale pricing based on your income. We also partner with
    abortion funds to help you pay for treatment.




                                                                                                        App. 001212
https://www.heyjane.com/about-us                                                                                         4/7
9/23/24, 12:33 PM                                                       About us | Hey Jane
         Case 2:22-cv-00223-Z Document 195-6 Filed 10/11/24                            Page 191 of 219 PageID 10724

        See all ways to pay




                                                   Hey Jane is for...




              Anyone seeking care                                            Anyone who supports
              If you need reproductive or sexual health care—                reproductive freedom
              including abortion care—we're here for you. Hey Jane           As one of the first virtual clinics to offer
              strives to be an inclusive clinic, and accepts patients        abortion care, Hey Jane has always stood up
              located in our eligible states regardless of their             for access. When you support Hey Jane, you
              insurance status, gender identity, or immigration              support reproductive freedom and quality of
              status.                                                        life for all.



                    Get started                                                  Take action




                                                                                                            App. 001213
https://www.heyjane.com/about-us                                                                                            5/7
9/23/24, 12:33 PM                                                         About us | Hey Jane
         Case 2:22-cv-00223-Z Document 195-6 ASFiled
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                                   We’re not afraid to talk
                                   about abortion, are you?
                                   Join the Un-Whisper Network, Hey Jane’s virtual community for
                                   people who are passionate about reproductive and sexual health.
                                   You’ll get science-backed intel, access to exclusive events, and more
                                   delivered to your inbox—all while making an impact.

                                       Enter your email                                     Sign up




    Get abortion access updates                           SERVICES                     LEGAL                     RESOURCES

    and reproductive health real                          Medication abortion          HIPAA notice of           What is an abortion?
    talk, delivered to your inbox.                        Emergency
                                                                                       privacy practices
                                                                                                                 How to get an
                                                          contraception                Privacy Policy            abortion
      jane@gmail.com                                      UTI treatment                Refund Policy             How to get an
                                                                                                                 abortion on campus
                                                          Herpes treatment             Telemedicine Consent
        Sign up
                                                          Yeast infection              Terms of Service
                                                          treatment
                                                                                       S TAT E A B O R T I O N
    C O N TAC T                                           Bacterial vaginosis
                                                          treatment                    GUIDES
    Patients: Message us on the Spruce app
                                                          Birth control                California
    Email: info@heyjane.co
                                                                                       Colorado
    Press inquires: press@heyjane.co                      HEY JANE
                                                                                       Connecticut
    CONNECT WITH US
                                                          About us                     Delaware
                                                          FAQs                         Hawaii
                                                          Careers                      Illinois
                                                                                       Maine
                                                                                       Maryland
                                                                                       Minnesota
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https://www.heyjane.com/about-us                                                                                                        6/7
9/23/24, 12:33 PM                                     About us | Hey Jane
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                                                              Page 193 of 219 PageID 10726
                                                                   New Hampshire
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                                                                   New Mexico
                                                                   New York
                                                                   Oregon
                                                                   Rhode Island
                                                                   Vermont
                                                                   Virginia
                                                                   Washington
                                                                   District of Columbia
                                                                   All abortion state
                                                                   guides




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                                                                                          App. 001215
https://www.heyjane.com/about-us                                                                        7/7
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                                EXHIBIT 80

                        Websites that Sell Pills




                                                                   App. 001216
10/8/24, 11:04 AM                                                             Websites That Sell Pills | Plan C
          Case 2:22-cv-00223-Z Document      195-6 Filed 10/11/24
                                Stay Safe: Read our digital privacy tips
                                                                                                     Page 195 of 219 PageIDQuick
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                                  Find Pills      FAQ        Support & Resources           Get Involved        About Plan C    Donate Español




       GO BACK




    Websites That
    Sell Pills
    These websites sell abortion pills but do not include any additional support. You can
    still get free medical support for your abortion from the M+A Hotline.


    Important: These websites may not follow strict digital security protocols. Read our
    digital privacy tips to learn how to protect yourself when ordering or searching for
    abortion pills online.



    Read the FAQs below for more information on how these sites work.




       What are websites that sell pills?




        Websites that sell pills are e-commerce websites that sell and ship pills to addresses in all U.S.
        states. They do not require a prescription for the medications, do not require you to upload
        your ID, and do not provide a medical consultation or any kind of support.




       Are these websites legit?




        Yes, these websites are legit. They sell generic abortion pills that are not regulated or
        inspected by the US government. Plan C regularly tests these websites by buying pills from
        them. The services we list in our guide all shipped pills to a home address. The pills were real
        (based on laboratory testing). But, we do not operate these sites, and cannot guarantee
        they will be reliable in the future.

        Important: These websites may not follow strict digital security protocols. Read our digital
        privacy tips to learn how to protect yourself when ordering or searching for abortion pills
        online.




       How do I choose one of these websites?


                                                                                                                           App. 001217
https://www.plancpills.org/websites-that-sell-pills                                                                                                 1/8
10/8/24, 11:04 AM                                                               Websites That Sell Pills | Plan C
          Case 2:22-cv-00223-Z Document      195-6 Filed 10/11/24
                                Stay Safe: Read our digital privacy tips
                                                                                                          Page 196 of 219 PageIDQuick
                                                                                                                                 10729Exit (esc)
        The websites listed in our guide all sell abortion pills at slightly different prices and delivery
        times. None of these sites require a prescription,
                                                FAQ  provide    a medical
                                                            Support        consultation, or
                                                                    & Resources          Getoffer any
                                                                                              Involved              About Plan C    Donate Español
                                Find Pills                                                            
        kind of support. These websites usually won’t ask you how many weeks pregnant you are.

        We suggest you check their website and pick the one that you feel most comfortable
        ordering from. If you are not sure what pills to order, read the FAQ below, “What kind of kit
        do I order?”.




       What kind of kit do I order?




        Most of these websites sell abortion pills in a blister pack called an MTP Kit. These kits usually
        contain 5 pills: 1 dose of mifepristone (1 pill) and 1 dose of misoprostol (4 pills). Sometimes
        these packs will be listed under different names, or will be sold in bulk quantities, which may
        seem confusing. What is important is that you get the correct dosage for your pregnancy.
        Read the next section “How many pills do I need?” for dosage information.

        Important note about payment: It is very common for these websites to email or call soon
        after they get your order to request a different form of payment. They often say the credit
        card did not go through. They often ask the buyer to use a PayPal account in a person’s name
        or in the name of another business. These payment requests do seem unusual, but they
        worked every time we tested them.

        The pills usually arrive by the US Postal Service. They usually do not require a signature.




       How many pills do I need?




        If you are under 9 weeks pregnant you usually need 1 mifepristone pill and 4 misoprostol pills.
        People who are more than 9 weeks pregnant may need additional misoprostol pills (4 or 8
        pills) to complete the abortion. Many of these websites sell misoprostol pills separately
        (sometimes called Cytotec or Cytolog), which can be added to your order.

        Read this guide for instructions on how to take abortion pills and for recommended
        dosages. If you don’t know how many weeks pregnant you are you can use our pregnancy
        calculator.




       What if I have medical questions?




        Websites that sell pills do not offer medical support. If you have medical questions during
        your abortion, you can get support and have your questions answered by contacting The
        Miscarriage and Abortion Hotline. This hotline provides free, confidential medical
        information and support by phone and text. Often they can help you address a problem
        without needing to go to a clinic or hospital.

        If you are experiencing complications and feel the need to seek care from a health care
        provider at a clinic or hospital, you should do so. Your clinician does not need to know that
        you have used abortion pills to provide appropriate follow up care. Clinicians also can’t tell
        you’ve taken abortion pills unless you tell them, or if you inserted the misoprostol vaginally
        and the pills did not fully dissolve. Many people use misoprostol orally to prevent this possible
        detection.

                                                                                                                             App. 001218
https://www.plancpills.org/websites-that-sell-pills                                                                                                   2/8
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                    who have told their clinician that
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                                                                            pills have
                                                                    digital privacy tipsfaced legal
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        prosecution. This is why many people just say they are having a miscarriage. The symptoms
        after taking abortion pills arePills
                                        the sameFAQ
                                                 as a miscarriage,
                                                            Support  & blood
                                                                   and       tests do not Get
                                                                       Resources          reveal any
                                                                                              Involved             About Plan C    Donate Español
                                Find                                                                 
        differences between a miscarriage and a medication abortion.

        You can also get free, nonjudgmental emotional support before, during, and after your
        abortion from the folks at All-Options Talkline, Exhale, Faith Aloud, or Reprocare.




       Can I get in trouble for using abortion pills?




        The short answer is: it depends, and it’s complicated.

        Legal risk can depend on:

            where you live,

            your identity: race, ethnicity, income level, etc.

            and how far along you are in pregnancy.


        In the end, it’s up to each person to make their own decision about risk. Click the headings
        below for more information about these risks.



           Where someone lives makes a difference.



           Many states allow legal access to abortion pills through clinics or telehealth services.
           People who get pills in states where these services are legal should face no legal risk.

           Pills are available by mail in all states, even in states that ban clinic-based abortion
           care. This is possible because some states have “shield laws” that protect clinicians
           when they provide telehealth care to someone in another state. People in all states can
           also get abortion pills from alternate suppliers like international online clinics,
           community networks, and websites that sell pills. We mark alternate suppliers with an
           alert icon ⚠️in our Guide to let you know that they may have legal risk.

           To understand the potential legal risks of using alternate suppliers, you can contact the
           ReproLegal Helpline, a free legal resource that can help answer your questions: visit
           reprolegalhelpline.org or call or text 844-868-2812.




           What if a state totally bans abortion?



           Some states have laws against abortion. These laws mean that with limited exceptions
           medical providers and clinics in those states can’t do an abortion procedure or provide
           abortion pills.

           A ban that blocks providers from offering care does not necessarily block a person
           from using pills on their own. However, a person who self-manages their abortion can
           face legal risk: people in the US are criminalized for all kinds of reasons, with outsized
           impact on certain identities or socioeconomic backgrounds.

           People in states that ban abortion can still get abortion pills by mail from telehealth
           providers in “shield law” states (see above) or alternate suppliers, like international
           online clinics, websites that sell pills, and community networks that mail them for free.

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https://www.plancpills.org/websites-that-sell-pills                                                                                                  3/8
10/8/24, 11:04 AM                                                                  Websites That Sell Pills | Plan C
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                                             alternate     195-6
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                                              Stay Safe: Read ourwith  Filed
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           Guide to let you know there could be legal risk.

                                 Findthat
           People who live in states             FAQ  sometimes
                                      Pills ban abortion  Support  & Resources
                                                                 travel                  Get Involved 
                                                                        to a statewhere abortion                         About Plan C        Donate Español

           is legal to get care. However, traveling to get care could be risky for some people, for
           instance if they are not free to leave their home or do not want to risk going through an
           immigration checkpoint (which can be within 100 miles of any US border).

           The Repro Legal Helpline provides free and confidential legal advice that can help
           people better understand the laws and legal risk they may face. Contact them online
           or call 844-868-2812.




           How big is the legal risk?



           This is a really hard question to answer.

           We have some information about what has happened in the past. From 2000 to 2020,
           at least 61 people who have self-managed an abortion or have helped someone else
           were arrested or prosecuted. During that same time, many people self-managed
           abortions (tens of thousands or more).

           It is unclear how new abortion laws will affect future criminalization of people for self-
           managing an abortion.

           Those who are already at greater risk of criminalization because of their race, gender
           identity, economic status, or other factors may have a higher risk of prosecution.

           The Repro Legal Helpline provides free and confidential legal advice that can help
           people better understand the laws and legal risk they may face. Contact them online
           or call 844-868-2812.




           ‍Why have some people gotten in legal trouble?



           Have Legal Questions?




        The Repro Legal Helpline provides free and confidential legal advice that can help people
        better understand the laws and legal risk they may face. Contact them online or call 844-
        868-2812.

        For more analysis of potential legal risk, read this article.




    Showing 14 of 14 results                                                                                                               Sort by: Price 


       PILL PULSE                                                  LIFE EASY ON PILLS


       Price           Delivery                       Ages         Price             Delivery                      Ages
       $29             3-6 business days              All          $30-50            3-6 business days             All
       Pills by mail                                               Pills by mail

                                                                                                                                   App. 001220
https://www.plancpills.org/websites-that-sell-pills                                                                                                             4/8
10/8/24, 11:04 AM                                                               Websites That Sell Pills | Plan C
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            Learn about the potential legal risk of using            Learn about the potential legal risk of using
            this service        Find Pills        FAQ       Support this
                                                                     & Resources
                                                                          service             Get Involved           About Plan C    Donate Español




         MORE INFORMATION                REQUEST PILLS           MORE INFORMATION                   REQUEST PILLS




       HOME ABORTIONRX                                          PRIVATE EMMA


       Price        Delivery                          Ages      Price           Delivery                        Ages
       $33          12-19 business days               All       $35             3-6 business days               All
       Pills by mail                                            Pills by mail
                                                                For pregnancies up to 12 weeks
        💊 Get pills in advance
                                                                 💊 Get pills in advance
            Learn about the potential legal risk of using
            this service                                         💵 Financial assistance available

                                                                     Learn about the potential legal risk of using
                                                                     this service




         MORE INFORMATION                REQUEST PILLS           MORE INFORMATION                   REQUEST PILLS




       MEDSIDE 24                                               HOME ABORTION PILLSRX


       Price           Delivery                       Ages      Price           Delivery                        Ages
       $44             3-6 business days              All       $45             3-6 business days               All
       Pills by mail                                            Pills by mail


        💊 Get pills in advance                                   💊 Get pills in advance

            Learn about the potential legal risk of using            Learn about the potential legal risk of using
            this service                                             this service




         MORE INFORMATION                REQUEST PILLS           MORE INFORMATION                   REQUEST PILLS




       YBYCMEDS                                                 PRIVACY PILL RX


       Price           Delivery                       Ages      Price           Delivery                        Ages
       $46             3-6 business days              All       $120            3-6 business days               All
       Pills by mail                                            Pills by mail


        💊 Get pills in advance                                   💊 Get pills in advance

                                                                                                                                App. 001221
https://www.plancpills.org/websites-that-sell-pills                                                                                                      5/8
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                                                                                privacy
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                                  Find Pills      FAQ       Support & Resources              Get Involved           About Plan C    Donate Español

         MORE INFORMATION                REQUEST PILLS           MORE INFORMATION                   REQUEST PILLS




       SAFE PHARMACY                                            ABORTION PILLS RX


       Price           Delivery                       Ages      Price           Delivery                        Ages
       $198            3-6 business days              All       $230            4-6 business days               All
       Pills by mail                                            Pills by mail


        💊 Get pills in advance                                   💊 Get pills in advance

            Learn about the potential legal risk of using            Learn about the potential legal risk of using
            this service                                             this service




         MORE INFORMATION                REQUEST PILLS           MORE INFORMATION                   REQUEST PILLS




       GENERIC ABORTION PILLS                                   ABORTION RX


       Price           Delivery                       Ages      Price            Delivery                       Ages
       $291            3-6 business days              All       $299             3-6 business days              All
       Pills by mail                                            Pills by mail


        💊 Get pills in advance                                   💊 Get pills in advance

            Learn about the potential legal risk of using            Learn about the potential legal risk of using
            this service                                             this service




         MORE INFORMATION                REQUEST PILLS           MORE INFORMATION                   REQUEST PILLS




       ONLINE ABORTION PILL RX                                  ABORTION PRIVACY


       Price           Delivery                       Ages      Price            Delivery                       Ages
       $470            3-6 business days              All       $470             3-6 business days              All
       Pills by mail                                            Pills by mail


        💊 Get pills in advance                                   💊 Get pills in advance

            Learn about the potential legal risk of using            Learn about the potential legal risk of using
            this service                                             this service




         MORE INFORMATION                REQUEST PILLS           MORE INFORMATION                   REQUEST PILLS


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                                  Find Pills      FAQ      Support & Resources         Get Involved        About Plan C    Donate
                                                                                                                                Back toEspañol
                                                                                                                                       top




                               Live phone & text support




       For Medical Questions                                   For Logistical & Emotional Support

       The M+A Hotline                                         Reprocare Healthline
       Free and confidential support from a clinician          Free and confidential help understanding
       at the Miscarriage + Abortion Hotline. (M+A             how to get pills and how to use them.
       does not sell pills)

                                                               CALL OR TEXT         VISIT WEBSITE
       CALL OR TEXT            VISIT WEBSITE




       For Legal Questions

       ReproLegal Helpline
       Connect with a lawyer for free and
       confidential legal information.



       CALL OR TEXT            VISIT WEBSITE




                               Automated support



                                                      NEW

       Charley the Chatbot                                     Frequently Asked Questions

       Provides users with personalized abortion               Get answers to common questions about how
       options, including information about different          abortion pills work and how to access them.
       abortion care methods, nearby clinics,

                                                                                                                       App. 001223
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       support services.

                                    Find Pills       FAQ            Support & Resources               Get Involved        About Plan C         Donate Español
          VISIT WEBSITE




                                                                                  Get the Plan C Newsletter
                                                                                  For breaking developments in abortion pill access
                                                                                  and opportunities to take action.


                                                                                   Your Email                                Sign Up




                                                                                      FAQ                   Support and        Get Involved         About Plan C
                                                                                                            Resources
                                                                                      Finding                                  Plan C               Mission
                                                                                      Abortion Pills        Quick Resource     Community            Team
    Plan C is a project under the fiscal sponsorship of the National
                                                                                      About Abortion        List               Take Action          Press
    Women’s Health Network, a 501c3 organization. Our generous
                                                                                      Pills                 Medical            Stickers & Flyers    Research &
    donors make this critical work possible.
                                                                                      Using Abortion        + Emotional        Plan C Merch         Learning
                                                                                      Pills                 Support            Social Media         PLAN C: The
       Find Pills                                                                     Can I get in          Legal Support      Toolkit              Documentary
                                                                                      Trouble for           Financial          Partner with Us      2023 Annual
                                                                                      Using Abortion        Support            For Medical          Report
                                                                                      Pills?                Abortion Pill      Professionals        Media inquiries
                                                                                                            Instructions       Work with Plan       Contact Us
                                                                                                            Abortion Care      C
                                                                                                            Apps               Donate
                                                                                                            Other Options
                                                                                                            for Getting an
                                                                                                            Abortion


                                                                                      Language

                                                                                      Español



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    representation of an attorney or the advice of a doctor. No attorney client
    relationship has been formed by reviewing this material.




                                                                                                                                         App. 001224
https://www.plancpills.org/websites-that-sell-pills                                                                                                                   8/8
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                                EXHIBIT 81

       Websites Selling Unapproved Abortion Pills Are
                       Booming -- WSJ




                                                                   App. 001225
9/17/24, 12:23 PM                                                 Websites Selling Unapproved Abortion Pills Are Booming - WSJ
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   https://www.wsj.com/articles/websites-selling-unapproved-abortion-pills-are-booming-11661079601



                                                                                 HEALTH


                 Websites Selling Unapproved Abortion Pills Are
                                    Booming
                 Abortion pills can sell on some sites for as much as $500. It isn’t always clear who
                                        makes them or where they come from.



               By Dominique Mosbergen Follow and Vibhuti Agarwal Follow
               Aug. 21, 2022 7:00 am ET


               A murky online market for abortion pills is thriving as some U.S. states tighten
               abortion restrictions.

               Dozens of websites state they ship abortion drugs anywhere in the U.S. without a
               prescription, which violates Food and Drug Administration rules. Most of the
               sites don’t clearly state who operates them or where they get the pills. The
               operator of one website said demand for abortion pills has surged since the
               Supreme Court removed constitutional protection for abortion in June.

               The sites, some registered overseas, are distinct from U.S.-based telehealth
               operators that prescribe and sometimes ship abortion pills to patients in states
               that allow the procedure.

               Sites selling abortion drugs without a prescription charge as much as $500 for a
               pack of abortion pills. Medical support isn’t included.




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https://www.wsj.com/articles/websites-selling-unapproved-abortion-pills-are-booming-11661079601                                                                        1/6
9/17/24, 12:23 PM                                         Websites Selling Unapproved Abortion Pills Are Booming - WSJ
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              A screenshot obtained by The Wall Street Journal shows the home page of Abortionrx.com. The site is
              among dozens of websites that sell drugs typically used in a medication abortion without the need of a
              prescription. PHOTO: UNCREDITED


              The websites provide access to pills for patients who can’t reach a clinic, or who
              live in states where telehealth consultations for abortion aren’t allowed,
              abortion-rights advocates said. But the unregulated market creates risks, they
              said, including that the pills arrive too late to be used effectively. People who buy
              abortion pills online without a prescription could face criminal charges,
              particularly in states that restrict the procedure, legal experts said.

              Some health experts expressed concerns about websites potentially selling
              bogus drugs or not providing adequate information and medical support. “You
              don’t know what you’re getting,” said Al Carter, executive director of the
              National Association of Boards of Pharmacy, which represents state pharmacy
              boards.

              Two medications, mifepristone and misoprostol, are typically used in a
              medication-abortion regimen, which the FDA has approved for up to 10 weeks of
              pregnancy. Websites selling abortion pills without a prescription are mainly
              selling pills that haven’t been reviewed by the FDA, according to descriptions on
              the sites and information from buyers. The FDA has sent complaints to some
              companies associated with websites selling abortion pills online.

              “Drugs that have circumvented regulatory safeguards may be contaminated,
              counterfeit, contain varying amounts of active ingredients, or contain different
              ingredients altogether,” an FDA spokesperson said.

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              Studies have shown medication abortion to be safe and effective, including when
              taken without a doctor’s supervision. Patients typically take the drugs at home
              even when they have been prescribed by a doctor.




              Two medications, mifepristone and misoprostol, are typically used in a medication-abortion regimen.
              PHOTO: NATALIE BEHRING FOR THE WALL STREET JOURNAL


              Medside24.com, a website based in Kazakhstan, said its abortion-pill sales
              across the U.S. have doubled since Roe v. Wade was overturned. The site buys
              abortion drugs manufactured by companies in China, Russia and Vietnam, a
              representative for the site said, including Vietnam-based Stellapharm J.V. Co.

              Stellapharm said it manufactures mifepristone and misoprostol but wasn’t
              aware its products were being sold on medside24.com. Stellapharm’s pills are
              only sold with a prescription in Vietnam, a spokeswoman said.

              A woman from Florida said she ordered pills from abortionrx.com in July. She
              said that would have preferred to visit a clinic near her home but didn’t want to
              wait three weeks until an appointment was available. Abortion is legal in Florida
              until 15 weeks of gestation.

              No screening or prescription was required to complete the $249 purchase via
              PayPal, she said, and the pills arrived four days later in a brown envelope from
              an address in Las Vegas. There were no instructions, she said, so she followed
              guidance she found online to take the pills over several days. She said she didn’t
              experience complications during her abortion.


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https://www.wsj.com/articles/websites-selling-unapproved-abortion-pills-are-booming-11661079601                                        3/6
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              Abortionrx.com is registered to Rablon Healthcare Private Ltd. in Mumbai.
              Rablon didn’t respond to requests for comment.

              At least six sites selling abortion pills without a prescription in July were
              registered under the name Richard Asamoah Agyemang of Denver, according to
              information on domain ownership. Mr. Agyemang said he is a college student
              and web developer. He said he doesn’t sell abortion pills. “I don’t know who
              made those websites,” Mr. Agyemang said. Two of the sites had been taken
              offline in August.




                                The Science Behind How Abortion Pills Work



              Following the Supreme Court decision to overturn Roe v. Wade, WSJ’s Daniela Hernandez took a look at the
              new attention on abortion pills. She explains how misoprostol and mifepristone work together to terminate a
              pregnancy, as well as the potential side effects of a medical abortion. Illustration: David Fang


              Some of the abortion-pill websites say that they sell pills from manufacturers in
              India. Three manufacturers mentioned on some sites, Zydus Lifesciences Ltd.,
              Cipla Ltd. and Naman Pharma Drugs, said they weren’t aware of the sites. Cipla
              said it stopped making abortion medication about seven years ago. Naman
              manufactures abortion pills on a contract basis for companies in Africa and
              doesn’t export to the U.S., a spokesman said.

              A teacher in Ohio said she sought out abortion pills this spring using Plan C, a
              nonprofit that provides information about abortion pills, including some half-
              dozen websites that sell the pills without a prescription. Plan C said it regularly
              orders from the websites to vet them.
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https://www.wsj.com/articles/websites-selling-unapproved-abortion-pills-are-booming-11661079601                                        4/6
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              The teacher said she bought pills from Aid Access, a telemedicine provider in
              Austria, before realizing she would have to wait as long as three weeks for the
              pills to arrive from India.

              “We really understand that this wait can be hard for women, and it’s really
              unfortunate that it’s something we cannot change,” Aid Access founder Rebecca
              Gomperts said.

              The teacher in Ohio said she consulted Plan C again and bought pills for $470
              from onlineabortionpillsrx.com. The site sent her a link to pay via PayPal, she
              said. The site instructed her not to mention the medications she was purchasing
              on PayPal, according to an email viewed by The Wall Street Journal.

              “In case PayPal comes to know about what you purchased, PayPal may take legal
              action against you,” the email said.

              Onlineabortionpillsrx.com, which is registered to a post-office box in Sydney,
              Australia, didn’t respond to requests for comment.

              PayPal generally doesn’t pursue legal action against buyers, said a person
              familiar with the platform’s operations, but the company could close accounts if
              they violate its acceptable-use policy. The policy says sales of products requiring
              a prescription aren’t allowed without approval.

              The teacher said she received a message from onlineabortionpillsrx.com saying
              the pills were delayed in transit from India. She said she paid $350 via PayPal to
              a third site, genericabortionpills.com. She said the pills arrived in a couple of
              days postmarked from Denver in a box marked “Antipreg Kit,” which was viewed
              by the Journal.

              Genericabortionpills.com didn’t respond to requests for comment. The website
              says it sells pills made by Zydus. Zydus manufactures abortion pills on a contract
              basis, a spokesman said.

              “We have no information on how they are being sold online,” he said.

              —Jim Oberman contributed to this article.

              Write to Dominique Mosbergen at dominique.mosbergen@wsj.com and Vibhuti
              Agarwal at vibhuti.agarwal@wsj.com
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                                      2022, print editionFiled 10/11/24
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                                EXHIBIT 82

                   Declaration of Dr. Ingrid Skop




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